                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                                             Chapter 9

City of Detroit, Michigan,                                         Case No. 13-53846

         Debtor.                                                   Hon. Thomas J. Tucker

_____________________________________/

                                CERTIFICATE OF SERVICE

       I, Andres A. Estrada, certify and say that I am employed by Kurtzman Carson
Consultants LLC dba Verita Global (“Verita”), the claims and noticing agent for the Debtor in
the above-captioned case.

        On June 9, 2025, at my direction and under my supervision, employees of Verita caused
to be served the following document via Electronic Mail on the service list attached hereto as
Exhibit A; and via First Class Mail on the service lists attached hereto as Exhibit B and Exhibit
C:

    •    Revised Notice of First and Final Distribution and Distribution Date [Docket No.
         13964]



Dated: June 13, 2025

                                                    /s/ Andres A. Estrada
                                                    Andres A. Estrada
                                                    KCC
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(Collectively, the "Foundations")                              Plunkett Cooney                                  Douglas C Bernstein                     dbernstein@plunkettcooney.com
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Top 20 Creditor - City's Pension Trusts                        of Detroit                                       Attn: Joseph E. Turner, Esq.            jturner@clarkhill.com
Union Representative                                           Police Officers Association of Michigan          Attn: John Barr                         poam@poam.net
Union Representative                                           Police Officers Labor Council                    Attn: Chet Kulesza                      ck445polc@yahoo.com
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Attorneys for Creditors: Carlton Carter, Bobby
Jones, Roderick Holley and Richard T. Weatherly                Resnick & Moss PC                                H Nathan Resnick                        hnresnick@resnicklaw.com
                                                               Retired Detroit Police and Fire Fighters
Retiree Representative                                         Association                                      Attn: Donald Taylor                     rdpffa@hotmail.com




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Counsel to Eric Kimbrough, Leinathian Jelks, Brandon Brooks,
Phyllis Tharpe, Rodney Heard, Clenette Harris, Gregory Brazell,
Jennifer Harris-Barnes, Henry Hassan, Melvin Miller, Terry
Hardison, Velma, Denson, Raymond Thompson, Lucy Flowers,
Brandon Gilbert, Brady Johnson, Quentin King, Sharon Pettway,
Taralyn Smith, Donna Weatherspoon, Tarita Wilburn, Joseph
Wright, Laverne Covington, James Matson, Kevin McGillivary,
Rhonda Craig, Orlando Marion, John Collins, Terry Hardison,
Carolyn Harp, Jeffrey Peterson, Clementine Stephens, Ezekiel
Davis, Michael McKay, David Both, Raymond Thompson, Jr.,
Doug Taylor, Shumithia Baker, Floyd Brunson, Jerry Ashley,
Anthony Harmon, Shelton Bell, Jr., Jeremiah Duren, Otis Evans,
Wendy Jefferson, Gary Musser, Mario Littlejohn, Angela Davis,
Jeffrey Theriot, Bernard White, Eddie Moore, Robert Mcgowen,
Curtis Morris, Hondra Porter, Kevin Mcdonald, Jay Woods,
Taesean Parnell, YvetteSpencer, Viena Lowe, Landon Banks,
Darchella Lattner, Micholas Martin, Marily Cloyd, Robert Hall,
Victoria Wilson, Theresa Chalch, Angela Davis, Jamie Jackson,
Donald Harris, Winter Owens, Samiya Speed, Teran Brown,
Antonio Brooks, Jermaine Gleen, Ray Lizzamore, Daniel
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Soto, Kevin McGillivary, and Bradley Schick,                    Romano Law PLLC                                  Zamborsky                                  dromano@romanolawpllc.com
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Bank National Association as servicer for Michigan State
Housing Development Authority; Flagstar Bank, FSB; Counsel
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Craig Brown, James Washington, Shannon Ferguson, Junius
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Sylvia Jean Brown Jones, Pro Se                                  Sylvia Jean Brown Jones                                                                    bjdelta55@gmail.com
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City's Secured & Unsecured Bonds                                 National Association, as trustee                Attn: Eduardo Rodriguez                    eduardo.rodriguez@bnymellon.com
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Counsel for Kevin Lewis & Jeremy Morris                          The Markowitz Law Office                        Carolyn B Markowitz PC                     bankruptcy@markowitzlegal.com
Counsel for Michigan Auto Recovery Service Inc; Wayne County
Circuit Court, Hyde Park Cooperative, et al. v.
City of Detroit, by and through its Buildings and Safety
Engineering Department, Case No.                                                                                                                            kthornbladh@gmail.com;
10-005687-CZ                                                 Thornbladh Legal Group PLLC                         Kurt Thornbladh                            thornbladh.kurt3@gmail.com
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                                                              U.S. Bank National Association, as trustee,
Top 20 Creditor - City's Secured & Unsecured Bonds (Including bond registrar transfer agent, paying agent,
Sewer and Water)                                              custodian and/or contract administrator            Attn: Susan E. Jacobsen VP                 susan.jacobsen2@usbank.com
Union Representative                                          UAW – PAA Local #2211                              Attn: Robyn Brooks                         BrooR@detroitmi.gov
Union Representative                                          UAW – WWTP Local #2200                             Attn: Laurie Stuart                        mimilaurie@yahoo.com;
Union Representative                                          Utility Workers Union of America                   Attn: James Harrison                       jharrison@uwua.net
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                          Description                                           CreditorName                           CreditorNoticeName                                   Email
Counsel for UBS AG and Merrill Lynch Capital Services Inc                                                     Douglas A Dozeman & Charles N Ash
(COP Swap Counterparties)                                      Warner Norcross & Judd LLP                    Jr                                         ddozeman@wnj.com;;cash@wnj.com
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                                                                                                                                                        swolfson@wolfsonbolton.com;
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Counsel for International Association of Fire Fighters, AFL-CIO,
CL                                                               Woodley & McGillivary                       Douglas L Steele                           dls@wmlaborlaw.com




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                         Description                                    CreditorName                            CreditorNoticeName                        Address1                   Address2        Address3             City         State       Zip      Country
Union Representative                                        AFSCME Council #25                            Attn: Albert Garrett                1034 N. Washington Ave                                            Lansing               MI       48906
Union Representative                                        AFSCME Council #25                            Attn: Albert Garrett                600 W. Lafayette, Ste. 500                                        Lansing               MI       48906
Union Representative                                        AFSCME Council #25                            Attn: Catherine Phillips            600 W. Lafayette, Ste. 500                                        Detroit               MI       48226
Union Representative                                        AFSCME Council #25                            Attn: Ed McNeil                     7700 Second Ave, Suite 314                                        Detroit               MI       48202
Union Representative                                        AFSCME Local #0023                            Attn: Robert Stokes                 600 W. Lafayette, Ste. 134                                        Detroit               MI       48226
Union Representative                                        AFSCME Local #0229                            Attn: Zachary Carr                  600 W. Lafayette, Ste. LR-08                                      Detroit               MI       48226
Union Representative                                        AFSCME Local #0312                            Attn: Phillip Douglas               14022 Linwood                                                     Detroit               MI       48238
Union Representative                                        AFSCME Local #0457                            Attn: Laurie Walker                 600 W. Lafayette, Ste. L – 104                                    Detroit               MI       48226
Union Representative                                        AFSCME Local #1206                            Attn: Arlene Kirby                  20400 Steel                                                       Detroit               MI       48235
Union Representative                                        AFSCME Local #1220                            Attn: Gerald Thompson               600 W. Lafayette, Ste. 136                                        Detroit               MI       48226

Union Representative                                        AFSCME Local #1227                            Attn: Joseph Walter                 P.O. Box 36314                                                    Grosse Pointe Farms   MI       48236
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Union Representative                                        Amalgamated Transit Union, Division 26        Attn: Henry Gaffney                 716 Lothrop                                                       Detroit               MI       48202
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                                                            Assistant Supervisors of Street Maintenance
Union Representative                                        & Construction Association                    Attn: Herbert Jenkins               2633 Michigan Avenue                                              Detroit               MI       48216
                                                            Association of Professional Construction
Union Representative                                        Inspectors                                    Attn: Juanita Sanders               2727 Second Ave., Ste. 314B                                       Detroit               MI       48201
Counsel for Detroit Branch NAACP, Michigan State
Conference NAACP, Donnell White, individually and on
behalf of Detroit Branch NAACP and Michigan State
Conference NAACP, Thomas Stallworth III, individually,
Rashida Tlaib, individually, and Maureen Taylor,
individually, interested parties in this bankruptcy matter as it
pertains to their civil suit in the Federal Eastern District
Court of Michigan (Case Number 13-CV-12098)                      Ayad Law PLLC                            Nabih H Ayad                        2200 Canton Ctr Rd Ste 220                                        Canton                MI       48187
                                                                 Barack Ferrazzano Kirschbaum & Nagelberg
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                                                                                                                                              41000 Woodward Avenue, Suite
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Attorneys for Defendants Detroit General Retirement
System Service Corporation and Detroit Police and Fire
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City of Detroit (the “PFRS”) and the General Retirement
System of the City of Detroit (the “GRS”)                   Clark Hill PLC                                Shannon L Deeby                     220 Park Street Suite 200                                         Birmingham            MI       48009

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Counsel for T-Mobile USA, Inc                               Dawda, Mann, Mulcahy & Sadler, PLC            Attn Jessica B Allmand              39533 Woodward Ave Ste 200                                        Bloomfield Hills      MI       48304-5103
Retiree Representative                                      Detroit Firemen's Fund Association            Attn: Kim Fett                      1301 Third St. Suite 329                                          Detroit               MI       48226
                                                            Detroit Police Benefit and Protective                                             3031 W. Grand Boulevard, Suite
Retiree Representative                                      Association                                   Attn: Delbert R. Jennings, Sr.      405                                                               Detroit               MI       48202

Retiree Representative                                      Detroit Retired City Employees Association    Attn: Shirley V. Lightsey           P.O. Box 40713                                                    Detroit               MI       48240
Counsel for Detroit Fire Fighters Association IAFF Local
344; Detroit Police Officers Association; Detroit Police
Lieutenants and Sergeants Association; and Detroit Police
Command Officers Association                                Erman Teicher Miller Zucker & Freedman PC David M Eisenberg                       400 Galleria Officentre Ste 444                                   Southfield            MI       48034
Counsel for Detroit Fire Fighters Association IAFF Local
344; Detroit Police Officers Association; Detroit Police
Lieutenants and Sergeants Association; and Detroit Police                                             Earle I Erman & Julie Beth
Command Officers Association                                Erman Teicher Miller Zucker & Freedman PC Teicher                                 400 Galleria Officentre Ste 444                                   Southfield            MI       48034
Counsel for U.S. Bank National Association (Top 20                                                                                                                              90 South Seventh
Creditor)                                                   Faegre Baker Daniels LLP                      Attn: Abby E. Wilkinson, Esq.       2200 Wells Fargo Center           Street                          Minneapolis           MN       55402-3901
Union Representative                                        Field Engineers Association                   Attn Larry Hart                     PO Box 252805                                                     West Bloomfield       MI       48325




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                        Description                                          CreditorName                  CreditorNoticeName                        Address1                    Address2          Address3              City         State       Zip       Country
Counsel for U.S. Bank National Association (Top 20                                                                                       32300 Northwestern Hwy., Suite
Creditor)                                                     Foster Swift Collins & Smith PC         Attn: John M. Kamins, Esq.         230                                                                  Farmington Hills   MI           48334
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The Office of the Governor of the State of Michigan           Governor Rick Snyder                                                       P.O. Box 30013                                                       Lansing            MI           48909
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Entertainment LLC dba Motorcity Casino Hotel                  Honigman Miller Schwartz and Cohn LLP   Jennifer Zbytowski Belveal         2290 First National Bldg          660 Woodward Ave                   Detroit            MI           48226-3506
                                                                                                                                                                           2290 First National
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Counsel for HP Enterprise Services LLC                        HP Enterprises Services LLC             Ken Higman                         12610 Park Plz Dr Ste 100                                            Cerritos           CA           90703
                                                                                                      Attn National Bankruptcy
Interested Party                                              IBM Corporation                         Coordinator                        275 Viger East Ste 400                                               Montreal           QC           H2X 3R7      Canada
                                                                                                                                         Special Handling Group MD
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Michigan                                                      Katten Muchin Rosenman LLP              Paige E Barr                       525 W Monroe Ste 1900                                                Chicago            IL           60661

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Retired City Employees Association                            Lippitt O Keefe PLLC                    Att Ryan C Plecha                  370 E Maple Rd 3rd Fl                                                Birmingham         MI           48009
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                                                              Mantese Honigman Rossman and
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Goldman, Deroit Fire Fighters Associateion , IAFF Local
344, Mary Washington, Service Employees                       Nickelhoff & Widick, PLLC               Marshall J Widick                  2211 E Jefferson Ave Ste 200                                         Detroit            MI           48207
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Union Representative                                          Police Officers Labor Council           Attn: Marvin Hansberry             518 Inkster Road                                                     Dearborn Heights   MI           48127
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Interested Party                                              Primeshares World Markets, LLC                                             80 W 40th St Rm 3E                                                   New York           NY           10018-2701
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Mellon (successor by
operation of law to The Bank of New York), as custodian of
the Police and Fire Retirement
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General Retirement System of the
City of Detroit Fund                                          Reed Smith LLP                          Amy M Tonti                        225 Fifth Ave                                                        Pittsburgh         PA           15222

Interested Party                                             Ricoh USA Inc                            Recovery & Bankruptcy Group        3920 Arkwright Rd Ste 400                                            Macon              GA           31210
Counsel for Robbie Flowers, Michael Wells, Janet Whitson,
Mary Washington and Bruce Goldman (“Flowers plaintiffs”);
and Detroit Police Command Officers Association
("DPCOA"); Detroit Fire Fighters Association, I.A.F.F. Local
344                                                          Sachs Waldman PC                         Mary Ellen Gurewitz                2211 E Jefferson Ave Ste 200                                         Detroit            MI           48207
                                                             Sanitary, Chemists & Technicians
Union Representative                                         Association                              Attn: Saulius Simoliunas           2727 Second Ave. Rm. 314 – D                                         Detroit            MI           48201




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                     Description                                         CreditorName                           CreditorNoticeName                     Address1                    Address2            Address3             City       State       Zip      Country
Counsel for Ambac Assurance Corporation                     Schafer and Weiner PLLC                        Brendan G Best                    40950 Woodward Ave Ste 100                                            Bloomfield Hills   MI       48304
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Counsel for DEPFA Bank PLC                                  Schiff Hardin LLP                              Ott                               233 S Wacker Dr Ste 6600                                              Chicago            IL       60606
SEC                                                         Securities & Exchange Commission               Bankruptcy Section                175 W Jackson Blvd              Suite 900                             Chicago            IL       60604-2815
                                                            Senior Accountants, Analysts & Appraisers
Union Representative                                        Association                                    Attn: Audrey Bellamy              65 Cadillac Square, Ste. 2905                                         Detroit            MI       48226
Counsel for 415 East Congress, LLC; Attorney for Creditor
K & P, Incorporated; H.D.V. Greektown, LLC                  Shafer & Associates PC                         Matthew J Hoffer                  3800 Capital City Blvd Ste 2                                          Lansing            MI       48906

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Counsel for National Public Finance Guarantee Corporation Sidley Austin LLP                                Attn James F Bendernagel          1501 K St NW                                                          Washington         DC       20005

Counsel for National Public Finance Guarantee Corporation Sidley Austin LLP                                Attn Jeffrey E Bjork              555 W Fifth St                                                        Los Angeles        CA       90013

Counsel for National Public Finance Guarantee Corporation Sidley Austin LLP                                Attn: Guy S. Neal, Esq.       1501 K Street, N.W.                                                       Washington         DC       20005
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                                                                                                                                         Coleman A. Young Municipal
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                                                                                                           Attn: Kevyn D. Orr, Emergency Coleman A. Young Municipal          2 Woodward Ave
The City, c/o the Emergency Manager                         The City of Detroit                            Manager                       Center                              Suite 1126                            Detroit            MI       48226
Counsel for Michigan Council 25 of the American
Federation of State, County and Municipal Employees
(AFSCME), AFL-CIO                                           The Sanders Law Firm PC                        Herbert A Sander                  615 Griswold St Ste 913                                               Detroit            MI       48226

                                                            U.S. Bank National Association, as trustee,
Top 20 Creditor - City's Secured & Unsecured Bonds          bond registrar transfer agent, paying agent,
(Including Sewer and Water)                                 custodian and/or contract administrator        Attn: Susan E. Jacobsen VP        Mail Station EP-MN-WS1D         60 Livingston Ave.                    St. Paul           MN       55107

                                                            U.S. Bank National Association, as trustee,
Top 20 Creditor - City's Secured & Unsecured Bonds          bond registrar transfer agent, paying agent,                                     Senior Vice President and
(Including Sewer and Water)                                 custodian and/or contract administrator        Attn: Susan T. Brown              Manager                         535 Griswold Ste 550                  Detroit            MI       48226

Top 20 Creditor - City's Secured & Unsecured Bonds          U.S. Bank National Association, as trustee,
(Including Sewer and Water Bonds)                           for the Detroit Sewar and Water Bonds          Attn: Lawrence J. Bell            PD-OR-P6TD                                                            Portland           OR       97204
Union Representative                                        UAW - Local # 412                              Attn: John Cunningham             27800 George Merrelli Dr.                                             Warren             MI       48092
Union Representative                                        UAW - Local #212                               Attn: John Cunningham             27800 George Merrelli Dr.                                             Warren             MI       48092
Union Representative                                        United Auto Workers Union                      Attn: Michael Nicholson           800 E Jefferson Ave                                                   Detroit            MI       48214
                                                                                                           Julia A. Caroff, Asssitant US
Counsel for United States of America                        Unites States Attorney                         Attorney                          211 W Fort St Ste 2001                                                Detroit            MI       48226

Union Representative                                        Utility Workers Union of America Local #488 Attn: Carl Anderson                  19315 Westmoreland                                                    Detroit            MI       48219

Union Representative                                        Utility Workers Union of America Local #504 Attn: Curlisa Jones                  5405 Railview Ct. - Apt. 166                                          Shelby Township    MI       48316

Union Representative                                        Utility Workers Union of America Local #531 Attn: Samuel Wilson                  5274 Nottingham Rd.                                                   Detroit            MI       48224
Interested Party                                            Vanguardians                                Barry Allen                          POB 11202                                                             Glendale           CA       91226
Counsel for Assured Guaranty Municipal Corporation          Winston & Strawn LLP                        Sarah T. Foss                        1111 Louisiana 25th Fl                                                Houston            TX       77002-5242




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                                                                                               Affected Parties
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              CreditorName                           CreditorNoticeName                    Address1                     Address2           Address3               City     State     Zip      Country
1 Way Service Inc                              Attn Accounts Payable           4195 Central                                                             Detroit            MI    48210
415 East Congress, LLC                         Shafer & Associates, P.C.       3800 Capital City Blvd             Suite 2                               Lansing            MI    48906
Abraham Greer                                                                  15739 Manor St                                                           Detroit            MI    48238
Abraham Greer and Sandra Greer                 Abraham Greer                   15739 Manor St                                                           Detroit            MI    48238
                                                                                                                   30150 Telegraph Rd.,
Abraham Greer and Sandra Greer                 c/o Atty the Rubinstein Law Firm Jan Jeffrey Rubinstein (P57937)    Ste 444                              Bingham Farms      MI    48025
Adams, Tanora                                  The Lobb Law Firm, P.C.           30555 Southfield Rd Ste 440                                            Southfield         MI    48076-7753
                                                                                 17600 Northland Park Court, Suite
Adele Streety                                  We Fight the Law, PLLC            210                                                                    Southfield         MI    48075
Advance Digital Systems, LLC                                                     PO Box 721217                                                          Berkley            MI    48072
                                               c/o John F. Betz, Attorney at Law
Affiliated Diagnostic of Oakland, LLC          (P-24468)                         175 Second St.                                                         Belleville         MI    48111
AFSCME Bankruptcy Fund                                                           10300 SW Allen Blvd                                                    Beaverton          OR    97005
                                               Agar Lawn Sprinkler Systems,
Agar Lawn Sprinkler Systems Inc                Inc                               Robert Agar                       53520 Odilon                         Shelby Twp         MI    48316
Agar Lawn Sprinkler Systems Inc                Attn Accounts Payable             18055 Van Dyke                                                         Detroit            MI    48234
Agar Lawn Sprinkler Systems, Inc               Robert Agar                       53520 Odilon                                                           Shelby Twp         MI    48316
                                                                                                                   2701 Troy Center Dr.,
Ahmad, Khadijah                                Hardesty, David A.                Gold Star Law, PC                 Ste. 400                             Troy               MI    48084
Airgas USA LLC                                 Airgas USA, LLC                   PO Box 802576                                                          Chicago            IL    60680-2576
Airgas USA LLC                                                                   6055 Rockside Woods Blvd                                               Independence       OH    44131
Airgas USA, LLC                                                                  PO Box 802576                                                          Chicago            IL    60680-2576
Alandus Hill                                   The Reizen Law Group              333 West 7th Street, Suite 360                                         Royal Oak          MI    48067
Albert Day                                     Mark E. Boegehold (P38699)        1000 Town Center, Suite 500                                            Southfield         MI    48075
Albert Hamilton                                Attn Adam C. Zwicker              23855 Northwestern Hwy                                                 Southfield         MI    48075-7713
Albert Jenkins                                 Jonathan Marko                    Attorney at Law                   Rasor Law Firm        201 E 4th St   Royal Oak          MI    48067
Ali Karkash, an individual                     Steven C. Kirschner, Esq.         2360 Orchard Lake Rd Ste 108                                           Sylvan Lake        MI    48320
Alice B. Jennings, Esq                         Edwards & Jennings P.C.           2921 E. Jefferson ste 205                                              Detroit            MI    48207
Alice Brooks and Michael J. Morse, PC, her                                       24901 Northwestern Highway,
attorney                                       Jennifer G. Damico, Esquire       Suite 700                                                              Southfield         MI    48075
AlJamar Toliver                                The Reizen Law Group              333 West 7th Street, Suite 360                                         Royal Oak          MI    48067
Allen, Bernard                                                                   14650 W. Warren                   Suite 200                            Dearborn           MI    48126
American Civil Liberties Union Fund of MI                                        2966 Woodward Avenue                                                   Detroit            MI    48201
American Home Assurance Company,
Chartis Excess Limited, Chartis Specialty      Ryan G. Foley, Authorized                                          175 Water Street, 15th
Insurance Company, et al.                      Representatiive                 American International Group, Inc. Floor                                 New York           NY    10038
American Surgical Centers                      Attn Accounts Payable           27087 Gratiot Ave                                                        Roseville          MI    48066
American Surgical Centers                      Walddvogel Law Firm PLLC        James R. Waldvogel                 PO Box 160                            Royal Oak          MI    48068-0160
Amos Hendericks                                Mark E. Boegehold (P38699)      1000 Town Center, Suite 500                                              Southfield         MI    48075
Anderson, Albert Thomas                        Cabot, Shawn C.                 Christopher Trainor & Associates   9750 Highland Rd                      White Lake         MI    48386
Anderson, Patrice                              Kelman and Fantich              30833 Northwestern Hwy             Suite 206                             Farmington Hills   MI    48334
                                                                                                                  1000 Town Center Ste
Anderson, Tamika                               c/o Cary M. Makrouer, Esq.      The Thurswell Law Firm PLLC        500                                   Southfield         MI    48075-1221
Andrews, Ralph                                 Acker, Gerald                   17000 W. 10 Mile Road              2nd Floor                             Southfield         MI    48075
Andrews, Todd                                  c/o Ronald A. Steinberg         30300 Northwestern Highway         Suite 100                             Farmington Hills   MI    48334



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                   CreditorName                     CreditorNoticeName                      Address1                        Address2          Address3             City     State      Zip   Country
                                                                                 24901 Northwestern Highway,
Angela Hall                                    c/o Mike Morse Law Firm           Suite 700                                                               Southfield         MI      48076
                                                                                                                      18831 W. 12 Mile
Angela Johnson                                 Thomas B. Calcatera               Bernstein & Bernstein                Road                               Lathrup Village    MI      48076
Angie Wong, American Civil Liberties Union     (Cooperating Attorneys for the
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union                                         1394 E. Jefferson
P.C.                                           Fund of Michigan)                 Goodman & Hurwitz, P.C.              Avenue                             Detroit            MI      48207
Angie Wong, American Civil Liberties Union
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of MI                        2966 Woodward Avenue                                                    Detroit            MI      48201
Ann Arbor Physical Therapy, et al (Arnold
Coleman) and additional plaintiffs             Varjabedian Attorneys, P.C.       29777 Telegraph Rd. Suite 2175                                          Southfield         MI      48034
Anna Krol                                      Robert S. Drazin                  23255 Northwestern Hwy                                                  Southfield         MI      48075
                                               Gursten, Koltonow, Gursten,
Anna Wright c/o Leonard M. Koltonow            Christensen & Raitt, PC           30101 Northwestern Highway                                              Farmington Hills   MI      48334
Anna Wright c/o Leonard M. Koltonow                                              11394 Sussex St                                                         Detroit            MI      48227
Annica Cuppetelli and Goodman & Hurwitz,
P.C.                                           William H. Goodman                Goodman & Hurwitz, P.C.              1394 E. Jefferson Ave              Detroit            MI      48207
Anosha Starks via her attorneys, Gursten,
Koltonow, Christensen and Raitt, PC            Joshua R. Terebelo                30101 Northwestern Hwy                                                  Farmington Hills   MI      48334
Anthony Collier                                                                  2936 Doris                                                              Detroit            MI      48238
                                               Fieger, Fieger, Kenney, Giroux,
Antonio Brooks                                 & Harrington, PC                  19390 W. 10 Mile Rd                                                     Southfield         MI      48075

Applebaum & Stone PLC                                                            26777 Central Park Blvd. Suite 300                                      Southfield         MI      48076
Applebaum & Stone, PLC/ Weiner &
Associates, PLLC                               Applebaum & Stone PLC             26777 Central Park Blvd. Suite 300                                      Southfield         MI      48076
Applebaum & Stone, PLC/ Weiner &
Associates, PLLC                               Applebaum & Stone, PLC            3000 Town Center Suite 1800                                             Southfield         MI      48075

Aristotle Arnold                                                                 24901 Northwestern Hwy., Ste 700                                        Southfield         MI      48075

Arley Padilla                                  Ernest F. Friedman                24567 Northwestern Hwy., Ste. 500                                       Southfield         MI      48975
                                                                                                                      30500 Northwestern
Arley Padilla                                  Law Offices of Ernest Friedman    Ernest F. Friedman                   Hwy, Suite 307                     Farmington Hills   MI      48334

Armstrong, Marion                              Mike Morse Law Firm               24901 Northwestern Hwy., Ste 700                                        Southfield         MI      48075
Armstrong, Marion                                                                25657 Southfield Rd                                                     Southfield         MI      48075
                                               Christopher Trainor and
Arnold Coleman                                 Associates                        9750 Highland Road                                                      White Lake         MI      48386
Arnold Coleman                                                                   19323 Starlane                                                          Southfield         MI      48075
Arturo White                                   Mark E. Boegehold (P38699)        1000 Town Center, Suite 500                                             Southfield         MI      48075
Ashley Cobb                                    Varjabedian Attorneys, P.C.       29777 Telegraph Rd. Ste 2175                                            Southfield         MI      48034

Ashley, Jerry                                  Romano, Daniel G.                 Romano Law PLLC                      23880 Woodward Ave                 Pleasant Ridge     MI      48069
Asia Wallace                                   Varjabedian Attorneys, P.C.       29777 Telegraph Rd. Suite 2175                                          Southfield         MI      48034


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               CreditorName                       CreditorNoticeName                         Address1                     Address2          Address3              City     State      Zip       Country
Associated Chiropractic & Medical Center (re
Deontez Robinson)                            Varjabedian Attorneys, P.C.         29777 Telegraph Rd. Ste 2175                                           Southfield         MI      48034
                                                                                                                    2301 W Big Beaver
Assurance Company Of America                   Moss, Bruce N.                    Black & Moss PC                    Rd Ste 720                          Troy               MI      48084

                                                                                                                                          55 W. Monroe
                                                                                                                                          Street, Suite
Assurance Company Of America                   Nielsen, Zehe & Antas, P.C.       Marc F. Katalinic                  Attorney              1800          Chicago            IL      60603
                                                                                                                    535 Griswold St Ste
Auberry, Imari                                 c/o Scott D Nadeau                Wyatt Nadeau PC                    2500                                Detroit            MI      48226
Avigne, Peter                                  Ben M. Gonek                      500 Griswold Street, Suite 3500                                        Detroit            MI      48226
Bahr, Nazhat                                                                     3951 Rolf Dr                                                           Warren             MI      48092
Bahri, Nazhat                                  Bahr, Nazhat                      3951 Rolf Dr                                                           Warren             MI      48092
                                                                                                                    650 E Big Beaver Rd
Bahri, Nazhat                                  Gappy, Nazek A.                   Nazek A. Gappy PC                  Ste B                               Troy               MI      48083
                                               Trainor, Christopher J. + Shawn
Baker, Anthony                                 C. Cabot                          Christopher Trainor & Associates   9750 Highland Rd                    White Lake         MI      48386

Baker, Shumithia                               Romano, Daniel G.             Romano Law PLLC                        23880 Woodward Ave                  Pleasant Ridge     MI      48069
                                               Fieger Law-Kenneth Letherwood
Balfour, Delshone                              Esq.                          19390 West Ten Mile Rd                                                     Southfield         MI      48075
Balfour, Delshone                                                            11116 Whitchill St                                                         Detroit            MI      48224
Banks, Ladonna                                                               23880 Woodward Ave                                                         Pleasant Rdg       MI      48069-1133
                                                                                                                    30833 Northwestern
Banks, Monea                                Fantich, Brian L.                    Law Office of Kelman & Fantich     Hwy Ste 206                         Farmington Hills   MI      48334
Barbara Burgoyne                                                                 333 West Fort Street               Suite 1400                          Detroit            MI      48226
Barbara Burgoyne                                                                 515 Mt. Vernon                                                         Detroit            MI      48202
Barbara Gustafson, as Next Friend for Shawn
Gustafson, a minor                          c/o Shawn Gustafson                  12849 Sherman Avenue                                                   Warren             MI      48089
Bartell, Dana                               Dana Bartell                         511 Lombard St                                                         Albion             MI      49224
                                                                                                                                           1111 W Long
                                                                                                                    Garan Lucow Miller     Lake Rd Ste
Bartell, Dana                                  Dana Clayborn                     Valentine, Bryan                   PC                     300           Troy              MI      48098
                                                                                                                                           29000 Inkster
Bartell, Dana                                  Dana Clayborn                     Robert J. Lantzy                   Buckfire & Buckfire PC Road Ste 150 Southfield         MI      48034
Barthel Contracting Co                                                           155 W Congress Ste 603                                                  Detroit           MI      48226

Bauer & Hunter, PLLC                           Christopher C. Hunter             30600 Telegraph Road, Suite 3366                                       Bingham Farms      MI      48025
Beatrice McQueen                                                                 26533 Blumfield                                                        Roseville          MI      48066
Becker Law PLC                                 Carl Becker, Esq.                 P.O. Box 536                                                           Oxford             MI      48371
                                                                                 25899 W. Twelve Mile Road, Suite
Belinda Douglas                                Wigod & Falzon, P.C.              220                                                                    Southfield         MI      48034
                                                                                                                    29566 Northwestern
Bell, Edward                                   Curran, Maureen E.                Berger Miller & Strager PC         Hwy Ste 120                         Southfield         MI      48034-1043
Bell, Edward                                   Edward Bell                       22100 Hawthorn St, Unit 3                                              Farmington         MI      48336
Bell, Edward                                                                     23332 Farmington Rd, # 64                                              Farmington         MI      48336


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Bell, Leonard                                  Hughes, Paul M.               65 Cadillac Sq Ste 2100                                                  Detroit            MI    48226
Bell, Leonard                                  Paul M Hughes                 220 Bagley Ste 740                                                       Detroit            MI    48226

Bell, Shelton (estate Of) P/r, Tammy Howard    Romano, Daniel G.             Romano Law PLLC                     23880 Woodward Ave                   Pleasant Ridge     MI    48069

Bell, Shelton Jr, Est. Of Bhpr Tammy Howard Romano, Daniel G.                Romano Law PLLC                     23880 Woodward Ave                   Pleasant Ridge     MI    48069
                                            Donnelly W. Hadden, P.C.,
Ben McKenzie, Jr.                           Attorney for Creditor            2002 Bancroft Drive                                                      Ann Arbor          MI    48108-9307
                                                                             801 West Eleven Mile Road Suite
Benavides Law                                                                130                                                                      Royal Oak          MI    48067
                                                                             Law Office of Kenneth D Finegood, 29566 Northwestern
Bentley, Alma                                  Finegood, Kenneth D.          PLC                               Hwy Ste 120                            Southfield         MI    48034

Bernard Mindell, Esq                                                         25505 W. 12 Mile Rd., Suite 1000                                         Southfield         MI    48034
                                                                                                                 30500 Van Dyke Ave
Berro, Maryam                                  Harrington, John F.           Law Offices of John F. Harrington   Ste M200                             Warren             MI    48093
                                                                                                                 18831 W. 12 Mile
Betty Stevenson                                Thomas B. Calcatera           Bernstein & Bernstein               Road                                 Lathrup Village    MI    48076

Beverly Williams                                                             333 West Fort Street, Suite 1400                                         Detroit            MI    48226
Beverly Williams                                                             4913 31st Street                                                         Detroit            MI    48210
                                                                                                                 30665 Northwestern
Beydoun, Michael                               Seifman, Barry A.             Barry A. Seifman PC                 Hwy Ste 255                          Farmington Hills   MI    48334
Bianca Nelson                                  The Reizen Law Group          333 West 7th Street, Suite 360                                           Royal Oak          MI    48067
Bill Oliver, Jr.                               David J. Jarrett, P.C.        12820 Ford Rd., Suite 1                                                  Dearborn           MI    48126
Boler, McNeal                                  Robert A. Canner, P.C.        24423 Southfield Rd., Ste. 200                                           Southfield         MI    48075
Booker, Shantel                                Robert J. Malleis             21700 Green field Rd. Suite 305                                          Oak Park           MI    48237

Booth, David,                                  Romano, Daniel G.             Romano Law PLLC                     23880 Woodward Ave                   Pleasant Ridge     MI    48069
Boulevard & Trumbull Towing, Inc.                                            2411 Vinewood                                                            Detroit            MI    48216
Bounty, Hope, As Pr Of Est. Of Daniel                                                                            27200 Lahser Rd Ste
Bayless, Dec.                                  Deutch, Martin Gary           Martin Gary Deutch PC               201                    PO Box 2207   Southfield         MI    48037
Bounty, Hope, As Pr Of Est. Of Daniel                                                                            26777 Central Park
Bayless, Dec.                                  Martin Gary Deutch PC         Martin G. Deutch                    Blvd Ste 200                         Southfield         MI    48076
Bowin Place Assoc. Ltd. Div. H.A.              Becker Law PLC                Carl Becker, Esq.                   P.O. Box 536                         Oxford             MI    48371
Bowin Place Assoc. Ltd. Div. H.A.              Kurt Thornbladh P25858        Thornbladh Legal Group PLLC         7301 Schaefer                        Dearborn           MI    48126
                                                                             Christopher J. Trainer & Shawn C.
Branda Farris                                  Christopher Trainor & Assoc   Cabot                               9750 Highland Road                   White Lake         MI    48386
                                                                                                                 17000 W. 10 Mile Rd,
Brandt, Charlotte                              Sulolli, Tim                  Goodman Acker PC                    Second Floor                         Southfield         MI    48076
Brandt, Charlotte                                                            19586 Larry Court                                                        Clinton Twp        MI    48038
Brazel, Gregory                                                              25657 Southfield Rd                                                      Southfield         MI    48075
Brazell, Gregory                               Romano, Daniel G              Romano Law PLLC                     23880 Woodward                       Pleasant Ridge     MI    48069
Brian Boehne                                   Applebaum & Stone PLC         3000 Town Center Ste 1800                                                Southfield         MI    48075
Brooks, Antonio                                Romano Law, PLLC              23880 Woodward Ave                                                       Pleasant Ridge     MI    48069
Brooks, Beonka                                                               301 S. Reid St                                                           Detroit            MI    48209


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                 CreditorName                       CreditorNoticeName                       Address1                     Address2          Address3                City    State      Zip       Country

Brooks, Brandon                                Romano, Daniel G.                 Romano Law PLLC                    23880 Woodward Ave                   Pleasant Ridge     MI      48069
                                                                                                                    17000 W 10 Mile Rd
Brooks, I-chauntay                             Goodman, Barry J.                 Goodman Acker PC                   Fl 2                                 Southfield         MI      48075
Brooks, I-chauntay                                                               18680 Hamburg Street                                                    Detroit            MI      48025
                                                                                                                  24901 Northwestern
Brooks, Latonya                                Mendelson, Marc J.                Michael J. Morse PC              Hwy Ste 700                            Southfield         MI      48075
                                                                                                                  24901 Northwestern
Brooks, Latonya                                Morse, Michael J.                 Michael J. Morse PC              Hwy Ste 700                            Southfield         MI      48075
                                                                                                                  33200 Dequindre Rd
Brooks, Ruth                                   Amicone, Francis A.               Frank R. Langton & Associates PC Ste 100                                Sterling Heights   MI      48310
Brooks, Ruth B.                                                                  33200 Dequindre                  Suite 100                              Sterling Heights   MI      48310

Brown, Angel                                   Romano, Daniel G.                 Romano Law PLLC                    23880 Woodward Ave                   Pleasant Ridge     MI      48069
                                                                                                                    615 Griswold St Ste
Brown, Duren                                   Sanders, Herbert A.               The Sanders Law Firm PC            913                                  Detroit            MI      48226
Brown, Eddie L                                                                   Address on File

Brown, Freddie, Jr                             c/o Berger, Miller & Strager, P.C. 333 W. Fort Street                Suite 1400                           Detroit            MI      48226
Brown, Freddie, Jr                                                                538 Hendrie St., Fl - 2                                                Detroit            MI      48202
Brown, Henry Lee                               Henry L. Brown                     5671 Emerald Springs                                                   Detroit            MI      48212
Brown, Henry Lee                                                                  23077 Greenfield Rd.              Suite 557                            Southfield         MI      48075
Brown, Jessica Et Al                           Taylor, Edward G.                  Law Offices of Edward G. Taylor   PO Box 441272                        Detroit            MI      48244
                                                                                                                    30833 Northwestern
Brunner, Lillian                               Bachteal, Robert                  Law Offices of Kelman & Fantich    Hwy Ste 206                          Farmington Hills   MI      48334
Burgess, Brianna (minor)                                                         Address on File
                                               Christopher J. Trainor & Amy J.
Burse, Tina                                    Derouin                           Christopher Trainor and Associates 9750 Highland Rd                     White Lake         MI      48386
                                                                                 Butler, Karolynda and Ravid &      23855 Northwestern
Butler, Karolynda                              Adam C. Zwicker                   Assoc., P.C.                       hwy.                                 Southfield         MI      48075
                                               c/o Law Offices of Michael J.
Cade, Alyse                                    Morse                             24901 Northwestern Hwy., Ste 700                                        Southfield         MI      48075
                                                                                                                    615 Griswold St Ste
Cain, Christopher                              Kuhn, Thomas E.                   Thomas E. Kuhn PC                  515                                  Detroit            MI      48226
Cain, Christopher                              Thomas E. Kuhn PC                 615 Griswold St. Ste. 1115                                              Detroit            MI      48226
                                                                                                                                          Carson City
                                                                                                                                          Correctional
Cain, Darryl                                   Darryl Cain                       #351791                            10274 Boyer Rd        Facility       Carson City        MI      48811
Cain, Darryl                                   Oaks Correctional Facility        1500 Caberfae Hwy                                                       Manistee           MI      49660-9200
                                                                                                                    17000 W 10 Mile Rd
Calloway, Lorraine                             Komar, Kevin Z.                   Goodman Acker PC                   Fl 2                                 Southfield         MI      48075
Calloway, Lorraine                                                               29 Minnesota Street                                                     Detroit            MI      48203
Cambridge Tower Assoc. DVD. H.A.               Becker Law PLC                    Carl Becker, Esq.                  P.O. Box 536                         Oxford             MI      48371
                                               Kurt Thombladh Legal Group
Cambridge Tower Assoc. DVD. H.A.               PLLC                              7301 Schaefer                                                           Dearborn           MI      48126
Cameron, Charles                               Kavanaugh, Colleen V.             39040 7 Mile Rd                                                         Livonia            MI      48152


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              CreditorName                           CreditorNoticeName                     Address1                      Address2         Address3             City     State     Zip      Country
Cameron, Charles                                                                31731 Northwestern Hwy              Suite 333                         Farmington Hills   MI    48334
Canon Financial Services Inc                   Canon Financial Services, Inc.   Attn Legal Dept                     PO Box 5008                       Mount Laurel       NJ    08054-5008
Canon Financial Services, Inc.                 Attn Legal Dept                  PO Box 5008                                                           Mount Laurel       NJ    08054-5008
Card, Kenneth                                  Rothstein, Lawrence R.           Rothstein Law Group                 19068 W 10 Mile Rd                Southfield         MI    48075

Cardell Geanes                                 Elia & Ponto PLLC                25800 Northwestern Hwy., Ste. 850                                     Southfield         MI    48075
Carl Butler and Michael J. Morse, PC, his                                       24901 Northwestern Highway,
attorney                                       Jennifer G. Damico, Esquire      Suite 700                                                             Southfield         MI    48075
Carla D. Aikens, PLC                                                            615 Griswold Street Suite 709                                         Detroit            MI    48226
Carla Smith                                                                     321 Lakewood St.                                                      Detroit            MI    48215
                                                                                                                    30833 Northwestern
Carlos Woods                                   Fantich, Brian L.                Law Offices of Kelman & Fantich     Hwy Ste 206                       Farmington Hills   MI    48334
Carlton Johnson                                Todd Russell Perkins, Esq        615 Griswold, Ste. 400                                                Detroit            MI    48226
Carlton Whitfield                              Varjabedian Attorneys, P.C.      29777 Telegraph Rd. Ste 2175                                          Southfield         MI    48034
Carlton Whitfield                              Varjabedian Attorneys, P.C.      26211 Central Park Blvd Ste 500                                       Southfield         MI    48076-4161
                                                                                24901 Northwestern Hwy, Suite
Carmaratta Patton                              c/o Mike Morse Law Firm          700                                                                   Southfield         MI    48076
                                                                                                                    30400 Telegraph Rd.,
Carmen Fulford                                 c/o Bradley B. Harris, Esq.      Goren, Goren & Harris, P.C.         Suite 470                         Bingham Farms      MI    48025

Carrie Reeves                                  Christopher Trainer & Associates 9750 Highland Rd                                                      White Lake         MI    48386
                                                                                                                    28145 Greenfield Rd
Carter, Enjoli                                 C/o David A Robinson             Robinson and Associates PC          Ste 100                           Southfield         MI    48076
Carter, Steven C                                                                Address on File
                                                                                                                    24445 Northwestern
Carter, Steven C.                              Paskel, Clifford                 Paskel Tashman & Walker PC          Hwy Ste 102                       Southfield         MI    48075
Carter, Steven C.                                                               Address on File
Catherine Manuel                                                                1491 W. 9 Mile Rd Apt 6                                               Ferndale           MI    48220

Cellco Partnership D/B/A Verizon Wireless      Verizon Bankruptcy Department    500 Technology Dr., Suite 550                                         Weldon Spring      MO    63304
Cellco Partnership DBA Verizon Wireless        Todd Loccisano                   7600 Montpelier Road                                                  Laurel             MD    20723
Chanel D Smith as next Friend for her minor    Jeffery D. Meek & Associates,
son Mathew Ellsberry                           PLLC                             38705 W. Seven Mile Rd, Ste 400                                       Livonia            MI    48152
Chanel D. Smith as next Friend for her minor   Jeffery D. Meek & Associates,    38705 W. Seven Mile Road, Suite
daughter Micah Ellsberry                       PLLC                             400                                                                   Livonia            MI    48152
Charley Williams Jr.                           Andereopoulos & Hill, PLLC       28900 Woodward Ave                                                    Royal Oak          MI    48067
                                                                                                                    29777 Telegraph
Charnita Legette                               Attn Rebecca H. Filiatraut       c/o Lee B. Steinberg, PC            Road, Suite 1555                  Southfield         MI    48034
                                                                                                                    3910 Telegraph Road,
Charnita Legette                               Lipson Neilson PC                Michael D. Lieberman, Esq.          Ste. 200                          Bloomfield Hills   MI    48302
Charnita Legette                                                                4675 Three Mile Dr                                                    Detroit            MI    48224
Charter County of Wayne                        John M Carey                     Eastman & Smith Ltd                 One Seagate 24th Fl               Toledo             OH    43699-0032
Charter County of Wayne                        Kilpatrick & Associates, P.C.    615 Griswold, Suite 1305                                              Detroit            MI    48226
Charter County of Wayne                                                         500 Griswold, 20th Floor                                              Detroit            MI    48226
Charter County of Wayne                                                         500 Griswold 14th Floor                                               Detroit            MI    48226
Cheryl Haywood                                 Mark E. Boegehold (P38699)       1000 Town Center, Suite 500                                           Southfield         MI    48075


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                   CreditorName                     CreditorNoticeName                      Address1                    Address2         Address3             City     State      Zip       Country
                                                                                                                  24901 Northwestern
Chiropractors Rehabilitation Group             Nicholas Caponigro              Michael J. Morse, P.C.             Hwy., Ste 700                     Southfield         MI      48075
                                                                                                                  30500 Northwestern
Christopher Brooks                             Eric S. Steinberg, Esq.         c/o Lee B. Steinberg, PC           Hwy., Ste. 400                    Farmington Hills   MI      48334
                                                                                                                  3910 Telegraph Road,
Christopher Brooks                             Lipson Neilson PC               Michael D. Lieberman, Esq.         Ste. 200                          Bloomfield Hills   MI      48302
Christopher Harris                                                             14651 Forrer                                                         Detroit            MI      48227

Christopher Moore                              c/o Leonard M. Koltonow, Esq.   30101 Northwestern Highway                                           Farmington Hills   MI      48334
Christopher Moore                                                              834 Division St                                                      Port Huron         MI      48060
Christopher Trainor & Associates                                               9750 Highland Rd.                                                    White Lake         MI      48386
Christopher Trainor & Associates, P.C.                                         9750 Highland Rd                                                     White Lake         MI      48386
                                                                               25899 W. Twelve Mile Road, Suite
Clarence Hardwick                              Wigod & Falzon, P.C.            220                                                                  Southfield         MI      48034
Clarence Haynes                                The Reizen Law Group            333 West 7th Street, Suite 360                                       Royal Oak          MI      48067
Clark Hill                                     Attn Accounts Receivable        500 Woodward Ave Ste 3500                                            Detroit            MI      48226-3435

Clark Hill P L C                               Attn Accounts Payable           255 S Woodward Ave, 3Rd. Floor                                       Birmingham         MI      48009

                                                                                                                  151 S. Old Woodward
Clark Hill PLC                                Robert D. Gordon                 Shannon L. Deeby                   Ave, Suite 200                    Birmingham         MI      48009
Clayton, Julius and his Attorneys Christopher
Trainor & Associates                          Christopher Trainor & Associates 18949 Marsh Lane Apt 908                                             Dallas             TX      75287
Clayton, Julius and his Attorneys Christopher
Trainor & Associates                          Julius Clayton                   4801 Harrison Dr Apt 120A                                            Las Vegas          NV      89121
Clayton, Julius and his Attorneys Christopher                                  5201 Collin McKinney Pkwy Apt
Trainor & Associates                                                           11104                                                                Dallas             TX      75070
                                                                                                                  28145 Greenfield Rd
Clinkscales, John                              Robinson, David A.              Robinson and Associates PC         Ste 100                           Southfield         MI      48076
                                                                                                                  28145 Greenfield Rd
Clinkscales, Tina                              Robinson, David A.              Robinson and Associates PC         Ste 100                           Southfield         MI      48076
Cloyd, Marilyn                                 Romano Law, PLLC                23880 Woodward Ave                                                   Pleasant Ridge     MI      48069
Coalition Bankruptcy Fund                                                      10300 SW Allen Blvd                                                  Beaverton          OR      97005
Coalition Of Detroit Unions Et Al,             Coalition Bankruptcy Fund       10300 SW Allen Blvd                                                  Beaverton          OR      97005
                                                                                                                  600 W Lafayette Blvd
Coalition Of Detroit Unions Et Al,             Mack, Richard                   Miller Cohen PLC                   Fl 4                              Detroit            MI      48226
                                                                                                                  20755 Greenfield Rd
Cobb, Edward                                   C/o Carl L Collins              Law Office of Carl L Collins III   Ste 1100                          Southfield         MI      48075-5413
Cohen, Lamont S.                               Karega, Chui                    19771 James Couzens Fwy                                              Detroit            MI      48235
                                                                                                                  645 Griswold St Ste
Coleman, Byron                                 Posner, Gerald                  Posner Posner and Posner           1400                              Detroit            MI      48226

Coleman, Byron                                 Posner, Posner and Posner       30300 Northwestern Hwy Ste 300                                       Farmington Hills   MI      48334
                                                                                                                  33 Bloomfield Hills
Coleman, Shenetta                              Gordon, Deborah L.              Deborah Gordon Law                 Pkwy Ste 220                      Bloomfield Hills   MI      48304
Coleman, Yvonne                                The Lobb Law Firm, P.C.         30555 Southfield Rd Ste 440                                          Southfield         MI      48076-7753


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              CreditorName                           CreditorNoticeName                    Address1                     Address2            Address3             City     State     Zip   Country
Colleen S. Davenport                                                            20505 Ryan Road                                                        Detroit            MI    48234

Collins, John                                  Romano Law PLLC                  Eric Stempien                     23880 Woodward Ave                   Pleasant Ridge     MI    48069
Collins, John                                                                   Address on File
Comer, Aleta                                                                    James B. Wendy                    25657 Southfield Rd.                 Southfield         MI    48075
Conaway, Brenda                                                                 25505 W. 12 Mile Road             Suite 1000                           Southfield         MI    48034
                                                                                                                  17000 W 10 Mile Rd
Cook, Ronald                                   c/o Rodger L. Webb               L. Rodger Webb PC                 #200                                 Southfield         MI    48075

                                                                                                                  Amy DeRouin             9750 Highland
Cooper, Willie                                 Trainor & Associates             Christopher Trainor (42449)       (P70514)                Road          White Lake        MI    48386
Cornelia Jones and Michael J. Morse, PC,                                        24901 Northwestern Highway,
her attorney                                   Jennifer G. Damico, Esquire      Suite 700                                                              Southfield         MI    48075
Courtney Loving                                c/o Jason M. Berger              333 W. Fort St., Suite 1400                                            Detroit            MI    48226
Courtney Loving                                                                 4700 Berkshire                                                         Detroit            MI    48224
Courtney Loving                                                                 2208 S Annabelle St                                                    Detroit            MI    48217
Courtney Morgan PLLC                           Attn Brian Keck                  3200 Greenfield Rd Ste 355                                             Dearborn           MI    48120
Craig, Kevin                                   Robert A. Canner, P.C.           24423 Southfield Rd., Ste. 200                                         Southfield         MI    48075

Craig, Rhonda                                  Okoli, Stanley I                 Romano Law PLLC                   23880 Woodward Ave                   Pleasant Ridge     MI    48069
Cristobal Mendoza and Goodman & Hurwitz,
P.C.                                           William H. Goodman               Goodman & Hurwitz, P.C.           1394 E. Jefferson Ave                Detroit            MI    48207
                                                                                Law Office of Kenneth D. Finegood 29566 Northwestern
Crutcher, Leon                                 Finegood, Kenneth D.             PLC                               Hwy Ste 120                          Southfield         MI    48034
Curtis Morris                                  Romano Law PLLC                  23880 Woodward Ave                                                     Pleasant Ridge     MI    48069
                                                                                                                  30833 Northwestern
Curtis, Chimeatia                              Kelman, Michael G.               Law Offices of Kelman & Fantich   Hwy Ste 206                          Farmington Hills   MI    48334
D A Central Inc                                Attn Accounts Payable            13155 Cloverdale                                                       Oak Park           MI    48237
                                               Attn Ronnie E. Cromer, Jr.,                                        24901 Northwestern
Dajuan Moncrief                                (P59418)                         The Cromer Law Group PLLC         Hwy., Suite 612                      Southfield         MI    48075
Damian Fuller via his attorneys, Serafini
Michalowski Derkacz & Associates, P.C.         Phillip S. Serafini              44444 Mound Road, Ste 100                                              Sterling Heights   MI    48334
Dana Bartell                                                                    511 Lombard St                                                         Albion             MI    49224
Daniel Torres                                  Andreopoulos and Hill, PLLC      28900 Woodward Ave                                                     Royal Oak          MI    48067
Danielle Lee                                   Attn Legal Center, PLLC          33039 Schoolcraft                                                      Livonia            MI    48150
Darlene Hellenberg, American Civil Liberties   (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &          American Civil LIberties Union                                     1394 E. Jefferson
Hurwitz, P.C.                                  Fund of Michigan)                Goodman & Hurwitz, P.C.           Avenue                               Detroit            MI    48207
Darlene Hellenberg, American Civil Liberties
Union Fund of Michigan, and Goodman &          American Civil Liberties Union
Hurwitz, P.C.                                  Fund of MI                       2966 Woodward Avenue                                                   Detroit            MI    48201
Darrell S. Carrington                                                           20014 Strathmoor                                                       Detroit            MI    48235
                                                                                                                  Carson City
Darryl Cain                                    #351791                          10274 Boyer Rd                    Correctional Facility                Carson City        MI    48811
Darshay Cunningham                             c/o Goodman Acker, P.C.          17000 W Ten Mile, 2nd Floor                                            Southfield         MI    48075
Darshay Cunningham                                                              54 Ridgemont Drive                                                     Pontiac            MI    48340


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                CreditorName                        CreditorNoticeName                       Address1                     Address2          Address3             City     State     Zip      Country
David Farris c/o Kepes & Wine, P.C.             Kepes & Wine, P.C.               P.O. Box 2207                                                         Southfield         MI    48034
David Farris c/o Kepes & Wine, P.C.             Kepes & Wine, P.C.               Robert J. Wine                      27200 Lahser Road                 Southfield         MI    48037-2207
David Haron                                                                      30300 Northwestern Highway                                            Farmington Hills   MI    48334
David Haron                                                                      34685 Old Timber Road                                                 Farmington Hills   MI    48331
David Prescott                                  c/o Carl L Collins III           20755 Greenfield Rd. Suite 110                                        Southfield         MI    48075
                                                                                                                     18831 W. 12 Mile
David Williams                                  Michael J. Butler                Bernstein & Bernstein               Road                              Lathrup Village    MI    48076
Davis, Brenda L                                                                  Address on File
                                                                                                                     30833 Northwestern
Davis, Diane                                    Bachteal, Robert M.              Law Offices of Kelman & Fantich     Hwy Ste 206                       Farmington Hills   MI    48334
                                                                                                                     17000 W. 10 Mile
Davis, Malachi                                  Attn Barry J. Goodman            c/o Goodman Acker                   Road, 2nd Floor                   Southfield         MI    48075
                                                                                                                     26777 Central Park
Davis, Vernier                                  Martin Gary Deutch PC            Martin G. Deutch                    Blvd Ste 200                      Southfield         MI    48076
Davis, Vernier                                                                   27200 Lahser Road                   Suite 201                         Southfield         MI    48037
                                                                                                                     30833 Northwestern
Davistion, Frank                                Fantich, Brian L.                Law Office of Kelman & Fantich      Hwy Ste 206                       Farmington Hills   MI    48334
Daviston Jr., Frank                                                              Address on File
                                                                                                                     30833 Northwestern
Daviston, Frank                                 Bachteal, Robert                 Law Offices of Kelman & Fantich     Hwy Ste 206                       Farmington Hills   MI    48334
Daviston, Frank                                 Frank Daviston, Jr.              11521 Beech Daly Rd                                                   Taylor             MI    48180

Daviston, Frank                                 Law office of Kelman & Fantich   30903 Northwestern Hwy Ste 270                                        Farmington Hills   MI    48334
De Angela Haywood                               Mark E. Boegehold (P38699)       1000 Town Center, Suite 500                                           Southfield         MI    48075
                                                                                                                     30400 Telegraph Rd.,
Deborah Morgan                                  c/o Brett D. Altman, Esq.        Goren, Goren & Harris, P.C.         Suite 470                         Bingham Farms      MI    48025
Deborah Willis                                  Varjabedian Attorneys, P.C.      29777 Telegraph Rd. Suite 2175                                        Southfield         MI    48034

Debra Richardson                                Ernest F. Friedman               24567 Northwestern Hwy., Ste. 500                                     Southfield         MI    48975
                                                                                                                   30500 Northwestern
Debra Richardson                                Law Offices of Ernest Friedman   Ernest F. Friedman                Hwy, Suite 307                      Farmington Hills   MI    48334
                                                                                 Law Offices of Ronald Steinberg & 30300 Northwestern
Degraffenreid, Tonya M.                         Steinberg, Ronald A.             Associates PLLC                   Hwy Ste 100                         Farmington Hills   MI    48334
Delania Patterson, as Personal
Representative for the Estate of Sherrill       Fieger, Fieger, Kenney, Giroux &
Turner, Deceased et a                           Harrington, P.C.                 19390 West Ten Mile Rd                                                Southfield         MI    48075
Della Grace                                                                      19742 Ward                                                            Detroit            MI    48235
Delores Zurawski                                Legalgenius, PLLC                3000 Town Center Suite 2210                                           Southfield         MI    48075
                                                Legalgenius, PLLC / Rachel W.
Delores Zurawski                                Schwartz                         25899 W 12 Mile Rd Ste 200                                            Southfield         MI    48034-8342
Demetira Purcell                                ALG Legal Center, PLLC           29240 Buckingham St Ste 2                                             Livonia            MI    48154-4590
Demetrius White                                 Mark E. Boegehold (P38699)       1000 Town Center, Suite 500                                           Southfield         MI    48075
Dennis Raterink                                                                  P.O. Box 30736                                                        Lansing            MI    48909
Dennis Williams                                 Frank K Rhodes III               19080 W Ten Mile                                                      Southfield         MI    48075

Denson, Velma                                   Romano, Daniel G.                Romano Law PLLC                     23880 Woodward Ave                Pleasant Ridge     MI    48069


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              CreditorName                          CreditorNoticeName                      Address1                        Address2          Address3             City       State     Zip      Country
Denson, Velma                                                                    326555 Evergreen Rd.                 Suite 1500                         Southfield           MI    48076
Department of Environmental Quality            c/o Steven B. Flancher            Revenue & Collections Division       P.O. Box 30754                     Lansing              MI    48909
                                               Steven B. Flancher, Revenue &
Department of Environmental Quality            Collections Division              P.O. Box 30754                                                          Lansing              MI    48909
                                                                                                                      23855 Northwestern
Derrick Gilliam                                David Lawrence Ravid              Ravid and Associates, P.C.           Hwy                                Southfield           MI    48075

Derrick Merriwether                            Applebaum & Stone PLC             26777 Central Park Blvd. Suite 300                                      Southfield           MI    48076
Derrick Merriwether                                                              3000 Town Center, Ste 1800                                              Southfield           MI    48075
                                                                                                                      18831 W. 12 Mile
Derrick Phillips                               Thomas B. Calcatera               Bernstein & Bernstein                Road                               Lathrup Village      MI    48076
Detroit Police Officer Associatiion            Iorio, Donato                     Kalniz Iorio & Feldstein             5550 W Central Ave                 Toledo               OH    43615

Detroit Police Officer Associatiion            Iorio, Fillipe S                  Kalniz Iorio & Feldstein Co LPA      4981 Cascade Rd SE                 Grand Rapids         MI    49546
Detroit Police Officers and Association        Gregory, Moore, Jeakle &                                               65 Cadillac Square,
(DPOA)                                         Brooks, P.C.                      James M. Moore                       #3727                              Detroit              MI    48226-2843
Detroit Police Officers and Association                                          Erman, Teicher, Zucker &             400 Galleria
(DPOA)                                         Julie Beth Teicher                Freedman, P.C.                       Officentre, Suite 444              Southfield           MI    48034
Detroit Police Officers Association            Attn Accounts Payable             1938 E Jefferson                                                        Detroit              MI    48207
Detroit Police Officers Association            Iorio, Donato                     Kalniz Iorio & Feldstein             5550 W Central Ave                 Toledo               OH    43615

Detroit Police Officers Association            Iorio, Fillipe S                  Kalniz Iorio & Feldstein Co LPA      4981 Cascade Rd SE                 Grand Rapids         MI    49546
Detroit Police Officers Association            Mark Diaz, President              1938 E. Jefferson                                                       Detroit              MI    48207
Diana Lynn Patillo                                                               5330 Burns St.                                                          Detroit              MI    48213-2912
Dickenson Wright                               Doron Yitzchaki                   350 S. Main Street, Suite 300                                           Ann Arbor            MI    48104
                                               Christopher J. Trainor & Amy J.
Dillon, Milagro                                Derouin                           Christopher Trainor and Associates 9750 Highland Rd                     White Lake           MI    48386
Dinah Lynn Bolton                                                                Address on File
Dino Manos                                                                       1966 Penobscot Bldg                                                     Detroit              MI    48226

Dock Rembert                                   c/o A. Stephen Ramadan, PLC       22201 Harper Ave                                                        Saint Clair Shores   MI    48080

Dodd B. Fisher, Esq.                                                             26300 Northwestern Hwy Ste 301                                          Southfield           MI    48076
Dominique McCartha for Estate of Gregory       Christopher J. Trainor & Shawn
Phillips                                       C. Cabot                          Christopher Trainor and Associates 9750 Highland Rd                     White Lake           MI    48386
Donald Rasnick                                 c/o Goodman Acker, P.C.           17000 W. Ten Mile, 2nd Floor                                            Southfield           MI    48075
Donnita Grace Cleveland                                                          19432 Rutherford                                                        Detroit              MI    48235
Donovan, Chantil                               Hughes, Paul M.                   65 Cadillac Sq Ste 2100                                                 Detroit              MI    48226
                                                                                                                    23855 Northwestern
Dora L. Dunnum                                 David Lawrence Ravid              Ravid and Associates, P.C.         Hwy                                  Southfield           MI    48075
                                                                                                                    31275 Northwestern
Dorothy Crutchfield                            c o Laurie Goldstein Esq          Haas & Goldstein PC                Hwy Ste 225                          Farmington HIlls     MI    48334
                                                                                 24901 Northwestern Hwy, Suite
Dorothy McCoy                                  c/o Mike Morse Law Firm           700                                                                     Southfield           MI    48075
Dorsette, Christina                            Romano Law, PLLC                  23880 Woodward Ave                                                      Pleasant Ridge       MI    48069



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              CreditorName                          CreditorNoticeName                      Address1                     Address2        Address3            City      State      Zip       Country
Dr. James Beal Jr. MD, et al (Arnold
Coleman) and additional plaintiffs             Varjabedian Attorneys, P.C.      29777 Telegraph Rd. Suite 2175                                      Southfield         MI      48034
                                                                                1177 Avenue of the Americas, 41st
Drinker Biddle & Reath LLP                     Attn Kristin K Going             Floor                                                               New York           NY      10036
Duane Crooms                                                                    28900 Woodward Ave                                                  Royal Oak          MI      48067
Duane Morris LLP                               Attn Gerard S. Catalanello       1540 Broadway                                                       New York           NY      10036-4086
Dwayne Provience                               Wolfgang Mueller, Esq.           2684 West Eleven Mile Rd.                                           Berkley            MI      48072
Dyer, Annie                                    Godwin Legal Services, PLC       21905 Garrison St                                                   Dearborn           MI      48124
Dyer, Annie                                    Godwin, Shaun P.                 Godwin Legal Services PLC         450 W Fort St Fl 200              Detroit            MI      48226

Ealy, Terence                                  Christopher Trainor & Associates 9750 Highland Rd.                                                   White Lake         MI      48386
Ealy, Terence                                                                   836 Carroll Ave Uppr                                                Saint Paul         MN      55104-5563
Earl Robinson                                  Andreopoulos and Hill, PLLC      28900 Woodward Ave                                                  Royal Oak          MI      48067

Earl, Francia                                  c/o Berger, Miller & Strager, P.C. 333 W. Fort Street                Suite 1400                      Detroit            MI      48226
Earl, Francia                                                                     3618 Wayburn St                                                   Detroit            MI      48224-3368
Eddie Lee Brown                                c/o Christina R McPhail            PO Box 760125                                                     Lathrup Village    MI      48076
Edith Christopher Clausen                      Andreopoulos & Hill                28900 Woodward Ave                                                Royal Oak          MI      48067
Edward Bell                                                                       22100 Hawthorn St, Unit 3                                         Farmington         MI      48336
Edward Schenburn                               ALG Legal Center, PLLC             29240 Buckingham St Ste 2                                         Livonia            MI      48154-4590

Edwards, Christian                             C/o Donald John Cummings         24901 Northwestern Hwy Ste 700                                      Southfield         MI      48075-2203
                                                                                                                  24901 Northwestern
Edwards, Christian                             C/o Marc J Mendelson             Law Offices of Michael J Morse PC Hwy Ste 700                       Southfield         MI      48075-1816
Electrical Workers Fringe Benefit Funds of                                      Erman, Teicher, Zucker &          28400 Northwestern
Local #58, IBEW                                c/o Dianne S. Ruhlandt, Esq.     Freedman, P.C.                    Hwy Ste 200                       Southfield         MI      48034-8348
Eletra Thurman                                 c/o Jason M. Berger              333 W. Fort St., Suite 1400                                         Detroit            MI      48226
Eletra Thurman                                                                  15811 Bramell                                                       Detroit            MI      48223
Elite Chiropractic Center, P.C.                Gary R. Blumberg, P.C.           30665 N.W. Hwy., Ste. 200                                           Farmington Hills   MI      48334
Elite Chiropractic Center, P.C.                Stefania Gismondi                Gary R. Blumberg P.C.             15011 Michigan Ave                Dearborn           MI      48126
                                                                                                                  30833 Northwestern
Ellerbee, Vivian                               Kelman, Michael G.               Law Offices of Kelman & Fantich   Hwy Ste 206                       Farmington Hills   MI      48334
                                                                                                                  28145 Greenfield Rd
Ellsberry, Keenan                              Robinson, David A.               Robinson and Associates PC        Ste 100                           Southfield         MI      48076
                                                                                                                  30665 Northwestern
Engineered Comfort Solutions, Inc.,            Rich, Ronald B.                  Ronald B. Rich & Associates       Hwy Ste 280                       Farmington Hills   MI      48334

Eric Brown                                     Michael J. Morse, P.C.           24901 Northwestern Hwy, Ste 700                                     Southfield         MI      48075

Eric Lardie                                    Ernest F. Friedman               24567 Northwestern Hwy., Ste. 500                                   Southfield         MI      48975
                                                                                                                    30500 Northwestern
Eric Lardie                                    Law Offices of Ernest Friedman   Ernest F. Friedman                  Hwy, Suite 307                  Farmington Hills   MI      48334
                                                                                                                    18831 W. 12 Mile
Ernest Bricest                                 Michael J. Butler                Bernstein & Bernstein               Road                            Lathrup Village    MI      48076

Ervin, Barbara                                 Bernard Mindell, Esq             25505 W. 12 Mile Rd., Suite 1000                                    Southfield         MI      48034


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                 CreditorName                       CreditorNoticeName                     Address1                      Address2          Address3             City     State     Zip      Country
Ervin, Barbara                                                                  25505 W. 12 Mile Road              Suite 1000                         Southfield         MI    48034
                                                                                                                   17000 W. 10 Mile Rd,
Espino-ramos, Caroline                         Sulolli, Tim                     Goodman Acker PC                   Second Floor                       Southfield         MI    48076
Estate of Willie Davis                         Attn Adam C. Zwicken             23855 Northwestern Highway                                            Southfield         MI    48075-7713

Evans, Otis                                    Romano, Daniel G.                Romano Law PLLC                    23880 Woodward Ave                 Pleasant Ridge     MI    48069
Examworks Inc                                  Attn Accounts Payable            20300 W 12 Mile Rd Ste 103                                            Southfield         MI    48076
                                               c/o Steven A Matta / Kellie M.                                      39572 Woodward Ave
Fairgrieve, Andrew                             Blair                            Matta Blair PLC                    Ste 200                            Bloomfiled Hills   MI    48304-5005

Family Care Transportation Inc.                The Joseph Dedvukaj Firm P.C.    1277 W. Square Lk Rd                                                  Bloomfield Hills   MI    48382
Faye Atkins                                    c/o Goodman Acker, P.C.          17000 W. Ten Mile, 2nd Floor                                          Southfield         MI    48075
Faye Atkins                                                                     27500 Fraklin Rd, Apt 210                                             Southfield         MI    48034

Feinberg Consulting                            Attn Accounts Payable            29226 Orchard Lake Rd Suite 120                                       Farmington Hills   MI    48334

Feinberg Consulting                            Attn Accounts Payable            7125 Orchard Lake Rd, Suite 110                                       West Bloomfield    MI    48322
Felicia Robinson                               The Joseph Dedvukaj Firm PC      1277 W. Square Lk Rd                                                  Bloomfield Hills   MI    48382
Fenimore Limited DIV. DVD. H.A.                Becker Law PLC                   Carl Becker, Esq.                  P.O. Box 536                       Oxford             MI    48371
Fenimore Limited DIV. DVD. H.A.                Kurt Thornbladh P25858           Thornbladh Legal Group PLLC        7301 Schafer                       Dearborn           MI    48126
Fenimore Limited Div. Housing Assoc.           Becker Law PLC                   Carl Becker, Esq.                  P.O. Box 536                       Oxford             MI    48371
Fentress, Orlando                                                               23855 Northwestern Hwy                                                Southfield         MI    48075
Fentress, Orlando                                                               17188 Appoline                                                        Detroit            MI    48235
Fern Clement                                                                    16230 Forrer                                                          Detroit            MI    48235
Fields, Darnell                                Romano Law, PLLC                 23880 Woodward Ave                                                    Pleasant Ridge     MI    48069
Fields, Delta                                                                   28411 Northwestern Hwy             Suite 930                          Southfield         MI    48034
Fields, Jamie S                                                                 Address on File
Financial Guaranty Insurance Company           Derek Donnelly                   125 Park Avenue                                                       New York           NY    10017
Financial Guaranty Insurance Company           Derek Donnelly                   463 Seventh Ave Suite 1600                                            New York           NY    10018
                                                                                                                   700 Louisiana Street,
Financial Guaranty Insurance Company           Weil,Gotshal & Manges LLP        Alfredo R. Perez                   Suite 1600                         Houston            TX    77002
                                                                                                                   280 North Old
                                               Williams, Williams, Rattner &    Ernest J. Essad Jr and Mark R.     Woodward Avenue,
Financial Guaranty Insurance Company           Plunkett, P.C.                   James                              Suite 300                          Birmingham         MI    48009
Financial Guaranty Insurance Company                                            463 Seventh Avenue, Suite 1600                                        New York           NY    10018
Financial Guaranty Insurance Company
(Insurer)                                      Attn Risk Management             463 Seventh Avenue, Suite 1600                                        New York           NY    10018
Fisher, Lisa                                   Derouin, Amy                     Christopher Trainor & Associates   9750 Highland Rd                   White Lake         MI    48386
                                                                                                                   23880 Woodward
Flowers, Lucy                                  Romano Law, PLLC                 Stanley I. Okoli                   Avenue                             Pleasant Ridge     MI    48069
Flowers, Lucy                                                                   26555 Evergreen Rd.                Suite 1500                         Southfield         MI    48076
Fountain Court Consumer Housing                                                                                    2915 Biddle Avenue,
Cooperative                                    c/o Randall A. Pentiuk, Esq.     Pentiuk, Couvreur & Kobiljak, P.C. Suite 200                          Wyandotte          MI    48192
                                               c/o David A Robinson &
Foy, Jerome                                    Associates, PC                   28145 Greenfield Rd., Ste 100                                         Southfield         MI    48076
Frank Daviston, Jr.                                                             11521 Beech Daly Rd                                                   Taylor             MI    48180


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                 CreditorName                       CreditorNoticeName                       Address1                     Address2          Address3              City    State      Zip       Country
                                                                                 124 West Allegan Street, Suite
FraserTrebilcock Lawyers                                                         1000                                                                  Lansing            MI      48933
                                                                                 Bryant, Logan, Wheeler Law
Fred Douglas Wheeler                           Orene Bryant, Attorney at Law     Group, PLC                          26032 Five Mile Road              Redford            MI      48239
Fred Morgan                                    Carl Collins III                  20755 Greenfield Rd., Ste. 1100                                       Southfield         MI      48075
                                               Trainor, Christopher J. + Shawn
Gaines, Earl, Et Al                            C. Cabot                          Christopher Trainor & Associates    9750 Highland Rd                  White Lake         MI      48386
                                                                                                                     3200 Greenfield Rd
Gardner, Denise                                Pospiech, Debra N.                Morgan & Meyers PC                  Ste 260                           Dearborn           MI      48120

Gardner, Juan                                                                    24901 Northwestern Hwy., Ste 700                                      Southfield         MI      48075
GARGALINO, SHAWN M                                                               Address on File
                                                                                                                     1000 Town Center Ste
Garrett, Tremaine                              c/o Cary M. Makrouer, Esq.        The Thurswell Law Firm PLLC         500                               Southfield         MI      48075-1221

Garry Starks                                   Ernest F. Friedman                24567 Northwestern Hwy., Ste. 500                                     Southfield         MI      48975
                                                                                                                     30500 Northwestern
Garry Starks                                   Law Offices of Ernest Friedman    Ernest F. Friedman                  Hwy, Suite 307                    Farmington Hills   MI      48334
Gary Harrington                                Andreopoulos & Hill, PLLC         28900 Woodward Ave                                                    Royal Oak          MI      48067
Gary R. Blumberg, P.C.                                                           30665 N.W. Hwy., Ste. 200                                             Farmington Hills   MI      48334

Gary Robinson                                  c/o Haas & Goldstein, P.C.        31275 Northwestern Hwy, Ste 225                                       Farmington Hills   MI      48334
General Shale Brick Company                    c/o John Colucci, Esq.            33659 Angeline                                                        Livonia            MI      48150
Genes Towing                                   Attn Nicholas Bachand, Esq.       2411 Vinewood                                                         Detroit            MI      48216
Genes Towing                                                                     7770 Dix                                                              Detroit            MI      48209
George A. Kaw                                                                    1843 Delta Dr                                                         Troy               MI      48085
                                                                                                                     18831 W. 12 Mile
George Moss                                    Thomas B. Calcatera               Bernstein & Bernstein               Road                              Lathrup Village    MI      48076
Gerald and Alecia Wilcox                       Wolfgang Mueller, Esq.            2684 West Eleven Mile Rd.                                             Berkley            MI      48072
                                                                                 30300 Northwestern Highway,
Gerald Hardeman                                Glenn A. Saltsman, PLC            Suite 106                                                             Farmington Hills   MI      48334
                                                                                                                     30500 Northwestern
Gerald Mallory                                 Jessica Coulter, Esq.             c/o Lee B. Steinberg, PC            Hwy., Ste. 400                    Farmington Hills   MI      48334
                                                                                                                     3910 Telegraph Road,
Gerald Mallory                                 Lipson Neilson PC                 Michael D. Lieberman, Esq.          Ste. 200                          Bloomfield Hills   MI      48302
Geraldine Suell                                                                  3334 Lockwood                                                         Detroit            MI      48210
Gerhard Eady                                                                     24880 Almond                                                          Eastpointe         MI      48021
Gervin-barnes, Jaleel                          Trainor, Christopher J.           Christopher Trainor & Associates    9750 Highland Rd                  White Lake         MI      48386
Get Well Medical Transport, et al (Arnold
Coleman) and additional plaintiffs             Varjabedian Attorneys, P.C.       29777 Telegraph Rd. Suite 2175                                        Southfield         MI      48034
Ghaleb, Theresa                                Romano Law PLLC                   23880 Woodward Ave                                                    Pleasant Ridge     MI      48069

Gilbert, Brandon                               Okoli, Stanley I                   Romano Law PLLC                    23880 Woodward Ave                Pleasant Ridge     MI      48069
                                               Gilstrap, Jenniger / Law Office of
Gilstrap, Jenniger                             Kelman & Fantich                   30903 Northwestern Hwy Ste 270                                       Farmington Hills   MI      48334



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                  CreditorName                       CreditorNoticeName                      Address1                      Address2             Address3              City     State      Zip       Country

Gilstrap, Jenniger                             Law Offices of Kelman & Fantich 30903 Northwestern Hwy Ste 270                                               Farmington Hills   MI      48334
Gilstrap, Jenniger / Law Office of Kelman &
Fantich                                                                          30903 Northwestern Hwy Ste 270                                             Farmington Hills   MI      48334
                                                                                                                   24901 Northwestern
Givens, Phillip                                C/o Marc J Mendelson              Law Offices of Michael J Morse PC Hwy Ste 700                              Southfield         MI      48075-1816
                                                                                                                   24901 Northwestern
Givens, Phillip                                                                  Michael Morse                     Hwy., Suite 700                          Southfield         MI      48075
                                                                                                                   17000 W. 10 Mile Rd,
Gjergji, Gjush                                 Sulolli, Tim                      Goodman Acker PC                  Second Floor                             Southfield         MI      48076
Gjergji, Gjush                                                                   1772 Heronview Ct                                                          West Bloomfield    MI      48324

Gl Transportation, Llc                         C/o Heather J Atnip               Romanzi Atnip PC                     400 Water St Ste 205                  Rochester          MI      48307-2090
Gladys M Cannon                                                                  1259 S. Beatrice                                                           Detroit            MI      48217

Gloria Easley                                  Applebaum & Stone PLC             26777 Central Park Blvd. Suite 300                                         Southfield         MI      48076
Gloria Easley                                  Applebaum & Stone, PLC            3000 Town Center Suite 1800                                                Southfield         MI      48075

Glover, Lynetta                                c/o Berger, Miller & Strager, P.C. 333 W. Fort Street                  Suite 1400                            Detroit            MI      48226
Glover, Lynetta                                                                   2003 E. Outer Drive                                                       Detroit            MI      48234
                                                                                                                      30150 Telegraph Rd
Godbold, Odell                                 Gottlieb, Charles                 Gottlieb & Goren PC                  Ste 249                               Bingham Farms      MI      48025
Godbold, Odell                                                                   5073 Gateshead                                                             Grosse Pointe      MI      48324
Godwin Legal Services, PLC                                                       21905 Garrison St                                                          Dearborn           MI      48124
                                                                                                                      17000 W. 10 Mile Rd.,
Goines, Shykesha                                                                 Brian J. Nagy                        2nd Floor                             Southfield         MI      48075
Goldstein DeBiase                              William C. Goldstein              475 Devonshire Road, Ste 200                                               Windsor            ON      N8Y 2L5      Canada
Goldstein, Bershad & Fried                                                       4000 Town Center, Suite 1200                                               Southfield         MI      48075

Gomez, Keitha                                  Romano, Daniel G.                 Romano Law PLLC                      23880 Woodward Ave                    Pleasant Ridge     MI      48069

Good Samaritan Comfort Transportation          c/o A. Stephen Ramadan, PLC       22201 Harper Ave                                                           St. Clair Shores   MI      48080
                                                                                                                      30833 Northwestern
Goodwin, Philomena                             Bachteal, Robert                  Law Offices of Kelman & Fantich      Hwy Ste 206                           Farmington Hills   MI      48334
Goudy Larentinna                                                                 13144 Kilbourne St                                                         Detroit            MI      48213
Goudy, Larentinna                              Goudy Larentinna                  13144 Kilbourne St                                                         Detroit            MI      48213
                                                                                                                      24901 Northwestern
Goudy, Larentinna                              Mendelson, Marc J.                Michael J. Morse PC                  Hwy Ste 700                           Southfield         MI      48075
Goudy, Larentinna                                                                25657 Southfield Rd                                                        Southfield         MI      48075

                                                                                                                                              151 S. Old
Governing Board of the City of Detroit                                                                                                        Woodward
Employee Benefit Plan                          Clark Hill PLC                    Robert D. Gordon                     Shannon L. Deeby        Ave, Suite 200 Birmingham        MI      48009
                                                                                                                      17600 Northland Park
Graham, Robert Earl                            Miller, Racine M                  We Fight The Law PLLC                Ct Ste 210                            Southfield         MI      48075



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                                                                                                                   17000 W. 10 Mile Rd,
Green, Glenn                                   Sulolli, Tim                      Goodman Acker PC                  Second Floor                         Southfield         MI      48076
Green, Glenn                                                                     11808 Middlebelt Rd Apt 344                                            Livonia            MI      48150
Green, Jermaine                                Romano Law, PLLC                  23880 Woodward Ave                                                     Pleasant Ridge     MI      48069
Gregory, Moore, Jeakle & Brooks, P.C.          James M. Moore                    65 Cadillac Square, #3727                                              Detroit            MI      48226-2843
Gretchen R. Smith                                                                1401 W. Fort St. #441151                                               Detroit            MI      48244
Gretchin Smith                                 Andreopoulos & Hill, PLLC         28900 Woodward Ave                                                     Royal Oak          MI      48067
Griffin, Omari                                 Hughes, Paul M.                   65 Cadillac Sq Ste 2100                                                Detroit            MI      48226
Griffin, Omari                                 Paul M Hughes                     220 Bagley Ste 740                                                     Detroit            MI      48226
                                                                                 801 West Eleven Mile Road Suite
Griggs, Charles                                Benavides Law                     130                                                                    Royal Oak          MI      48067
                                                                                 The Marcel S. Benavides Law
Griggs, Charles                                Benavides, Marcel S.              Office                            240 Daines St                        Birmingham         MI      48009
                                                                                 801 West Eleven Mile Road Suite
Griggs, Mageline                               Benavides Law                     130                                                                    Royal Oak          MI      48067
                                                                                 The Marcel S. Benavides Law
Griggs, Mageline                               Benavides, Marcel S.              Office                            240 Daines St                        Birmingham         MI      48009
Grimes, Portia                                                                   3409 Amber Trl                                                         Duluth             GA      30096
                                                                                 Law Office of Kenneth D. Finegood 29566 Northwestern
Grover, Lamarcus                               Finegood, Kenneth D               PLC                               Hwy Ste 120                          Southfield         MI      48034
Gueelma Brown                                                                    19350 Orleans Street                                                   Detroit            MI      48203
                                                                                                                   30833 Northwestern
Guest, Shuntina                                Bachteal, Robert                  Law Offices of Kelman & Fantich   Hwy Ste 206                          Farmington Hills   MI      48334
                                                                                                                   30833 Northwestern
Guest, Shuntina                                Fantich, Brian L.                 Law Office of Kelman & Fantich    Hwy Ste 206                          Farmington Hills   MI      48334
                                               Guest, Shuntina / Law Office of
Guest, Shuntina                                Kelman & Fantich                  30903 Northwestern Hwy Ste 270                                         Farmington Hills   MI      48334
Guest, Shuntina                                Shuntina Guest                    362 Hewlett Rd                                                         Memphis            TN      38109
Guest, Shuntina / Law Office of Kelman &
Fantich                                                                          30903 Northwestern Hwy Ste 270                                         Farmington Hills   MI      48334
                                                                                                                   100 Galleria Officentre
Guntzviller, Sandra                            Levine Benjamin, P.C.             Greg M. Liepshutz P37573          Ste 411                              Southfield         MI      48034
Guy-simmons, Janice                                                              333 W. Fort St                    Suite 1400                           Detroit            MI      48226
                                                                                 29566 NORTHWESTERN HWY.,
Guy-simmons, Janice                                                              STE. 120                                                               SOUTHFIELD         MI      48034
H & H Wheel Service                            Attn Accounts Payable             P.O.Box 66245                                                          Roseville          MI      48066
H & H Wheel Service                            Mark E Straetmans                 535 Griswold Ste 1900                                                  Detroit            MI      48226
H & H Wheel Service                                                              29245 Stephenson Hwy                                                   Madison Heights    MI      48071
H.D.V. Greektown, LLC                          Shafer & Associates, P.C.         3800 Capital City Blvd            Suite 2                              Lansing            MI      48906
Hackett Feinberg PC                            Frank F McGinn                    155 Federal St 9th Fl                                                  Boston             MA      02110
                                                                                                                   23855 Northwestern
Hall, Jacqueline                               Ravid & Assoc., P.C.              Atty Mariz Foreman                Hwy                                  Southfield         MI      48075
Hall, Robert                                   Romano Law, PLLC                  23880 Woodward Ave                                                     Pleasant Ridge     MI      48069
                                                                                                                   24901 Northwestern
Hampton, Crystal                               James A. Lane                     Michael J. Morse, P.C.            Hwy, Ste 700                         Southfield         MI      48075
Hampton, Crystal                                                                 25657 Southfield Rd                                                    Southfield         MI      48075


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                 CreditorName                       CreditorNoticeName                     Address1                       Address2            Address3              City        State      Zip       Country
                                                                               Associate Attorney Romano Law
Hardison, Iv, Terry                            Misovski, Gordana               PLLC                                 23880 Woodward Ave                     Pleasant Ridge       MI      48069

Harmon, Anthony                                Romano, Daniel G.               Romano Law PLLC                      23880 Woodward Ave                     Pleasant Ridge       MI      48069

Harp, Carolyn                                  Stempien, Eirc                  Romano Law PLLC                      23880 Woodward Ave                     Pleasant Ridge       MI      48069
                                                                                                                    1000 Town Center Ste
Harper, Takeya                                 c/o Cary M. Makrouer, Esq.      The Thurswell Law Firm PLLC          500                                    Southfield           MI      48075-1221

Harris, Clenette                               Romano, Daniel G                Romano Law PLLC                      23880 Woodward Ave                     Pleasant Ridge       MI      48069
Harris, Clentette                                                              26555 Evergreen Rd                   Suite 1500                             Southfield           MI      48076
Harris, Clentette                                                              23880 Woodward Ave                                                          Pleasant Ridge       MI      48069
Harris, Donald                                 Romano Law PLLC                 23880 Woodward Ave                                                          Pleasant Ridge       MI      48069
Harris, Maurice                                Robert A. Canner, P.C.          24423 Southfield Rd., Ste. 200                                              Southfield           MI      48075
Harris, Robert                                                                 Address on File
Harris, Sammie                                                                 Address on File
HARRIS, SAMMIE                                                                 Address on File
Harris, Sammie Kevin                           Azzopardi, Mario J.             Rothstein Law Group PLC              19068 W 10 Mile Rd                     Southfield           MI      48075
Harris, Sammie Kevin                           Sammie Kevin Harris             9397 Appoline St.                                                           Detroit              MI      48228
Harris, Sammie Kevin                           Sammie Kevin Harris             6720 West Outer Drive                                                       Detroit              MI      48235
Harris, Yugustine                              Yugustine Harris                3259 Calvert Street                                                         Detroit              MI      48206
Harris, Yugustine                                                              333 W. Fort St                       Suite 1400                             Detroit,             MI      48226
                                                                                                                    28145 Greenfield Rd
Harshaw, Corry                                 C/o David A Robinson            Robinson and Associates PC           Ste 100                                Southfield           MI      48076
Harvey, Gregory                                c/o Goodman Acker PC            17000 W. 10 Mile Road                2nd Floor                              Southfield           MI      48075
Harvey, Gregory                                                                8079 Palace Estates Ave                                                     Las Vegas            NV      89117
Hassan Hassan                                  Barton C. Rachwal               30400 Telegraph Rd., Ste. 470                                               Southfield           MI      48025
Hassan Hassan                                                                  7120 Appoline Street                                                        Dearborn             MI      48025
Hatcher, Darius                                Shawn C. Cabot                  Christopher Trainor & Associates     9750 Highland Rd.                      White Lake           MI      48386
                                               Nicole Beauchamp - First
Health Alliance Plan                           Recovery Group                  26899 Northwestern Hwy, Ste 250                                             Southfield           MI      48033
Heard, Casadaria                               Ben M. Gonek                    500 Griswold Street, Suite 3500                                             Detroit              MI      48226
                                                                                                                    24901 Northwestern
Heath, Shirley                                                                 Michael Morse                        Hwy., Suite 700                        Southfield           MI      48075
HELMSMAN MANAGEMENT SERVICE                    TPA FOR UPS                     PO BOX 410                                                                  MISHAWAKA            IN      46546
Henry L. Brown                                                                 5671 Emerald Springs                                                        Detroit              MI      48212

Heritage Hospital/Oakwood Healthcare, Inc      Bruce K. Pazner, PC             15200 East Jefferson, Suite 104                                             Grosse Pointe Park   MI      48230
Hickey, Tommie                                 Romano Law PLLC                 23880 Woodward Ave                                                          Pleasant Ridge       MI      48069
Hicks, Kwan                                    Romano Law PLLC                 23880 Woodward Ave                                                          Pleasant Ridge       MI      48069
                                               Hoffman, Terrance and Ravid &
Hoffman, Terrance                              Assoc., P.C.                    23855 Northwestern Hwy                                                      Southfield           MI      48075-7713
                                                                                                                    One Towne Square,
Holt, Rose M.                                  Swanson, Daniel D.              Sommers Schwartz, P.C.               Suite 1700                             Southfield           MI      48076
                                                                                                                    Law Office of Jeffrey   65 Cadillac Sq
Horton, Akeila and Thornton, Anthony           Horton Akeila                   Edison, Jeffrey L.                   Lee Edison              Ste 2205       Detroit              MI      48226


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                                                                                                                     18831 W. 12 Mile
Houston Bell                                   Michael J. Butler                Bernstein & Bernstein                Road                               Lathrup Village    MI      48076
                                                                                                                     28145 Greenfield Rd
Houze, Laturra                                 Robinson, David A.               Robinson and Associates PC           Ste 100                            Southfield         MI      48076
                                                                                                                     2525 S Telegraph Rd
Howard, Vernon Lee                             Brown, Matthew C.                Brown & Brown PLC                    Ste 100                            Bloomfield Hills   MI      48302
                                               Matthew C. Brown ( Attorney of
Howard, Vernon Lee                             Vernon Howard)                   838 W. Long Lake Rd. Ste 100                                            Bloomfield Hills   MI      48302
HRT Enterprises, A Michigan Partnership        Demorest, Mark S.                Demorest Law Firm PLLC               322 W Lincoln Ave                  Royal Oak          MI      48067
Humphrey, Richard                              c/o Berger Miller & Strager PC   333 W. Fort Street                   Suite 1400                         Detroit            MI      48226
Humphrey, Richard                              Richard Humphrey                 1151 E. Grand Blvd.                                                     Detroit            MI      48207
                                                                                                                     30000 Town Center.
Hutson, Thelton, Iii                                                            Nicholas M. Marchenia, Atty.         Suite 1800                         Southfield         MI      48075
Hyde Park Co-Operative                         Becker Law PLC                   Carl Becker, Esq.                    P.O. Box 536                       Oxford             MI      48371
Hyde Park Co-Operative                         Kurt Thornbladh P25858           Thornbladh Legal Group PLLC          7301 Schaefer                      Dearborn           MI      48126
Ian Mobley, American Civil Liberties Union     (Cooperating Attorneys for the
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of Michigan)                Goodman & Hurwitz, P.C.              1394 E. Jefferson Ave              Detroit            MI      48207
Ian Mobley, American Civil Liberties Union
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of MI                       2966 Woodward Avenue                                                    Detroit            MI      48201
                                               ATTN BANKRUPTCY
IBM CORPORATION                                COORDINATOR                      275 VIGER E, 4TH FLOOR                                                  MONTREAL           QC      H2X 3R7      CANADA
International Union, UAW                       Attn Niraj Ganatra               8000 East Jefferson Avenue                                              Detroit            MI      48214
                                                                                                                     28145 Greenfield Rd
Irby, Christopher                              C/o David A Robinson             Robinson and Associates PC           Ste 100                            Southfield         MI      48076

Iron Mountain Information Management LLC       Hackett Feinberg PC              Frank F McGinn                       155 Federal St 9th Fl              Boston             MA      02110
                                               Scott A Wolfson & Anthony J                                           3150 Livernois Ste
Iron Mountain Information Management LLC       Kochis                           Wolfson Bolton PLLC                  275                                Troy               MI      48043

Iron Mountain Information Management, Inc.     Attn Joseph Corrigan, Esq        1 Federal Street 7th Floor                                              Boston             MA      02110

Iron Mountain Information Management, LLC Joseph Corrigan                       745 Atlantic Ave 10th Fl                                                Boston             MA      02111

Iron Mountain Information Management, LLC Joseph P. Corrigan, Esq               One Federal Street                                                      Boston             MA      02110
Iron Mountain Records Management                                                PO Box 27128                                                            New York           NY      10087
Iron Mountain Records Management Inc      Attn Accounts Payable                 7277 N Haggerty Rd                                                      Canton             MI      48187
Iron Mountain Records Management Inc                                            PO Box 27128                                                            New York           NY      10087-7128
Irvin Nora                                                                      333 West Fort Street Ste 1400                                           Detroit            MI      48226
Irvin Nora                                                                      P.O. Box 10                                                             Lisborn            OH      44432
Ivas Robertson                            Zamler, Mellen & Shiffman, PC         23077 Greenfield Rd., Ste 557                                           Southfield         MI      48075

Ivory, Ebonie                                  Applebaum & Stone PLC            26777 Central Park Blvd. Suite 300                                      Southfield         MI      48076
                                                                                                                     3000 Town Center Ste
Ivory, Ebonie                                  Brian Boehne                     Applebaum & Stone PLC                1800                               Southfield         MI      48075


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               CreditorName                        CreditorNoticeName                      Address1                       Address2         Address3              City     State     Zip   Country
Ivory, Ebonie                                                                   3000 Town Center,                   Suite 1800                         Southfield         MI    48075
J.B. Dorsey & Associates                      Jay B Dorsey                      146 Tennessee Ave NE                                                   Washington         DC    20002

Jackie Brooks                                 Ernest F. Friedman                24567 Northwestern Hwy., Ste. 500                                      Southfield         MI    48975
                                                                                                                    30500 Northwestern
Jackie Brooks                                 Law Offices of Ernest Friedman    Ernest F. Friedman                  Hwy, Suite 307                     Farmington Hills   MI    48334
Jackson, Deborah                              Martin G. Deutch                  27200 Lahser, Suite 201                                                Southfield         MI    48075
                                                                                                                    26777 Central Park
Jackson, Deborah                              Martin Gary Deutch PC             Martin G. Deutch                    Blvd Ste 200                       Southfield         MI    48076
Jackson, James                                Romano Law, PLLC                  23880 Woodward Ave                                                     Pleasant Ridge     MI    48069
Jackson, Johnny and his Attorneys
Christopher Trainor & Associates              Christopher Trainor & Assocites   9750 Highland Rd                                                       White Lake         MI    48386
                                                                                Law Office of Kenneth D. Finegood 29566 Northwestern
Jackson, Mario                                Finegood, Kenneth D.              PLC                               Hwy Ste 120                          Southfield         MI    48034
Jacob Myers                                   Jeffrey S Hayes                   32100 Telegraph Rd. Ste 200                                            Bingham Farms      MI    48025
                                                                                Law Office of Matthew S.          500 Griswold St Ste
Jacobi, Anthony                               Kolodziejski, Matthew S.          Kolodziejski PLLC                 2340                   Guardian Bldg Detroit            MI    48226

Jacqueline Allen                              c/o Haas & Goldstein, P.C.        31275 Northwestern Hwy. Ste 225                                        Farmington Hills   MI    48334
                                                                                                                    23855 Northwestern
Jacqueline Stephen                            David Lawrence Ravid              Ravid and Associates, P.C.          Hwy                                Southfield         MI    48075
Jacueline M. Jackson                                                            19451 Stephens Dr                                                      Eastpointe         MI    48021

James A. Lane                                 Michael J. Morse, P.C.            24901 Northwestern Hwy, Ste 700                                        Southfield         MI    48075
James Ashley                                  Rothstein, Lawrence R.            Rothstein Law Group                 19068 W 10 Mile Rd                 Southfield         MI    48075
James Llanes                                                                    8554 Olivet                                                            Detroit            MI    48209
                                              Christopher J. Trainor and
James Mathis                                  Shawn C. Cabot                    Christopher Trainor and Associates 9750 Highland Rd                    White Lake         MI    48386
James Middleton                               c/o Ronald J Gricius PC           18 First Street                                                        Mt Clemens         MI    48043
James Washington, American Civil Liberties    (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &         American Civil Liberties Union                                        1394 E. Jefferson
Hurwitz, P.C.                                 Fund of Michigan)                 Goodman & Hurwitz, P.C.             Avenue                             Detroit            MI    48207
James Washington, American Civil Liberties
Union Fund of Michigan, and Goodman &         American Civil Liberties Union
Hurwitz, P.C.                                 Fund of MI                        2966 Woodward Avenue                                                   Detroit            MI    48201
Jamie S. Fields                                                                 555 Brush #2409                                                        Detroit            MI    48226
Janet Johnson                                 Mark E. Boegehold (P38699)        1000 Town Center, Suite 500                                            Southfield         MI    48075
Janet Johnson                                                                   8080 Strathmor                                                         Detroit            MI    48228
Janet Samuels                                 Andreopoulos and Hill, PLLC       28900 Woodward Ave                                                     Royal Oak          MI    48067
                                                                                                                    18831 W. 12 Mile
Jaquay Lawrence                               Michael J. Butler                 Bernstein & Bernstein               Road                               Lathrup Village    MI    48076
Jason Knight                                  The Reizen Law Group              333 West 7th Street, Suite 360                                         Royal Oak          MI    48067
Jason Leverette-Saunders, American Civil      (Cooperating Attorneys for the
Liberties Union Fund of Michigan, and         American Civil Liberties Union                                        1394 E. Jefferson
Goodman & Hurwitz, P.C.                       Fund of Michigan)                 Goodman & Hurwitz, P.C.             Avenue                             Detroit            MI    48207



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Jason Leverette-Saunders, American Civil
Liberties Union Fund of Michigan, and          American Civil Liberties Union
Goodman & Hurwitz, P.C.                        Fund of MI                       2966 Woodward Avenue                                                    Detroit            MI      48201
Jason Nathaniel Rogers                                                          20368 Anita                                                             Harper Woods       MI      48225

Jason Oliver                                   Applebaum & Stone PLC            26777 Central Park Blvd. Suite 300                                      Southfield         MI      48076
                                                                                                                     3000 Town Center
Jason Oliver                                   Steven J. Bell, Esq              Applebaum & Stone, PLC               Suite 1800                         Southfield         MI      48075
Javon Mason                                    The Reizen Law Group             333 West 7th Street, Suite 360                                          Royal Oak          MI      48067
Javon Patterson                                Mark E. Boegehold (P38699)       1000 Town Center, Suite 500                                             Southfield         MI      48075

Jay Santiago Logan                             c/o Christina R. McPhail P70739 PO Box 760125                                                            Lathrup Village    MI      48076
                                                                                                                     18831 W. 12 Mile
Jaylen Washington                              Thomas B. Calcatera              Bernstein & Bernstein                Road                               Lathrup Village    MI      48076

Jelks, Leinahtan                               Davis, Christina D.              Romano Law PLLC                      23880 Woodward Ave                 Pleasant Ridge     MI      48069
Jennifer Marie Jackson                                                          19711 Mansfield St                                                      Detroit            MI      48235
                                                                                                                     29777 Telegraph
Jennifer Marie Jackson fka Jennifer Burton     Attn Rebecca H. Filiatraut       c/o Lee B. Steinberg, PC             Road, Suite 1555                   Southfield         MI      48034
Jennifer Marie Jackson fka Jennifer Burton     Jennifer Marie Jackson           19711 Mansfield St                                                      Detroit            MI      48235
                                                                                                                     3910 Telegraph Road,
Jennifer Marie Jackson fka Jennifer Burton     Lipson Neilson PC                Michael D. Lieberman, Esq.           Ste. 200                           Bloomfield Hills   MI      48302
                                                                                                                     21700 Green field Rd.
Jernigan, Breanna                                                               Robert J. Malleis                    Suite 305                          Oak Park           MI      48237
Jerome Moore                                                                    20240 Kentfield, St.                                                    Detroit            MI      48219
Jerome Price, American Civil Liberties Union   (Cooperating Attorneys for the
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union                                        1394 E. Jefferson
P.C.                                           Fund of Michigan)                Goodman & Hurwitz, P.C.              Avenue                             Detroit            MI      48207
Jerome Price, American Civil Liberties Union
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of MI                       2966 Woodward Avenue                                                    Detroit            MI      48201
Jerry D. Patrick                                                                14343 Vasser                                                            Detroit            MI      48235
Jessica Brown                                  Jessica J Brown                  3998 8th                                                                Ecorse             MI      48229
                                                                                                                     12245 Beech Daly
Jessica Brown                                  Martin-henry, Tracey             Motor City Justice PLLC              Road #39925                        Redford            MI      48239
Jessica Brown                                  Stephanie February Brown         7736 Grandville                                                         Detroit            MI      48219
Jessica J Brown                                                                 3998 8th                                                                Ecorse             MI      48229
                                                                                                                     30500 Northwestern
Jessica Poindexter                             Eric S. Steinberg, Esq.          c/o Lee B. Steinberg, PC             Hwy., Ste. 400                     Farmington Hills   MI      48334
                                                                                                                     3910 Telegraph Road,
Jessica Poindexter                             Lipson Neilson PC                Michael D. Lieberman, Esq.           Ste. 200                           Bloomfield Hills   MI      48302
                                                                                                                     31731 Northwestern
Jessie Payne                                   Attn Leonard E. Miller           The Sam Bernstein Law Firm           Highway, Suite 333                 Farmington Hills   MI      48334
Jessie Payne                                                                    16810 Stahelin Ave                                                      Detroit            MI      48219-4147




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                 CreditorName                          CreditorNoticeName                       Address1                     Address2            Address3              City    State      Zip       Country

JoAnne Wojnarski, Personal Representative
of the Estate of Jerry Willcockson, Deceased      c/o Mark K. Schwartz              29201 Telegraph Rd., Ste 330                                            Southfield         MI      48034
Joe Garcia Consulting PLLC                                                          426 W Ottawa                                                            Lansing            MI      48933
Joel B. Sklar                                                                       615 Griswold, Suite 1116                                                Detroit            MI      48226
Joel B. Sklar Law                                                                   500 Griswold Street Suite 2450                                          Detroit            MI      48226
John W. and Vivian M. Denis Trust                 Mark S. Demorest                  Demorest Law Firm, PLLC            322 W Lincoln                        Royal Oak          MI      48067
Johnathan Brown (on behalf of himself and a                                                                                                    312 North May
class of others similarly situated in case #10-   Attn Michael Kanovitz, Arthur                                                                Street, Ste
cv-12162 (E.D. Mich)                              Lovey,                            Jon Lovey and Cindy Tsai           Loevy & Loevy           100           Chicago           IL      60607
Johnathan Brown (on behalf of himself and a
class of others similarly situated in case #10-   Jonathan Brown, Class
cv-12162 (E.D. Mich)                              Representative                    Chippewa Correctional Facility     4269 W. M-80                         Kincheloe          MI      49784
Johnathan Brown (on behalf of himself and a
class of others similarly situated in case #10-   Mercedes Varasteh Dordeski                                           130 East Nine Mile
cv-12162 (E.D. Mich)                              Foley & Mansfield PLLP            David L. Haron                     Road                                 Ferndale           MI      48220
Johnetta Mcleod                                   Mark E. Boegehold (P38699)        1000 Town Center, Suite 500                                             Southfield         MI      48075
                                                                                                                       18831 W. 12 Mile
Johnnie Mae Boston                                Thomas B. Calcatera               Bernstein & Bernstein              Road                                 Lathrup Village    MI      48076
Johnny Reese                                      Eric H. Clark                     27455 Five Mile Rd.                                                     Livonia            MI      48154
Johnson, Brandy                                   Daniel G. Romano                  23880 Woodward Ave                                                      Pleasant Rdg       MI      48069-1133
Johnson, Brandy                                   Romano Law, PLLC                  23880 Woodward Avenue                                                   Pleasant Ridge     MI      48069
Johnson, Darlene                                                                    24055 Jefferson, Suite 2000        P.O. Box 420                         St. Clair Shores   MI      48080
                                                                                    Mindell Malin Kutinsky Stone &     25505 W 12 Mile Rd
Johnson, James                                    Canner, Michael A.                Blatnikoff                         Ste 1000                             Southfield         MI      48034
                                                                                    Barnett Law Group of Michigan      1001 Woodward Ave
Johnson, Raphael                                  Barnett, Marvin                   PLLC                               Ste 800                              Detroit            MI      48226
Jonathan Brown, Class Representative              Chippewa Correctional Facility    4269 W. M-80                                                            Kincheloe          MI      49784
                                                                                                                       30833 Northwestern
Jones, Alonza,                                    Fantich, Brian L.                 Law Office of Kelman & Fantich     Hwy Ste 206                          Farmington Hills   MI      48334
Jones, Devery                                     Mckenna, Brian A.                 Sachs Waldman PC                   1000 Farmer St                       Detroit            MI      48226
                                                                                                                       2211 East Jefferson
Jones, Devery                                     Mckenna, Brian A.               Sachs Waldman PC                     Avenue, Suite #200                   Detroit            MI      48207-4160
                                                  Trainor, Christopher J. & Shawn
Jones, Elliot                                     C. Cabot                        Christopher Trainor & Associates     9750 Highland Rd                     White Lake         MI      48386
Jones, Renee                                      Renee Jones                     5505 Bedford                                                              Detroit            MI      48224
Jones, Renee                                                                      Address on File
Jones, Renee                                                                      11020 Nottingham St.                                                      Detroit            MI      48226
                                                                                                                       17000 W. 10 Mile Rd.,
Jones, Rosie                                      Acker, Gerald                     Goodman Acker                      2nd Floor                            Southfield         MI      48075
                                                                                                                       29829 Greenfield Rd
Jones, Valine B/n/f Jones, Arnaz                  Stearn, Todd J.                   Law Offices of Todd J Stearn PLC   Ste 101                              Southfield         MI      48076
Joseph Fletcher                                                                     42994 N. Ashbury Dr.                                                    Novi               MI      48234
Joseph S. Koziara                                                                   3472 Livernois                                                          Detroit            MI      48210-2945
                                                  Christopher J. Trainor & Amy J.
Joseph, Ronald                                    Derouin (P70514)                  Christopher Trainor and Associates 9750 Highland Rd                     White Lake         MI      48386


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              CreditorName                         CreditorNoticeName                      Address1                     Address2            Address3              City         State     Zip      Country
Joseph, Samuel                               Derouin, Amy                      Christopher Trainor & Associates   9750 Highland Rd                        White Lake           MI    48386
Joy Warren as next friend of Jalen Warren, a                                                                      3910 Telegraph Road,
minor                                        Lipson Neilson PC                 Michael D. Lieberman, Esq.         Ste. 200                                Bloomfield Hills     MI    48302
Joyce Daniels                                Brian E. Muawad                   22330 Greater Mack Ave.                                                    St. Clair Shores     MI    48080
                                                                                                                  3910 Telegraph Road,
Joyce Daniels                                  Lipson Neilson PC               Michael D. Lieberman, Esq.         Ste. 200                                Bloomfield Hills     MI    48302
Julius Clayton                                                                 4801 Harrison Dr Apt 120A                                                  Las Vegas            NV    89121
K and P, Incorporated                          Shafer & Associates, P.C.       3800 Capital City Blvd, Ste 2                                              Lansing              MI    48906
                                                                                                                  18831 W. 12 Mile
Kalyn Hunt                                     Thomas B. Calcatera             Bernstein & Bernstein              Road                                    Lathrup Village      MI    48076

Karl Green                                     c/o A. Stephen Ramadan, PLC     22201 Harper Ave                                                           Saint Clair Shores   MI    48080
                                                                                                                  370 E. Maple Rd., 3rd
Kathy Poe                                      Lippitt OKeefe Gombein, PLLC    Harvey R. Weingarden (P31534)      Floor                                   Birmingham           MI    48009
Kathy Poe                                                                      6476 Barton                                                                Detroit              MI    48238
                                               Christopher Trainor and
Katie Crawford                                 Associates                      9750 Highland Road                                                         White Lake           MI    48386
Katie Crawford                                                                 3852 Mohawk                                                                Detroit              MI    48208
                                               Law Offices of Michael Morse,
Keenan Smith                                   P.C.                            24901 Northwestern Hwy             Ste 700                                 Southfield           MI    48075
Keith Garrett                                  c/o Christina McPhail           PO Box 760125                                                              Lathrup Village      MI    48076

Keith MacNear                                                                  24901 Northwestern Hwy Ste 700                                             Southfield           MI    48075
Kennedy McCaa                                  Varjabedian Attorneys, P.C.     29777 Telegraph Rd. Suite 2175                                             Southfield           MI    48034
                                               c/o David A Robinson &
Kenney, Brandon                                Associates, PC                  28145 Greenfield Rd., Ste 100                                              Southfield           MI    48076
                                                                               25899 W. Twelve Mile Road, Suite
Kenyata Stevenson                              Wigod & Falzon, P.C.            220                                                                        Southfield           MI    48034
Kepes & Wine, P.C.                             Robert J. Wine                  27200 Lahser Road                                                          Southfield           MI    48037-2207
                                                                                                                  28411 Northwestern
Kersh, Eric                                    Colella, A. Vince               Moss & Colella PC                  Hwy Ste 1150                            Southfield           MI    48034
                                               Law Offices of Todd J. Weglarz,                                    30903 Northwestern
Kevin Bullard                                  PLLC                            Todd J. Weglarz                    Highway, Suite 360                      Farmington Hills     MI    48334
                                                                               Law Offices of Todd J. Weglarz,    615 Griswold Street,
Kevin Bullard                                  Todd J. Welgarz, Esq.           PLLC                               Suite 1712                              Detroit              MI    48226
Kevin Walker                                   Varjabedian Attorneys, P.C.     29777 Telegraph Rd. Ste 2175                                               Southfield           MI    48034
Khadijah K. Ahmad                                                              15861 Washburn                                                             Detroit              MI    48238
Khadijah K. Ahmad                                                              15861 Washburn                                                             Detroit              MI    48227
Kim James and Michael J. Morse, PC, her                                        24901 Northwestern Highway,
attorney                                       Jennifer G. Damico, Esquire     Suite 700                                                                  Southfield           MI    48075
Kim McCoy                                                                      21070 Woodland Glen Apt 202                                                Northville           MI    48167
Kim Spicer                                                                     29357 Sandalwood                                                           Roseville            MI    48066
Kimberly Asaro                                 Jonathan Marko                  Attorney At Law                    Rasor Law Firm          201 E 4th St    Royal Oak            MI    48067
                                                                               James B. Rasor, Jonathan R.                                Attorneys for
Kimberly Asaro                                 Rasor Law Firm                  Marko                              201 E 4th St            Plaintiff       Royal Oak            MI    48067-2606



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               CreditorName                         CreditorNoticeName                      Address1                      Address2         Address3             City     State      Zip       Country
Kimberly Mobley, American Civil Liberties      (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &          American Civil Liberties Union                                       1394 E. Jefferson
Hurwitz, P.C.                                  Fund of Michigan)                Goodman & Hurwitz, P.C.             Avenue                            Detroit            MI      48207
Kimberly Mobley, American Civil Liberties
Union Fund of Michigan, and Goodman &          American Civil Liberties Union
Hurwitz, P.C.                                  Fund of MI                       2966 Woodward Avenue                                                  Detroit            MI      48201
Kimberly Schaffner                             Brian E. Muawad                  22330 Greater Mack Ave.                                               St. Clair Shores   MI      48080
                                               Derouin, Amy and Shawn C.
King, Damion B.n.f. Williams, Alicia           Cabot                            Christopher Trainor & Associates  9750 Highland Rd                    White Lake         MI      48386
Lance W. Mason PC                                                               400 Renaissance Center                                                Detroit            MI      48243
                                                                                Law Offices of Ronald Steinberg & 30300 Northwestern
Langley, Aris                                  Steinberg, Ronald A.             Associates PLLC                   Hwy Ste 100                         Farmington Hills   MI      48334
LaRock, Tracey Personal Representative         Tracey M. Martin & Attorney
Estate of Ivory Ivey                           Edward G. Taylor                 1401 W Fort St Unit 442081                                            Detroit            MI      48224-3584
Larock, Tracey, Personal Representative        Attorney Tracey M Morth &
Estate of Ivory Ivey                           Attorney Edward G. Taylor        615 Griswold, Ste 720                                                 Detroit            MI      48226
                                               LaRock, Tracey Personal
Larock, Tracey, Personal Representative        Representative Estate of Ivory   Tracey M. Martin & Attorney         1401 W Fort St Unit
Estate of Ivory Ivey                           Ivey                             Edward G. Taylor                    442081                            Detroit            MI      48224-3584
LaRoyce Dixon                                  Mark E. Boegehold (P38699)       1000 Town Center, Suite 500                                           Southfield         MI      48075
Lashawna Atkins                                The Reizen Law Group             333 West 7th Street, Suite 360                                        Royal Oak          MI      48067
Lashonda Carpenter                             The Reizen Law Group             333 West 7th Street, Suite 360                                        Royal Oak          MI      48067
Latisha Williams                               Kalka Law Firm, PC               346 Park Street, Ste. 130                                             Birmingham         MI      48009
Latonya Reese Colvin                           Andreopoulos and Hill, PLLC      28900 Woodward Ave                                                    Royal Oak          MI      48067
Lattanzio, Daniel                              Romano Law, PLLC                 23880 Woodward Ave                                                    Pleasant Ridge     MI      48069

Laura J. Baugh                                 Eric J. Liblang, Esq             Law Offices of Jason A. Waechter    19080 W. 10 Mile Rd.              Southfield         MI      48075
Laura Mahler, American Civil Liberties Union   (Cooperating Attorneys for the
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union                                       1394 E. Jefferson
P.C.                                           Fund of Michigan)                Goodman & Hurwitz, P.C.             Avenue                            Detroit            MI      48207
Laura Mahler, American Civil Liberties Union
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of MI                       2966 Woodward Avenue                                                  Detroit            MI      48201
Law Office of Joel B Sklar                     Joel B Sklar                     500 Griswold Ste 2450                                                 Detroit            MI      48226
Law Office of Melissa M. Pearce PLC                                             28175 Haggerty Road                                                   Novi               MI      48377

Law Office of Michael Morse PC                 Brett OShell                     24901 Northwestern Hwy., Ste 700                                      Southfield         MI      48075
                                                                                30500 Northwestern Hwy, Suite
Law Offices of Ernest Friedman                 Ernest F. Friedman               307                                                                   Farmington Hills   MI      48334
Law Offices of Kelman & Fantich                                                 30903 Northwestern Hwy #270                                           Farmington Hills   MI      48334
                                                                                30903 Northwestern Highway,
Law Offices of Todd J. Weglarz, PLLC           Todd J. Weglarz                  Suite 360                                                             Farmington Hills   MI      48334
Law Ofices of Paul W. Broschay PLLC                                             615 Griswold St Ste 1712                                              Detroit            MI      48226

Lawrence Dumas                                 Ernest F. Friedman               24567 Northwestern Hwy., Ste. 500                                     Southfield         MI      48975



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                 CreditorName                       CreditorNoticeName                       Address1                     Address2          Address3             City     State      Zip       Country
                                                                                                                    30500 Northwestern
Lawrence Dumas                                 Law Offices of Ernest Friedman   Ernest F. Friedman                  Hwy, Suite 307                     Farmington Hills   MI      48334
Laze, Xhensila                                 Goldstein, Bershad & Fried       4000 Town Center, Suite 1200                                           Southfield         MI      48075
Laze, Xhensila                                                                  10 South Main                       Suite 302                          Mt. Clemens        MI      48046
Legalgenius, PLLC                                                               3000 Town Center Suite 2210                                            Southfield         MI      48075
Leila Sanders                                  Sigal Law Firm, PLLC             500 S. Old Woodward, Suite 200                                         Birmingham         MI      48009
Leo Ratte, Claire Zimmerman, Next Friend
and Individually, Christopher Ratte,
Individually                                   Gary Boren (P31217)              322 E. Washington St                                                   Ann Arbor          MI      48104
Leonard Hagerman                               Robert J. Malleis                21700 Greenfield Rd., Ste. 305                                         Oak Park           MI      48237

Letha McCormick                                Wigod & Falzon, P.C.             25899 W. Twelve Road, Suite 220                                        Southfield         MI      48034
Levine Benjamin, P.C.                          Greg M. Liepshutz P37573         100 Galleria Officentre Ste 411                                        Southfield         MI      48034
                                                                                                                    24725 W 12 Mile Rd
Lewis, Walter                                  Podolsky, Arnold M.              Podolsky & Associates, P.C.         Ste 110                            Southfield         MI      48034
Libety Mutual A/s/o South Eastern Michigan     HELMSMAN MANAGEMENT
Transport (ups)                                SERVICE                          TPA FOR UPS                         PO BOX 410                         MISHAWAKA          IN      46546
Libety Mutual A/s/o South Eastern Michigan     Liberty Mutual Helmsman Mgt
Transport (ups)                                Svc                              PO Box 410                                                             Mishawaka          IN      46546
Libety Mutual A/s/o South Eastern Michigan
Transport (ups)                                                                 P.O. Box 95048                                                         Hoffman Estates    IL      60195-5408
Lindy McKenney                                 Todd Russell Perkins, Esq        615 Griswold, Ste. 400                                                 Detroit            MI      48226

Lippitt OKeefe Gombein, PLLC                   Harvey R. Weingarden (P31534) 370 E. Maple Rd., 3rd Floor                                               Birmingham         MI      48009
Lipson Neilson PC                              Michael D. Lieberman, Esq.    3910 Telegraph Road, Ste. 200                                             Bloomfield Hills   MI      48302
Llanes, James                                  James Llanes                  8554 Olivet                                                               Detroit            MI      48209
Llanes, James                                  Stone, Randall I. (Attorney)  32500 Telegraph Road Suite 104                                            Bingham Farms      MI      48025
Loevy & Loevy                                  Attn Michael Kanovitz         312 North May Street, Ste 100                                             Chicago            IL      60607

Loevy and Loevy                                                                 311 North Aberdeen Street, 3rd Fl                                      Chicago            IL      60607
                                                                                                                    29777 Telegraph
Lolita Vann                                    Attn Rebecca H. Filiatraut       c/o Lee B. Steinberg, PC            Road, Suite 1555                   Southfield         MI      48034
                                                                                                                    3910 Telegraph Road,
Lolita Vann                                    Lipson Neilson PC                Michael D. Lieberman, Esq.          Ste. 200                           Bloomfield Hills   MI      48302
Lolita Vann                                                                     46000 Lake Villa Dr #103                                               Belleville         MI      48111
Lonciann Sisco                                                                  5543 John C. Lodge                                                     Detroit            MI      48202
                                               Law Office of Melissa M. Pearce
Love, Darnell                                  PLC                             28175 Haggerty Road                                                     Novi               MI      48377
                                                                               Law Office of Melissa M. Pearce      1100 Corporate Office
Love, Darnell                                  Pearce, Melissa M.              PLC                                  Dr Ste 100                         Milford            MI      48381
Love, James and his Attorneys Christopher
Trainor & Associates                           Christopher Trainor & Associates 9750 Highland Road                                                     White Lake         MI      48386
Lovell Sharpe                                  The Reizen Law Group             333 West 7th Street, Suite 360                                         Royal Oak          MI      48067

Loving, Courtney                                                                Mario Azzopardi                     19068 W. 10 Mile Rd.               Southfield         MI      48075
Loving, Courtney, Et Al                        Azzopardi, Mario J.              Rothstein Law Group PLC             19068 W 10 Mile Rd                 Southfield         MI      48075


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                CreditorName                          CreditorNoticeName                       Address1                     Address2           Address3               City     State     Zip   Country
Loving, Courtney, Et Al                          Courtney Loving                   2208 S Annabelle St                                                      Detroit            MI    48217
Loving-rivera, Nathaniel (minor)                                                   Address on File
Lowe, Veina                                                                        23880 Woodward Ave                                                       Pleasant Ridge     MI    48069
Lula Stallworth                                  Andreopoulos and Hill, PLLC       28900 Woodward Ave                                                       Royal Oak          MI    48067
Lunitrice Ellis                                  Andreopoulos & Hill, PLLC         28900 Woodward Ave                                                       Royal Oak          MI    48067
Lysyy, Vladslaw                                  c/o Albert Valk                   7400 Lahser                                                              Bloomfield Twp.    MI    48301
M Dujon Johnson                                                                    15474 Stoepel                                                            Detroit            MI    48238
                                                 Anthony V. Marrocco,              Richard P. Sulaka, Jr., Deputy     William Misterovich,   21777
Macomb County Public Works                       Commissioner                      Commissioner                       Chief Deputy           Dunham Rd      Clinton Township   MI    48036
Macomb Interceptor Drain Drainage District
by and through the Macomb County Public                                            Counsel for Macomb County,         1095 Avenue of the
Works Commissioner                               Allan S. Brilliant                Public Works Commissioner          Americas                              New York           NY    10036

Macomb Interceptor Drain Drainage District                                         Anthony V. Marrocco,                                      William
by and through the Macomb County Public                                            Commissioner, Richard P. Sulaka,                          Misterovich,
Works Commissioner                               Macomb County Public Works        Jr., Deputy Commissioner         21777 Dunham Rd          Chief Deputy   Clinton Township   MI    48036
Maddox, Phillip S                                                                  Address on File
Major L. Russell                                                                   15358 Rutherford                                                         Detroit            MI    48227
Manos, Dino                                      Dino Manos                        1966 Penobscot Bldg                                                      Detroit            MI    48226
Manos, Dino                                                                        645 Griswold                     Suite 1966                              Detroit            MI    48226
Mansfield Patterson Jr. as p.r.                  c/o JB Dorsey & Associates        146 Tennessee Ave NE                                                     Washington         DC    20002
                                                 Dorsey, Jay for Mansfield                                          615 Griswold St Ste
Mansfield Patterson JR. as p.r.                  Patterson V                       J.B. Dorsey & Associates         410                                     Detroit            MI    48226
Mansfield Patterson JR. as P.R.                                                    325 North Groespeck Hwy Apt 4                                            Mount Clemens      MI    48043
                                                 Dorsey, Jay for Mansfield                                          615 Griswold St Ste
Mansfield Patterson V as P.R.                    Patterson V (deceased)            J.B. Dorsey & Associates         410                                     Detroit            MI    48226
                                                                                                                    146 Tennessee Ave
Mansfield Patterson V as P.R.                    Mansfield Patterson Jr. as p.r.   c/o JB Dorsey & Associates       NE                                      Washington         DC    20002
Mansfield Patterson V as P.R.                                                      325 North Groespeck Hwy Apt 4                                            Mount Clemens      MI    48043
Manuel, Catherine                                Catherine Manuel                  1491 W. 9 Mile Rd Apt 6                                                  Ferndale           MI    48220
Manuel, Catherine                                                                  30101 Northwestern Hwy                                                   Farmington Hills   MI    48334
Maplewood Supportive Living Inc                  Attn Accounts Payable             7353 Sadie Lane                                                          Belleville         MI    48111
Marcia Holmes                                    Varjabedian Attorneys, P.C.       29777 Telegraph Rd. Suite 2175                                           Southfield         MI    48034
Marcilis, Russell Ii, Jasmine Marcilis,Felicia   Trainor, Christopher J, + Shawn
Marcilis                                         C. Cabot                          Christopher Trainor & Associates   9750 Highland Rd                      White Lake         MI    48386
Maria T. Powell                                                                    15300 Grandville                                                         Detroit            MI    48223

Marion, Orlando                                  Romano, Daniel G.                 Romano Law PLLC                    23880 Woodward Ave                    Pleasant Ridge     MI    48069
Markitta Washington                              Todd Russell Perkins, Esq         615 Griswold, Ste. 400                                                   Detroit            MI    48226
Marks, Robert, Sr.                               Brady, William J.                 Kistner Troyanovich & Brady PC     27007 Hoover Rd                       Warren,            MI    48093
Marlene Y. Robinson                                                                15854 Murray Hill                                                        Detroit            MI    48227
Marlon Alford                                    Andreopoulos and Hill, PLLC       28900 Woodward Ave                                                       Royal Oak          MI    48067
Martin Gary Deutch PC                            Martin G. Deutch                  26777 Central Park Blvd Ste 200                                          Southfield         MI    48076
Martin Johnson                                   Todd Russell Perkins, Esq         615 Griswold, Ste. 400                                                   Detroit            MI    48226
                                                 Christopher Trainor &
Martin, Terrance                                 Associates, P.C.                  9750 Highland Rd                                                         White Lake         MI    48386


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               CreditorName                         CreditorNoticeName                      Address1                    Address2           Address3               City      State     Zip   Country
Martin, Terrance                                                                4256 Duane St                                                            Detroit            MI    48204
Mary Smettler-Bolton                          Bernstein & Bernstein             18831 W. 12 Mile Road                                                    Lathrup Village    MI    48076
Mary Washington-Moultrie                      Todd Russell Perkins, Esq         615 Griswold, Ste. 400                                                   Detroit            MI    48226
Maton, Gabriel                                Joel B. Sklar                     615 Griswold, Suite 1116                                                 Detroit            MI    48226
Maton, Gabriel                                Joel B. Sklar Law                 500 Griswold Street Suite 2450                                           Detroit            MI    48226
Matthew C. Brown ( Attorney of Vernon
Howard)                                                                         838 W. Long Lake Rd. Ste 100                                             Bloomfield Hills   MI    48302
                                                                                                                  29777 Telegraph
Matthew Karcher                               Attn Rebecca H. Filiatraut        c/o Lee B. Steinberg, PC          Road, Suite 1555                       Southfield         MI    48034
                                                                                                                  3910 Telegraph Road,
Matthew Karcher                               Lipson Neilson PC                 Michael D. Lieberman, Esq.        Ste. 200                               Bloomfield Hills   MI    48302
                                                                                                                  21 E Long Lake Rd
Matthew, Mazie                                Cronin, Sabrina                   The Cronin Law Firm PLLC          Ste 250                                Bloomfield Hills   MI    48304
Maxine Shelton, Jr.                           Jeffrey A. Bussell                30101 Northwestern Hwy                                                   Farmington Hills   MI    48334
Maye, Darnnell                                Hughes, Paul M.                   65 Cadillac Sq Ste 2100                                                  Detroit            MI    48226
Maye, Darnnell                                Paul M Hughes                     220 Bagley Ste 740                                                       Detroit            MI    48226
                                                                                                                                          27700
                                                                                                                  100 Galleria Officentre Northwestern
McCary, Otis                                  Liepshutz, Greg M.                Levine Benjamin PC                Ste 411                 Hwy            Southfield         MI    48034
                                                                                                                  3434 Russell St Ste
Mccoy, James                                  Evans, Marlon Blake               Marlon Blake Evans & Associates   104                                    Detroit            MI    48207
                                                                                                                  24901 Northwestern
Mcdonald, Carrie                              Law Office of Michael Morse PC Brett OShell                         Hwy., Ste 700                          Southfield         MI    48075
Mcdonald, Carrie                                                             25657 Southfield Rd                                                         Southfield         MI    48075

Mcdonald, Kevin                               Romano, Daniel G.                 Romano Law PLLC                   23880 Woodward Ave                     Pleasant Ridge     MI    48069
                                                                                Law Office Kenneth D. Finegood,   29566 Northwestern
McGhee, Deidre                                Finegood, Kenneth D.              PLC                               Hwy, Ste 120                           Southfield         MI    48034

Mcgowen, Robert                               Romano, Daniel G.                 Romano Law PLLC                   23880 Woodward Ave                     Pleasant Ridge     MI    48069

Mckay, Michael                                Romano, Daniel G.                 Romano Law PLLC                   23880 Woodward Ave                     Pleasant Ridge     MI    48069
McKnight, Canzano, Smith, Radtke & Brault,
P.C.                                                                            423 N Main Street, Suite 200                                             Royal Oak          MI    48067
                                              Christopher J. Trainor & Amy J.
McLemore, Tangela                             Derouin                           Christopher Trainor and Associates 9750 Highland Rd                      White Lake         MI    48386
                                                                                                                   Ste #2915 Cadillac
McNeal, James E.                              Steven T. Budaj, P.C.             65 Cadillac Square                 Tower                                 Detroit            MI    48226
                                                                                                                   International Center
McNeal, James E.                              Steven T. Budaj, P.C.             400 Monroe Street, Suite 490       Building                              Detroit            MI    48226
Mcpherson, Bobbie                             Rothstein, Jay L.                 Rothstein Law Group PLC            19068 W 10 Mile Rd                    Southfield         MI    48075
                                                                                                                   17000 W. 10 Mile Rd,
Mcpherson, Randall                            Sulolli, Tim                      Goodman Acker PC                   Second Floor                          Southfield         MI    48076
McPherson, Randall                                                              6574 Firwood St                                                          Detroit            MI    48210

Med City Rehab Group (Frances Shepherd)       The Reizen Law Group              333 West 7th Street, Suite 360                                           Royal Oak          MI    48067


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             CreditorName                           CreditorNoticeName                   Address1                      Address2         Address3           City          State     Zip      Country
MedCity Rehab (Janice Blake)                   The Reizen Law Group           333 West 7th Street, Suite 360                                       Royal Oak             MI    48067
MedCity Rehab (She Meeka Carter)               The Reizen Law Group           333 West 7th Street, Suite 360                                       Royal Oak             MI    48067
                                                                              25899 W. Twelve Mile Road, Suite
MedCity Rehabilitation (D. Dye)                Wigod & Falzon, P.C.           220                                                                  Southfield            MI    48034
Medi Transit, Inc. (Aristotle Arnold, Morice                                                                     31275 Northwestern
Harris, Katie Crawford, Terrance Martin)       c/o Laurie Goldstein, Esq.     Haas & Goldstein, PC               Hwy., Ste. 225                    Farmington Hills      MI    48334
Medical Evaluations, P.C., et al (Arnold
Coleman) and additional plaintiffs             Varjabedian Attorneys, P.C.    29777 Telegraph Rd. Suite 2175                                       Southfield            MI    48034
                                                                                                                 30400 Telegraph Rd.,
Melanie Alexander                              c/o Bradley B. Harris, Esq.    Goren, Goren & Harris, P.C.        Suite 470                         Bingham Farms         MI    48025
Melvin L. Larsen                                                              948 Wakefield                                                        Birmingham            MI    48009
                                               Honigman Miller Schwartz and
Melvin Lyle Larsen                             Cohn LLP                       222 North Washington Square        Suite 400                         Lansing               MI    48933
Melvin Lyle Larsen                             Joe Garcia Consulting PLLC     426 W Ottawa                                                         Lansing               MI    48933
Melvin Lyle Larsen                             Melvin L. Larsen               948 Wakefield                                                        Birmingham            MI    48009
Mendelson Orthopedics, PC                      Bruce K. Pazner PC             15200 East Jefferson Suite 104                                       Grosse Pointe Park    MI    48230
                                                                                                                 17000 W. 10 Mile Rd,
Mendoza, Jose                                  Sulolli, Tim                   Goodman Acker PC                   Second Floor                      Southfield            MI    48076
Mercedes Varasteh Dordeski Foley &
Mansfield PLLP                                 David L. Haron                 130 East Nine Mile Road                                              Ferndale              MI    48220
Michael Beydoun & his attorney- Raymond                                       31555 West Fourteen Mile Rd.,
Guzall III                                     Raymond Guzall III, P.C.       Suite 320                                                            Farmington Hills      MI    48334
Michael Bonner                                 Frank K. Rhodes III            19080 W Ten Mile                                                     Southfield            MI    48075

Michelle Duff                                                                 322 Kerby                                                            Grosse Pointe Farms   MI    48236
Michelle Mallory Moncrief                                                     16562 Baylis                                                         Detroit               MI    48221
Michelle Mallory Moncrief                                                     16564 Baylis                                                         Detroit               MI    48221
Michigan AFSCME Council 25 and its
affiliated Detroit Locals                      AFSCME Bankruptcy Fund         10300 SW Allen Blvd                                                  Beaverton             OR    97005
Michigan AFSCME Council 25 and its                                                                               7700 Second Avenue,
affiliated Detroit Locals                      Richard G. Mack Jr.            Miller Cohen, PLC                  Suite 335                         Detroit               MI    48202
Michigan AFSCME Council 25 Locals 207,
2394, 2920                                     c/o Tere M McKinney            600 W Lafayette Ste 500                                              Detroit               MI    48226
                                                                                                                24901 Northwestern
Michigan Center For Physical Therapy           c/o David D Okeefe             Law Offices of Michael J Morse PC Hwy Ste 700                        Southfield            MI    48075
Michigan Economic Dev Corp                     Attn Accounts Payable          201 North Washington Square       4th Floor                          Lansing               MI    48913
                                                                              124 West Allegan Street, Suite
Michigan Economic Dev Corp                     FraserTrebilcock Lawyers       1000                                                                 Lansing               MI    48933
Michigan Economic Dev Corp                                                    300 N. Washington Square                                             Lansing               MI    48913
                                                                                                                28470 W. 13 Mile
Michigan Head & Spine Institute, P.C.          Alison F. Khorey               Miller & Tischler, P.C.           Road, Ste. 300                     Farmington Hills      MI    48334

Michigan Head & Spine Institute, P.C.          c/o Miller & Tischler, P.C.    28470 W. 13 Mile Road, Ste. 300                                      Farmington Hills      MI    48334
                                               Rozanne M. Giunta, Lambert
Michigan Land Bank                             Leser                          755 W Big Beaver Rd Ste 410                                          Troy                  MI    48084-4903



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                 CreditorName                        CreditorNoticeName                     Address1                     Address2           Address3             City     State      Zip       Country

Michigan Land Bank                             Steven B. Flancher               Assistant Attorney General          525 W. Ottawa Street               Lansing            MI      48933
Michigan Land Bank                             Steven B. Flancher               Revenue & Collections Division      P.O. Box 30754                     Lansing            MI      48909
Michigan Occupational Safety and Health
Administration                                 c/o Martha Yoder, Director       P.O. Box 30643                                                         Lansing            MI      48909-8143

Michigan State Police                          Steven B. Flancher               Assistant Attorney General        525 W. Ottawa Street                 Lansing            MI      48933
Mickey Malone                                  Andreopoulos and Hill, PLLC      28900 Woodward Ave                                                     Royal Oak          MI      48067
                                                                                17600 Northland Park Court, Suite
Mickey Perry                                   We Fight the Law, PLLC           210                                                                    Southfield         MI      48075
                                                                                                                  17200 E 10 Mile Rd
Migliori, Sebastian                            Bechill, John E., Jr.            Nettle & Bechill PC               Ste 100                              Eastpointe         MI      48021
Migliori, Sebastian                                                             17200 E. 10 Mile                  Suite 100                            Eastpointe         MI      48021
Migliori, Sebastian                                                             30784 Quinkert                                                         Roseville          MI      48066
Mike Morse Law Firm                                                             2211 E Jefferson Ave, STE 320                                          Detroit            MI      48207
Millender Center Assoc. L.P.                   Becker Law PLC                   Carl Becker, Esq.                 P.O. Box 536                         Oxford             MI      48371
Millender Center Assoc. L.P.                   Kurt Thornbladh P25858           Thornbladh Legal Group PLLC       7301 Schaefer                        Dearborn           MI      48126

Miller, Melvin                                 Romano, Daniel G.                Romano Law PLLC                   23880 Woodward Ave                   Pleasant Ridge     MI      48069
                                                                                                                  24901 Northwestern
Milliner, Mary                                 C/o Michael J Morse              Law Offices of Michael J Morse PC Hwy Ste 700                          Southfield         MI      48075-1816
                                                                                24901 Northwestern Hwy., Suite
Milliner, Mary                                 c/o Michael J Morse PC           700                                                                    Southfield         MI      48075
Mills, Daeshun                                 Collins, Carl L., Iii            20755 Greenfield Rd Ste 1100                                           Southfield         MI      48075
Mills, Rosalyn N/f/o Daeshun Mills                                              20755 Greenfield                  Suite 1100                           Southfield         MI      48075
                                               Law Offices of Dennis A. Ross,
Miqua Dorsey                                   PLC                              24901 Northwestern Hwy., Ste. 122                                      Southfield         MI      48075
Mohamed Shahid                                 Andereopoulos & Hill, PLLC       28900 Woodward Ave                                                     Royal Oak          MI      48067
                                               Nicole Beauchamp - First
Molina Healthcare of Michigan                  Recovery Group                   26899 Northwestern Hwy., Ste 250                                       Southfield         MI      48033
Monisha Taylor                                 Varjabedian Attorneys, P.C.      29777 Telegraph Rd. Suite 2175                                         Southfield         MI      48034
Montgomery, Lashure                            Hughes, Paul M.                  65 Cadillac Sq Ste 2100                                                Detroit            MI      48226
                                                                                                                    24901 Northwestern
Moon, Starr                                                                     Paul Wheatley                       Hwy., Suite 700                    Southfield         MI      48075
Moore, Christopher                                                              Address on File
                                                                                                                    30833 Northwestern
Moore, Denise                                  Fantich, Brian L.                Law Office of Kelman & Fantich      Hwy Ste 206                        Farmington Hills   MI      48334

Moore, Eddy                                    Romano, Daniel G.                Romano Law PLLC                     23880 Woodward Ave                 Pleasant Ridge     MI      48069
                                                                                                                    2921 E. Jefferson ste
Moore, Jerome                                  Alice B. Jennings, Esq           Edwards & Jennings P.C.             205                                Detroit            MI      48207
                                                                                                                    65 Cadillac Sq Rm
Moore, Jerome                                  Jennings, Alice B.               Edwards & Jennings PC               2710                               Detroit            MI      48226
Moore, Jerome                                  Jerome Moore                     20240 Kentfield, St.                                                   Detroit            MI      48219
                                                                                                                    17600 Northland Park
Moore, Sonya Et Al                             Miller, Racine M.                We Fight The Law PLLC               Ct Ste 210                         Southfield         MI      48075


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Morris, Fredrick                               Applebaum & Stone PLC            26777 Central Park Blvd. Suite 300                                        Southfield         MI      48076
Morris, Fredrick                               c o Applebaum & Stone PLC        3000 Town Center                   Suite 1800                             Southfield         MI      48075
                                                                                                                   29777 Telegraph
Moses Luckett                                  Attn Rebecca H. Filiatraut       c/o Lee B. Steinberg, PC           Road, Suite 1555                       Southfield         MI      48034
                                                                                                                   3910 Telegraph Road,
Moses Luckett                                  Lipson Neilson PC                Michael D. Lieberman, Esq.         Ste. 200                               Bloomfield Hills   MI      48302
Moses Luckett                                                                   25915 Schoauherr                                                          Warren             MI      48089
Mosley, Shelia                                 Fredric M. Rosen                 535 Griswold, Suite 2040                                                  Detroit            MI      48226
Munoz, Christina                               Collins, Carl L., Iii            20755 Greenfield Rd Ste 1100                                              Southfield         MI      48075
Murray, Rainell                                Ronald J Gricius PC              18 First Street                                                           Mt Clemens         MI      48043
Murray, Rainell                                                                 Address on File

Musser, Gary                                   Romano, Daniel G.                Romano Law PLLC                     23880 Woodward Ave                    Pleasant Ridge     MI      48069
Myers, Randolph                                Mike Morse Law Firm              2211 E Jefferson Ave, STE 320                                             Detroit            MI      48207
                                                                                                                    24901
                                                                                                                    Northernwestern Hwy.,
Myers, Randolph                                Nicholas Capinigro               Michael J. Morse, P.C.              Ste 700                               Southfield         MI      48075
Nacal Dickerson                                c/o Mike Morse Law Firm          24901 Northwestern Hwy              Suite 700                             Southfield         MI      48076
Najib Hodge                                    Carl L Collins III               20755 Greenfield Rd, Suite 1100                                           Southfield         MI      48075
Nancy McKenzie                                 Dodd B. Fisher, Esq.             17212 Mack Avenue                                                         Grosse Pointe      MI      48230

Nancy McKenzie                                 Dodd B. Fisher, Esq.             26300 Northwestern Hwy Ste 301                                            Southfield         MI      48076
                                                                                17600 Northland Park Court, Suite
Narshay Robinson                               We Fight the Law, PLLC           210                                                                       Southfield         MI      48075
Nassar, Ernest                                                                  5098 Kensington Ave                                                       Detroit            MI      48224-2620
Nathaniel Price, American Civil Liberties      (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &          American Civil Liberties Union                                       1394 E Jefferson
Hurwitz, P.C.                                  Fund of Michigan)                Goodman & Hurwitz, P.C.             Avenue                                Detroit            MI      48207
Nathaniel Price, American Civil Liberties
Union Fund of Michigan, and Goodman &          American Civil Liberties Union
Hurwitz, P.C.                                  Fund of MI                       2966 Woodward Avenue                                                      Detroit            MI      48201
                                                                                Mindell Malin Kutinsky Stone &      25505 W 12 Mile Rd
Neal, Bridgette                                Blatnikoff, Alan G.              Blatnikoff                          Ste 1000                              Southfield         MI      48034
                                                                                Law Office of Matthew S.            500 Griswold St Ste
Nelson, Derrell                                Kolodziejski, Matthew S.         Kolodziejski PLLC                   2340                    Guardian Bldg Detroit            MI      48226

Nemeth Law, P.C., f/k/a Nemeth Burwell. P.C. Deborah Brouwer                    200 Talon Centre Drive, Suite 200                                         Detroit            MI      48207
Neufeld Scheck & Brustin, LLP                                                   99 Hudson Street, 8th Floor                                               New York           NY      10013
Nevels, James Russell                        Joel B. Sklar                      615 Griswold, Suite 1116                                                  Detroit            MI      48226
                                                                                                                    55 W. Monroe Street,
Nielsen, Zehe & Antas, P.C.                    Marc F. Katalinic                Attorney                            Suite 1800                            Chicago            IL      60603
                                                                                                                    30500 Northwestern
Nikita Williams                                Franci B. Silver, Esq.           c/o Lee B. Steinberg, PC            Hwy., Ste. 400                        Farmington Hills   MI      48334
                                                                                                                    3910 Telegraph Road,
Nikita Williams                                Lipson Neilson PC                Michael D. Lieberman, Esq.          Ste. 200                              Bloomfield Hills   MI      48302


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                                                                                                                   24055 Jefferson Ave
Noblett, Michael                               Perakis, Harold A.              Ihrie OBrien                        Ste 2000                          Saint Clair Shores   MI      48080
Norfolk Southern Railway                                                       1200 Peachtree Street NE                                              Atlanta              GA      30309
                                               Alice M. Padgett, Assistant
Norfolk Southern Railway Company               Manager Miscellaneous Billing   110 Franklin Road, SE                                                 Roanoke              VA      24042
Norfolk Southern Railway Company               Attn William H. Johnson, Esq.   Three Commercial Place                                                Norfolk              VA      23510-9241
Norfolk Southern Railway Company               Norfolk Southern Railway        1200 Peachtree Street NE                                              Atlanta              GA      30309
Norman Peagler                                 Andreopoulos and Hill, PLLC     28900 Woodward Ave                                                    Royal Oak            MI      48067
                                                                                                                   888 W Big Beaver Rd
Ohakpo, Simeon                                 Fabrizio, Joseph G.             Fabrizio & Brook PC                 Ste 800                           Troy                 MI      48084

Ohakpo, Simeon                                 Fagan, Barry S.                 Dib and Fagan PC                    25892 Woodward Ave                Royal Oak            MI      48067
Ohakpo, Simeon                                 Simeon Ohakpo                   40040 Bexley Way                                                      Northville           MI      48168
                                                                                                                   1000 Town Center,
Omega Rehab Services, LLC                      Clifford Neubauer Jr., Esq.     Law Offices of Joumana Kayrouz      Ste 780                           Southfield           MI      48075
Onkeese McGrew                                 Todd Russell Perkins, Esq       615 Griswold, Ste. 400                                                Detroit              MI      48226
Orlando McGrew                                 Todd Russell Perkins, Esq       615 Griswold, Ste. 400                                                Detroit              MI      48226
                                               Attn Treasury Services -
Otis Elevator Company, et. al.                 Credit/Collections -1st Floor   1 Farm Springs                                                        Farmington           CT      06032
                                                                                                                   30500 Van Dyke Ave
Ouza, Hassan                                   Harrington, John F.             Law Offices of John F. Harrington   Ste M200                          Warren               MI      48093
Ouza, Hassan                                   Joel B. Sklar                   615 Griswold, Suite 1116                                              Detroit              MI      48226
                                                                                                                   30500 Van Dyke Ave
Ouza, Hussein Fadel                            Harrington, John F.             Law Offices of John F. Harrington   Ste M200                          Warren               MI      48093
Ouza, Hussein Fadel                            Joel B. Sklar                   615 Griswold, Suite 1116                                              Detroit              MI      48226
                                                                                                                   30833 Northwestern
Overstreet, Demond                             Bachteal, Robert                Law Offices of Kelman & Fantich     Hwy Ste 206                       Farmington Hills     MI      48334
Pamela Slaton                                  Frank K Rhodes III              19080 W Ten Mile                                                      Southfiled           MI      48075
Pamela W. Turner                                                               27135 Victoria Road                                                   Novi                 MI      48374

Paradise Williams                              The Joseph Dedvukaj Firm P.C.   1277 West Square Lk Rd                                                Bloomfield Hills     MI      48382
                                                                                                                   1000 Town Center Ste
Paritee, Sharon                                c/o Cary M Makrouer             The Thurswell Law Firm PLLC         500                               Southfield           MI      48075-1221
Parnell, Taesean a minor by his next friend
Corliss Thomas                                 Romano Law, PLLC                23880 Woodward Ave                                                    Pleasant Ridge       MI      48069
Parnell, Taesean a minor by his next friend
Corliss Thomas                                 Taesean Parnell                 17358 Annott St                                                       Detroit              MI      48205
Parsons Brinckerhoff Michigan Inc                                              500 Griswold St Ste 2900                                              Detroit              MI      48226-5001
Parsons Brinckerhoff Michigan Inc                                              535 Griswold Street Suite 1525      Buhl Building                     Detroit              MI      48226
                                                                                                                   Guardian Building,
                                                                                                                   500 Griswold Street,
Parsons Brinckerhoff Michigan, Inc.            Attn Mr. Edwin Tatem            Parsons Brinckerhoff Inc.           Suite 2900                        Detroit              MI      48226
Parsons Brinckerhoff Michigan, Inc.            WSP Michigan Inc.               One Penn Plaza - 4th Floor                                            New York             NY      10119
Parsons Brinckeroff Michigan Inc               Attn Accounts Payable           Pb-Church Street Station            P.O.Box 6241                      New York             NY      10249-6241
Pates, Latrice                                 Stone, Randall I.               25505 W. 12 Mile Road               Suite 1000                        Southfield           MI      48034



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                                                                                                                    18831 W. 12 Mile
Patricia Anderson                              Thomas B. Calcatera              Bernstein & Bernstein               Road                                   Lathrup Village    MI      48076
Patricia Edwards                               Carl L Collins III               20755 Greenfield Rd. Suite 1100                                            Southfield         MI      48075
                                                                                                                    3200 Greenfield Rd
Patricia Ramirez                               Courtney Morgan PLLC             Attn Brian Keck                     Ste 355                                Dearborn           MI      48120
                                                                                                                    3200 Greenfield, Ste.
Patricia Ramirez                               Eric J. Rosenberg, Esq.          Morgan & Meyers, PLC                260                                    Dearborn           MI      48120
Patricia Ramirez                                                                4608 9th St                                                                Ecorse             MI      48229
Paul Kaiser, American Civil Liberties Union    (Cooperating Attorneys for the
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union                                       1394 E. Jefferson
P.C.                                           Fund of Michigan)                Goodman & Hurwitz, P.C.             Avenue                                 Detroit            MI      48207
Paul Kaiser, American Civil Liberties Union
Fund of Michigan, and Goodman & Hurwitz,       American Civil Liberties Union
P.C.                                           Fund of MI                       2966 Woodward Avenue                                                       Detroit            MI      48201
Paul M Hughes                                                                   220 Bagley Ste 740                                                         Detroit            MI      48226
                                                                                                                    3910 Telegraph Road,
Percy Luckett                                  Lipson Neilson PC                Michael D. Lieberman, Esq.          Ste. 200                               Bloomfield Hills   MI      48302
                                                                                                                    100 Galleria Officentre
Perez, Melissa                                 Levine Benjamin, P.C.            Greg M. Liepshutz P37573            Ste 411                                Southfield         MI      48034
                                                                                                                                            27700
                                                                                                                    100 Galleria Officentre Northwestern
Perez, Melissa                                 Liepshutz, Greg M.               Levine Benjamin PC                  Ste 411                 Hwy            Southfield         MI      48034
Peter Binder and Michael J. Morse, PC, his                                      24901 Northwestern Highway,
attorney                                       Jennifer G. Damico, Esquire      Suite 700                                                                  Southfield         MI      48075

Peterson, Jeffrey                              Romano Law PLLC                  Eric Stempien                       23880 Woodward Ave                     Pleasant Ridge     MI      48069

Pettway, Sharon                                Okoli, Stanley I                 Romano Law PLLC                     23880 Woodward Ave                     Pleasant Ridge     MI      48069
Philip A Jaffe Attorney                                                         P.O. Box 250902                                                            West Bloomfield    MI      48325
Phillip Edmund Wade II, Decedent via
Gursten, Koltonow, Gursten, Christensen &
Raitt PC                                       David E. Christensen             30101 Northwestern Highway                                                 Farmington Hills   MI      48334
Phyllis McMillon                                                                15021 Holmur                                                               Detroit            MI      48238
                                                                                                                    31275 Northwestern
Physioflex, PLLC (Clarence Haynes)             c/o Laurie Goldstein, Esq.       Haas & Goldstein PC                 Hwy., Ste. 225                         Farmington Hills   MI      48334
Physiomatrix, Inc.                             Gary R. Blumberg, P.C.           30665 N.W. Hwy., Ste. 200                                                  Farmington Hills   MI      48334
Physiomatrix, Inc.                             Stefania Gismondi                Gary R. Blumberg P.C.               15011 Michigan Ave                     Dearborn           MI      48126

Pitt McGehee Palmer & Rivers, PC                                                117 West Fourth Street, Suite 200                                          Royal Oak          MI      48067
Plunkett Cooney                                                                 38505 Woodward Ave Ste 2000                                                Bloomfield Hills   MI      48304

Plymouth Square Ltd. Housing Association       Becker Law PLC                   Carl Becker, Esq.                   P.O. Box 536                           Oxford             MI      48371

Plymouth Square Ltd. Housing Association       Kurt Thornbladh P25858           Thornbladh Legal Group PLLC         7301 Schaefer                          Dearborn           MI      48126




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                                                                                                                                            151 S. Old
Police & Fire Retirement System of the City of                                                                                              Woodward
Detroit                                        Clark Hill PLC                   Robert D. Gordon                    Shannon L. Deeby        Ave, Suite 200 Birmingham         MI      48009
Posner Posner & Posner Attys on behalf of
itself and Ronald Kinney                       Posner Posner & Posner Attys     Attn Accounts Payable               1400 Penobscot Bldg                    Detroit            MI      48226
Posner Posner & Posner Attys on behalf of
itself and Ronald Kinney                       Posner, Posner and Posner        30300 Northwestern Hwy Ste 300                                             Farmington Hills   MI      48334

Posner, Posner and Posner                                                       30300 Northwestern Hwy Ste 300                                             Farmington Hills   MI      48334
                                                                                                                    31275 Northwestern
Priority Patient Transport, LLC (Ashley Cobb)   c/o Justin Haas, Esq.           Haas & Goldstein, PC                Hwy., Ste. 225                         Farmington Hills   MI      48334
Priority Patient Transport, LLC (Gretchen                                                                           31275 Northwestern
Smith)                                          c o Laurie Goldstein Esq        Haas & Goldstein PC                 Hwy Ste 225                            Farmington Hills   MI      48334
Priority Patient Transport, LLC (Karolynda                                                                          31275 Northwestern
Butler)                                         c/o Laurie Goldstein, Esq.      Haas & Goldstein, PC                Hwy., Ste. 225                         Farmington Hills   MI      48334
Priority Patient Transport, LLC (Rasha Fuqua                                                                        31275 Northwestern
& Deontez Robinson)                             c/o Laurie Goldstein, Esq.      Haas & Goldstein, PC                Hwy., Ste. 225                         Farmington Hills   MI      48334
                                                                                                                    30833 Northwestern
Priscilla Walker                                Bachteal, Robert                Law Offices of Kelman & Fantich     Hwy Ste 206                            Farmington Hills   MI      48334
Property Owner                                  Victoria J McLean               9371 Otsego                                                                Detroit            MI      48204

Property Owner Carol Marzette                   Property Owner Robert Marzette 18688 San Juan                                                              Detroit            MI      48221
Quill.com                                       Attn Daneen Kastanek           1 Environmental Way                                                         Broomfield         CO      80021
Radloff, Jay                                    Ben M. Gonek                   500 Griswold Street, Suite 3500                                             Detroit            MI      48226
Rafuth Uddin, a Minor, by His Next Friend,                                                                          31371 Northwestern
Rehan Uddin                                     Attn Brian R. Zaid              The Sam Bernstein Law Firm          Highway, Suite 333                     Farmington Hills   MI      48334
Ramsey, Alexis                                  Collins, Carl L.                20755 Greenfield Rd Ste 1100                                               Southfield         MI      48075
                                                                                                                  24901 Northwestern
Randle, Zachary                                 C/o Michael J Morse             Law Offices of Michael J Morse PC Hwy Ste 700                              Southfield         MI      48075-1816
                                                                                24901 Northwestern hwy., Suite
Randle, Zachary                                 Michael Morse                   700                                                                        Southfield         MI      48075
Randle, Zachary                                                                 20523 Oldham Rd Apt 202                                                    Southfield         MI      48076
Ranna K. Trivedi                                                                4187 Vassar Dr                                                             Troy               MI      48085
Rasor Law Firm                                  James B. Rasor                  Jonathan R. Marko                 Attorneys for Plaintiff   201 E 4th St   Royal Oak          MI      48067-2606

Raymond Thompson                                Daniel Romano                   Romano Law PLLC                     23880 Woodward Ave                     Pleasant Ridge     MI      48069
Readous, Wendy n/f of Tamiah Green              The Lobb Law Firm, P.C.         30555 Southfield Rd Ste 440                                                Southfield         MI      48076-7753
Readous, Wendy n/f of Tamiah Green              The Lobb Law Firm, P.C.         26321 Woodward Ave.                                                        Huntington Woods   MI      48070
                                                                                                                    18136 Laurel Park Dr
Record Copy Services                            Attn Accounts Payable           Laurel Park Place - 200 West        North                                  Livonia            MI      48152-3958
Reginald Howard                                 Michael E. Norman, Esq.         23855 Northwestern Hwy                                                     Southfield         MI      48075
                                                                                                                    30500 Northwestern
Reginald Miller                                 Jessica Coulter, Esq.           c/o Lee B. Steinberg, PC            Hwy., Ste. 400                         Farmington Hills   MI      48334
                                                                                                                    3910 Telegraph Road,
Reginald Miller                                 Lipson Neilson PC               Michael D. Lieberman, Esq.          Ste. 200                               Bloomfield Hills   MI      48302


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               CreditorName                        CreditorNoticeName                   Address1                    Address2           Address3               City      State     Zip     Country
Reginald Sims                                                               11235 Roxbury                                                           Detroit            MI     48224
Reginald Wilson                               Carla D. Aikens, P.C.         675 Lakeview Parkway #6062                                              Vernon Hills       IL     60061
Reginald Wilson                               Carla D. Aikens, PLC          615 Griswold Street Suite 709                                           Detroit            MI     48226
Rehab, Inc.(re Deontez Robinson)              Varjabedian Attorneys, P.C.   29777 Telegraph Rd. Suite 2175                                          Southfield         MI     48034
                                                                                                               23855 Northwestern
Rena Simon                                    David Lawrence Ravid          Ravid and Associates, P.C.         Hwy                                  Southfield         MI    48075
Renee Jones                                                                 5505 Bedford                                                            Detroit            MI    48224
                                                                                                               23855 Northwestern
Renee Walls                                   Ravid & Associates, PC        Michael E. Norman (P75844)         Hwy                                  Southfield         MI    48075
Rhonda Turner                                 Barton C. Rachwal, P.C.       30400 Telegraph Rd., Ste. 470                                           Southfield         MI    48025
Richard Humphrey                                                            1151 E. Grand Blvd.                                                     Detroit            MI    48207
Richard Mack                                  Wolfgang Mueller, Esq.        2684 West Eleven Mile Rd.                                               Berkley            MI    48072
Rickett, Orlando                              Hughes, Paul M.               65 Cadillac Sq Ste 2100                                                 Detroit            MI    48226
Rickett, Orlando                              Paul M Hughes                 220 Bagley Ste 740                                                      Detroit            MI    48226
                                                                            30300 Northwestern Highway,
Ricky Brown                                   c/o Adler Stilman, PLLC       Third Floor                                                             Farmington Hills   MI    48334
Riley, Kevin                                  c/o Ravid and Assoc. P.C.     23855 Northwestern Hwy.                                                 Southfield         MI    48075
Rita Simmons                                                                333 West Fort Street Suite 1400                                         Detroit            MI    48226
Rita Simmons                                                                5683 Fairview                                                           Detroit            MI    48213
                                              Larry W. Bennett/Seikaly &    30300 Northwestern Hwy, Suite
Robert Cole                                   Stewart, PC                   200                                                                     Farmington Hills   MI    48334
                                                                                                               18831 W. 12 Mile
Robert Heard                                  Michael J. Butler             Bernstein & Bernstein              Road                                 Lathrup Village    MI    48076
Robert J Malleis PLLC                         Attn Accounts Payable         21700 Greenfield Ste 305                                                Oak Park           MI    48237
Robert Kilgore                                Brian E. Muawad               22330 Greater Mack Ave.                                                 St. Clair Shores   MI    48080
Robert L. Baker                               Attorney for Plaintiff        302 W Main St                                                           Northville         MI    48167-1525
Robert Limmitt                                Todd Russell Perkins, Esq     615 Griswold, Ste. 400                                                  Detroit            MI    48226
                                                                            25899 W. Twelve Mile Road, Suite
Robert Merriwether                            Wigod & Falzon, P.C.          220                                                                     Southfield         MI    48034
                                                                                                                                     201 E Fourth
Robert Riggins                                Jonathan R. Marko             Attorney At Law                    Rasor Law Firm        St             Royal Oak          MI    48067
                                                                                                               805 15th St NW, Ste
Robert Smith                                  Jeffrey Freund                Bredhoff & Kaiser, PLLC            1000                                 Washington         DC    20005
                                                                                                               28145 Greenfield Rd
Robinson, Angelica                            Robinson, David A.            Robinson and Associates PC         Ste 100                              Southfield         MI    48076
Robinson, Dana, Sr.                           Robert A. Canner, P.C.        24423 Southfield Rd., Ste. 200                                          Southfield         MI    48075
                                                                            Law Office of Kenneth D.           29566 Northwestern
Roby, Anthony                                 Finegood, Kenneth D           Finegood, PLC                      Hwy Ste 120                          Southfield         MI    48034
Rodney Martin                                 The Reizen Law Group          333 West 7th Street, Suite 360                                          Royal Oak          MI    48067
Rodney Sellers                                                              254 Pilgrim                                                             Highland Park      MI    48203
Rodriguez, Jose                                                             Address on File
Rogers, Jason                                 Jason Nathaniel Rogers        20368 Anita                                                             Harper Woods       MI    48225
                                                                                                               28145 Greenfield Rd
Rogers, Jason                                 Robinson, David A.            Robinson and Associates PC         Ste 100                              Southfield         MI    48076

Rogers, Jason                                                               1887 Broadstone Rd                                                      Grosse Pointe Woods MI   48236


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                                                                                              Affected Parties
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               CreditorName                         CreditorNoticeName                     Address1                     Address2         Address3            City      State     Zip      Country
Roman Law                                                                     23800-23880 Woodward Ave                                              Pleasant Ridge     MI    48069
Romano Law PLLC                               Eric Stempien                   23880 Woodward Ave                                                    Pleasant Ridge     MI    48069
Romano Law, PLLC                              Stanley I. Okoli                23880 Woodward Avenue                                                 Pleasant Ridge     MI    48069
Romano Law, PLLC                                                              23880 Woodward Avenue                                                 Pleasant Ridge     MI    48069
Romanzi Atnip PC                                                              400 Water St Ste 205                                                  Rochester          MI    48307-2090
Ronald Foster                                 Andreopoulos and Hill, PLLC     28900 Woodward Avenue                                                 Royal Oak          MI    48067
Ronald J Gricius PC                                                           18 First Street                                                       Mt Clemens         MI    48043
Roosen Varchetti & Oliver PLLC                Attn Accounts Payable           P.O.Box 2305                                                          Mt Clemens         MI    48046-2305
                                                                                                                  18831 W. 12 Mile
Rosalind Johnson                              Thomas B. Calcatera             Bernstein & Bernstein               Road                              Lathrup Village    MI    48076
                                                                                                                  36700 Woodward Ave
Rose, Joanthan                                Muawad, Elias                   Law Office of Elias Muawad PC       Ste 209                           Bloomfield Hills   MI    48304

Ross Law                                      Dennis A. Ross                  29100 Northwestern Hwy., Ste. 260                                     Southfield         MI    48075-2200
Ross Law                                      Dennis A. Ross                  29200 Northwestern Hwy                                                Southfield         MI    48034
Roulo, Thomas                                 Jeffrey S. Hayes                32100 Telegraph Rd Ste 200                                            Bingham Farms      MI    48025
Royce Holmes                                  Andreopoulos and Hill, PLLC     28900 Woodward Ave                                                    Royal Oak          MI    48067
Rubenstein Isaacs Pc                          Attn Accounts Payable           2000 Town Center Ste 1360                                             Southfield         MI    48075
                                                                                                                  1 Park Lane Blvd Ste
Russell, Ronald                               c/o Dewnya A Bazzi              At Law Group PLLC                   100                               Dearborn           MI    48126-2400
Ruth Mctere & Law Offices of Joumana B.
Kayrouz                                                                        1000 Town Center Ste 780                                             Southfield         MI    48075
                                              Senior Accountant, Analysts, and                                    2905 Cadillac Tower
SAAA Union - Members                          Appraisers Association           65 Cadillac Square                 Building                          Detroit            MI    48226
                                              Senior Accountant, Analysts, and
SAAA Union - Members                          Appraisers Association           10254 Gratiot Avenue Unit 13592                                      Detroit            MI    48213
Sade Davis and Michael J. Morse, PC, her                                       24901 Northwestern Highway,
attorney                                      Jennifer G. Damico, Esquire      Suite 700                                                            Southfield         MI    48075
Sammie Kevin Harris                                                            9397 Appoline St.                                                    Detroit            MI    48228
Sanders, Robert                               Derouin, Amy J                   Christopher Trainor & Associates   9750 Highland Rd                  White Lake         MI    48386
Sandra Miles                                  c/o Romanzi Atnip PC             2850 Dixie Highway                                                   Waterford          MI    48328
Sandra Miles                                  Romanzi Atnip PC                 400 Water St Ste 205                                                 Rochester          MI    48307-2090
Sandra R. ONeal                                                                19005 Birchcrest Dr                                                  Detroit            MI    48221
Sandra Reid                                   The Reizen Law Group             333 West 7th Street, Suite 360                                       Royal Oak          MI    48067
Scott, Jamar                                  Robert A. Canner                 24423 Southfield Rd., Ste. 200                                       Southfield         MI    48075
Scott, Marvella                               Robert L. Baker                  Attorney for Plaintiff             302 W Main St                     Northville         MI    48167-1525
Scott, Marvella                                                                30101 Northwestern Hwy                                               Farmington Hills   MI    48334
Scott, Marvella                                                                12626 Cherrylawn                                                     Detroit            MI    48238
Seales, Marvin                                James S. Craig                   19390 W. 10 Mile Rd.                                                 Southfield         MI    48075
Serina Nixon-Lewis                            Reifman Law Firm, PLLC           3000 Town Center, Suite 2800                                         Southfield         MI    48075
Service Employees International Union, Local
517M                                         Attn Yolanda Langston            PO Box 02310                                                          Detroit            MI    48202
Shafer & Associates, P.C.                                                     3800 Capital City Blvd              Suite 2                           Lansing            MI    48906
Shalonda Pettus-Brown, As Rep of Cortez                                                                           24901 Northwestern
Ware                                         c/o Marc Mendelson               Mike Morse Law Firm                 Hwy, Ste 700                      Southfield         MI    48075



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                CreditorName                       CreditorNoticeName                      Address1                      Address2          Address3                City   State      Zip       Country
                                                                                                                   29777 Telegraph
Shannon Bratcher                              Attn Rebecca H. Filiatraut       c/o Lee B. Steinberg, PC            Road, Suite 1555                   Southfield          MI      48034
                                                                                                                   3910 Telegraph Road,
Shannon Bratcher                              Lipson Neilson PC                Michael D. Lieberman, Esq.          Ste. 200                           Bloomfield Hills    MI      48302
Shannon Bratcher                              Shannon Lee Bratcher             5876 Anthon St                                                         Detroit             MI      48209
Shannon C. Dekun                              David Kotwicki                   48000 Van Dyke                                                         Shelby Township     MI      48317
Shannon C. Dekun                                                               9672 Meisner Street                                                    Casco               MI      48064
Shannon Lee Bratcher                                                           5876 Anthon St                                                         Detroit             MI      48209
                                              Law Offices of Dennis A. Ross,
Sharday Eaton                                 PLC                              24901 Northwestern Hwy., Ste. 122                                      Southfield          MI      48075
                                                                                                                   29100 Northwestern
Sharday Eaton                                 Ross Law                         Dennis A. Ross                      Hwy., Ste. 260                     Southfield          MI      48075-2200
                                                                                                                   29200 Northwestern
Sharday Eaton                                 Ross Law                         Dennis A. Ross                      Hwy                                Southfield          MI      48034
Sharon A Palmore                              Attn Accounts Payable            212 Lenox                                                              Detroit             MI      48215
                                                                                                                   2701 Troy Center Dr.,
Sharon Moore                                  Hardesty, David A.               Gold Star Law, PC                   Ste. 400                           Troy                MI      48084
Shawn Gargalino                               James K. Fett                    805 E. Main Street                                                     Pinckney            MI      48169
Shawn Gargalino                                                                26541 Hunters Drive                                                    Chesterfield        MI      48051
                                                                                                                   900-176 University
Shawntay Marlo Johnson                        William C. Goldstein             Goldstein DeBiase Manzocco          Avenue West                        Windsor             ON      N9A 5P1      Canada
Shawntia Farley and Michael J. Morse, PC,                                      24901 Northwestern Highway,
her attorney                                  Jennifer G. Damico, Esquire      Suite 700                                                              Southfield          MI      48075
Shealey, Sheila                               Sheila Shealey                   5775 Bishop                                                            Detroit             MI      48224
Shealey, Sheila                                                                333 W. Fort St                      Suite 1400                         Detroit             MI      48226
                                                                                                                   3200 Greenfield Rd,
Sheila M. Johnson                             c/o Debra N. Pospiech            Morgan & Meyers, PLC                Ste 260                            Dearborn            MI      48120
Sheila Shealey                                                                 5775 Bishop                                                            Detroit             MI      48224
Shelton, Maxine                               Gursten, Koltonow, et. al.       30101 Northwestern Hwy.                                                Farmington Hills    MI      48334
Sherell S. Stanley                                                             P.O. Box 321032                                                        Detorit             MI      48232
Sherell Shawnee Stanley                                                        P.O. Box 321032                                                        Detroit             MI      48232
Sherell Shawnee Stanley                                                        32385 Bondie Drive                                                     Brownstown          MI      48173

Sherlanda Jones                               The Joseph Dedvukaj Firm P.C.    1277 W. Square Lk Rd                                                   Bloomfield Hills    MI      48382

Shirley Heath                                 c/o Michael J Morse              24901 Northwestern Hwy, Ste 700                                        Southfield          MI      48075
Shuntina Guest                                                                 362 Hewlett Rd                                                         Memphis             TN      38109
                                                                               Law Ofices of Paul W. Broschay      615 Griswold St Ste
Siloa, Eva                                    Broschay, Paul W.                PLLC                                1600                               Detroit             MI      48226
                                              Law Ofices of Paul W. Broschay
Siloa, Eva                                    PLLC                           615 Griswold St Ste 1712                                                 Detroit             MI      48226
Simeon Ohakpo                                                                40040 Bexley Way                                                         Northville          MI      48168
                                                                                                                   2701 Troy Center Dr
Simmons, Anthony                              Hardesty, David A.               Gold Star Law PC                    Ste 400                            Troy                MI      48084-4741
Sims, Reginald                                Reginald Sims                    11235 Roxbury                                                          Detroit             MI      48224
Sims, Reginald                                                                 333 W. Fort Street                  Suite 1400                         Detroit             MI      48226


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             CreditorName                            CreditorNoticeName                 Address1                       Address2         Address3             City     State     Zip      Country
Sky Group Grand LLC                            Attn Mr. Thomas E. Hardiman    7310 Woodward Ave, 5th Floor                                         Detroit            MI    48202

                                                                                                                 151 S. Old Woodward
Sky Group Grand, LLC                           Clark Hill PLC                 Attn Mahesh Nayak                  Avenue, Ste 200                   Birmingham         MI    48009
                                                                                                                 350 S. Main Street,
Sky Group Grand, LLC                           Dickenson Wright               Doron Yitzchaki                    Suite 300                         Ann Arbor          MI    48104
                                                                                                                 7310 Woodward Ave,
Sky Group Grand, LLC                           Sky Group Grand LLC            Attn Mr. Thomas E. Hardiman        5th Floor                         Detroit            MI    48202

Sky Group Grand, LLC                                                          7310 Woodward Avenue, 5th Floor                                      Detroit            MI    48202
Smelley, Jovan                                 Ben M. Gonek                   500 Griswold Street, Suite 3500                                      Detroit            MI    48226
Smith & Wesson Corp                            Attn Christopher J. Lutzo      2100 Roosevelt Ave                                                   Springfield        MA    01104
Smith & Wesson Corp                            Duane Morris LLP               Attn Gerard S. Catalanello      1540 Broadway                        New York           NY    10036-4086

Smith, Reno                                    c/o Gerald Acker               Goodman Acker PC                   17000 West Ten Mile               Southfield         MI    48075
Smith, Reno                                                                   19686 McCormick                                                      Detroit            MI    48224
                                                                              24901 Northwestern Hwy., Suite
Smith, Sakina                                  Dennis A. Ross                 122                                                                  Southfield         MI    48075
                                                                                                                 29100 Northwestern
Smith, Sakina                                  Ross Law                       Dennis A. Ross                     Hwy., Ste. 260                    Southfield         MI    48075-2200
                                                                                                                 29200 Northwestern
Smith, Sakina                                  Ross Law                       Dennis A. Ross                     Hwy                               Southfield         MI    48034

Smith, Taralyn                                 Romano, Daniel G.              Romano Law PLLC                    23880 Woodward Ave                Pleasant Ridge     MI    48069
Snodgrass, Carol                                                              24805 Power Rd.                                                      Farmington Hills   MI    48336

Sobh, Ali                                      Romano, Daniel G.              Romano Law PLLC                    23880 Woodward Ave                Pleasant Ridge     MI    48069
Soto, Daniel                                   Romano Law, PLLC               23880 Woodward Ave                                                   Pleasant Ridge     MI    48069

Sparks, Anthony T.                                                            Mario Azzopardi                    19068 W. 10 Mile Rd.              Southfield         MI    48075
Speed, Samiya                                  Romano Law, PLLC               23880 Woodward Ave                                                   Pleasant Ridge     MI    48069
Spratt, Carolyn                                                               19600 Cliff                                                          Detroit            MI    48234
Spratt, Leonard                                Ben M. Gonek                   500 Griswold Street, Suite 3500                                      Detroit            MI    48226
Stacey Ortiz, Personal Representative of the   David A. Bower, Attorney at Law
Estate of Jason D. Baker, Deceased             (P38004)                        10600 W. Jefferson Ave.                                             River Rouge        MI    48218
                                                                                                                 18831 W. 12 Mile
Stacy Reese                                    Thomas B. Calcatera            Bernstein & Bernstein              Road                              Lathrup Village    MI    48076
Stanley Brown                                  The Reizen Law Group           333 West 7th Street, Suite 360                                       Royal Oak          MI    48067
                                                                                                                 615 Griswold St Ste
Stanley, Sherell S.                            Mason, Lance W.                Lance W. Mason PC                  901                               Detroit            MI    48226
Stanley, Sherell S.                            Sherell Shawnee Stanley        P.O. Box 321032                                                      Detroit            MI    48232
Stanley, Sherell S.                            Sherell Shawnee Stanley        32385 Bondie Drive                                                   Brownstown         MI    48173
                                                                              Law Office of Kenneth D.           29566 Northwestern
Starkey, DeAndre                               Finegood, Kenneth D.           Finegood, P.L.C.                   Hwy Ste 120                       Southfield         MI    48034

State of Michigan                              Steven B. Flancher             Assistant Attorney General         525 W. Ottawa Street              Lansing            MI    48933


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               CreditorName                          CreditorNoticeName                  Address1                    Address2         Address3             City   State      Zip       Country
                                               Steven Flancher, Assistant
State of Michigan                              Attorney General              525 West Ottawa Street                                              Lansing          MI      48933

State of Michigan Bureau of Aeronautics        Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan Department of Attorney
General                                        Dana Nessel                   PO Box 30755                                                        Lansing          MI      48909
State of Michigan Department of Community
Health                                         Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933

State of Michigan Department of Education      Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933

State of Michigan Department of State Police   Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State Of Michigan Department Of
Transportation                                 Attn Accounts Payable         P O Box 30648                                                       Lansing          MI      48909
State of Michigan Dept. of Education and
Dept. of Human Services                        Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan Workforce Development
Agency                                         Steven B. Flancher            Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933

State of Michigan, Department of Corrections Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Energy,
Labor & Economic Growth                      Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Human
Services                                     Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Human
Services, Bureau of Comm. Action &
Economic Opp.                                Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Labor &
Economic Growth                              Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Natural
Resources                                    Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of Technology,
Management & Budget                          Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of
Transportation                               Richard D. Snyder, Governor     111 S. Capitol Avenue                                               Lansing          MI      48933
State of Michigan, Department of             Rozanne M. Giunta, Lambert
Transportation                               Leser                           755 W Big Beaver Rd Ste 410                                         Troy             MI      48084-4903
State of Michigan, Department of             State Of Michigan Department Of
Transportation                               Transportation                  Attn Accounts Payable             P O Box 30648                     Lansing          MI      48909
State of Michigan, Department of
Transportation                               Steven B. Flancher              Assistant Attorney General        525 W. Ottawa Street              Lansing          MI      48933
State of Michigan, Department of
Transportation                               Steven B. Flancher              Revenue & Collections Division    PO Box Box 30754                  Lansing          MI      48909
State of Michigan, Department of             Winnifred P. Boylan, Lambert
Transportation                               Leser                           755 W Big Beaver Rd Ste 410                                         Troy             MI      48084-4903



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               CreditorName                         CreditorNoticeName                      Address1                     Address2          Address3              City   State      Zip       Country
                                              Rozanne M. Giunta, Lambert
State of Michigan, Department of Treasury     Leser                             755 W Big Beaver Rd Ste 410                                            Troy             MI      48084-4903

State of Michigan, Department of Treasury     Steven B. Flancher                Assistant Attorney General         525 W. Ottawa Street                Lansing          MI      48933
                                              Steven B. Flancher, Revenue &
State of Michigan, Department of Treasury     Collections Division              P.O. Box 30754                                                         Lansing          MI      48909
State of Michigan, Dept of Environmental
Quality                                                                         PO Box 30657                                                           Lansing          MI      48909
State of Michigan, Dept. of Environmental     Department of Environmental                                          Revenue & Collections P.O. Box
Quality                                       Quality                           c/o Steven B. Flancher             Division              30754         Lansing          MI      48909
State of Michigan, Dept. of Environmental     Department of Environmental       Steven B. Flancher, Revenue &
Quality                                       Quality                           Collections Division               P.O. Box 30754                      Lansing          MI      48909
State of Michigan, Dept. of Environmental     State of Michigan Department of
Quality                                       Attorney General                  Dana Nessel                        PO Box 30755                        Lansing          MI      48909
State of Michigan, Dept. of Environmental     State of Michigan, Dept of
Quality                                       Environmental Quality             PO Box 30657                                                           Lansing          MI      48909
State of Michigan, Dept. of Environmental
Quality                                       Steven B. Flancher                Assistant Attorney General         525 W. Ottawa Street                Lansing          MI      48933
State of Michigan, Dept. of Environmental     Winnifred P. Boylan, Lambert
Quality                                       Leser                             755 W Big Beaver Rd Ste 410                                            Troy             MI      48084-4903
State of Michigan, Funds Administration       Dennis Raterink                   P.O. Box 30736                                                         Lansing          MI      48909
                                                                                Steven Flancher, Assistant Attorney 525 West Ottawa
State of Michigan, Funds Administration       State of Michigan                 General                             Street                             Lansing          MI      48933
State of Michigan, Michigan Occupational
Safety and Health Administration              Dennis Raterink                   P.O. Box 30736                                                         Lansing          MI      48909
State of Michigan, Michigan Occupational      Michigan Occupational Safety
Safety and Health Administration              and Health Administration         c/o Martha Yoder, Director         P.O. Box 30643                      Lansing          MI      48909-8143
State of Michigan, Michigan Occupational      Rozanne M. Giunta, Lambert
Safety and Health Administration              Leser                             755 W Big Beaver Rd Ste 410                                            Troy             MI      48084-4903
State of Michigan, Michigan Occupational                                        Steven Flancher, Assistant Attorney 525 West Ottawa
Safety and Health Administration              State of Michigan                 General                             Street                             Lansing          MI      48933

State of Michigan, Michigan State Police      Steven B. Flancher                Assistant Attorney General          525 W. Ottawa Street               Lansing          MI      48933
State of Michigan, Unemployment Insurance                                       Steven Flancher, Assistant Attorney 525 West Ottawa
Agency                                        State of Michigan                 General                             Street                             Lansing          MI      48933
State of Michigan, Workers Compensation
Agency                                        Dennis Raterink                   P.O. Box 30736                                                         Lansing          MI      48909
State of Michigan, Workers Compensation                                         Steven Flancher, Assistant Attorney 525 West Ottawa
Agency                                        State of Michigan                 General                             Street                             Lansing          MI      48933
                                                                                                                    12245 Beech Daly
Stephanie Brown                               Martin-henry, Tracey              Motor City Justice PLLC             Road #39925                        Redford          MI      48239
Stephanie Brown                               Stephanie February Brown          7736 Grandville                                                        Detroit          MI      48219
Stephanie February Brown                                                        7736 Grandville                                                        Detroit          MI      48219
Stephanie Hollander, American Civil Liberties (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &         American Civil Liberties Union                                       1394 E. Jefferson
Hurwitz, P.C.                                 Fund of Michigan)                 Goodman & Hurwitz, P.C.            Avenue                              Detroit          MI      48207


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               CreditorName                         CreditorNoticeName                     Address1                    Address2          Address3             City       State      Zip       Country
Stephanie Hollander, American Civil Liberties
Union Fund of Michigan, and Goodman &         American Civil Liberties Union
Hurwitz, P.C.                                 Fund of MI                       2966 Woodward Avenue                                                 Detroit              MI      48201
Steven B. Flancher                            Assistant Attorney General       525 W. Ottawa Street                                                 Lansing              MI      48933
                                                                                                                 International Center
Steven T. Budaj, P.C.                                                          400 Monroe Street, Suite 490      Building                           Detroit              MI      48226

Steven Wolak, as Personal Representative of Fieger, Fieger, Kenney, Giroux &
the Estate of Christopher Wolak, Deceased   Harrington, P.C.                 19390 West Ten Mile Road                                               Southfield           MI      48075

Steven Wolak, as Personal Representative of
the Estate of Christopher Wolak, Deceased                                      53518 Champlain St                                                   Macomb               MI      48042

Stinson, Desiree                               Christopher Trainor & Associates 9750 Highland Rd.                                                   White Lake           MI      48386
Stinson, Desiree                                                                PO Box 05100                                                        Detroit              MI      48205-0100
                                                                                                                 535 Griswold St Ste
Street-gilbert, Joera                          Rosen, Frederic M.              Frederic M. Rosen PC              2040                               Detroit              MI      48226
Street-gilbert, Joera                                                          18982 Asbury Pk                                                      Detroit              MI      48235
Suell, Geraldine                               Geraldine Suell                 3334 Lockwood                                                        Detroit              MI      48210
Suell, Geraldine                               Joel B. Sklar                   615 Griswold, Suite 1116                                             Detroit              MI      48226

Suell, Geraldine                               Law Office of Joel B Sklar      Joel B Sklar                      500 Griswold Ste 2450              Detroit              MI      48226
Suell, Geraldine                                                               615 Griswold                      Suite 1116                         Detroit              MI      48226
                                                                                                                 23077 Greenfield Rd.,
Sufi, Nabil Pr Of Est. Of Ali Sufi, Dec.       Steven Karfis                   Zamler, Mellen & Shiffman, P.C.   Ste 557                            Southfield           MI      48075
                                                                                                                 30600 Telegraph
Sullivan, Steven                               Bauer & Hunter, PLLC            Christopher C. Hunter             Road, Suite 3366                   Bingham Farms        MI      48025
                                                                                                                 25240 Lahser Rd Ste
Sullivan, Steven                               Hunter, Christopher C           Bauer & Hunter PLLC               2                                  Southfield           MI      48033
Summit Medical Group                           Attn Accounts Payable           PO Box 77000 Dept 771475                                             Detroit              MI      48277
Summit Medical Group                           Jeffrey J. Flzury               1821 West Maple 2nd Fl                                               Birmingham           MI      48009
                                                                                                                 31275 Northwestern
Summit Medical Group (Monisha Taylor)          c/o Justin Haas, Esq.           Haas & Goldstein, PC              Hwy., Ste 225                      Farmington Hills     MI      48334
                                                                                                                 31275 Northwestern
Summit Medical Group (Thelton Hutson)          c/o Justin Haas, Esq.           Haas & Goldstein, PC              Hwy., Ste. 225                     Farmington Hills     MI      48334
Summit Medical Group, PLLC (Shelia                                                                               31275 Northwestern
Williams)                                      c/o Justin Haas, Esq.           Haas & Goldstein, PC              Hwy., Ste. 225                     Farmington Hills     MI      48334
                                               Christopher Trainor and
Susan K. Davis                                 Associates                      9750 Highland Rd                                                     White Lake           MI      48386
Synergy Spine and Orthopedic Surgery
Center LLC                                     Bruce K. Pazner                 15200 East Jefferson Suite 104                                       Grosse Pointe Park   MI      48230
                                                                               Law Offices of Ronald Steinberg & 30300 Northwestern
Szabo, Joseph                                  Steinberg, Ronald A.            Associates PLLC                   Hwy Ste 100                        Farmington Hills     MI      48334
Taesean Parnell                                                                17358 Annott St                                                      Detroit              MI      48205
                                                                                                                 30300 Northwestern
Talley, Lydia                                  Krochmal, Gary A.               Gary A. Krochmal, PLLC            Hwy. Ste 114                       Farmington Hills     MI      48334


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                                                                                                 Affected Parties
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              CreditorName                             CreditorNoticeName                    Address1                     Address2           Address3               City    State      Zip       Country
Tamesha Scott, a minor by her litigation                                                                            475 Devonshire Road,
guardian, Shawntay Marlo Johnson                  Goldstein DeBiase            William C. Goldstein                 Ste 200                               Windsor           ON      N8Y 2L5      Canada
Tamesha Scott, a minor by her litigation                                                                            900-176 University
guardian, Shawntay Marlo Johnson                  William C Goldstein          Goldstein DeBiose Manzacco           Avenue West                           Windsor           ON      N9A5P1       Canada
Tamiko Davis                                      Barton C. Rachwal, P.C.      30400 Telegraph Rd., Ste. 470                                              Southfield        MI      48025
Tammy Barnes                                                                   20823 Busenbark Lane                                                       Brownstown        MI      48183
                                                                                                                    18831 W. 12 Mile
Tammy Bricest                                     Michael J. Butler            Bernstein & Bernstein                Road                                  Lathrup Village   MI      48076
Taylor Campbell                                   Michael Morse, PC            24901 Northwestern                   Ste 700                               Southfield        MI      48075
Taylor, Brianna                                   Hartner, Timothy M.          Christopher Trainor & Associates     9750 Highland Rd                      White Lake        MI      48386

Terecia White                                                                  24901 Northwestern Hwy, Ste 700                                            Southfield        MI      48075
Terrance Hollowell                                Carl L Collins               20755 Greenfield Rd. Suite 1100                                            Southfield        MI      48075
Terry Scott, a minor by his litigation guardian                                                                     475 Devonshire Road,
Shawntay Marlo Johnson                            Goldstein DeBiase            William C. Goldstein                 Ste 200                               Windsor           ON      N8Y 2L5      Canada
Terry Scott, a minor by his litigation guardian                                                                     900-176 University
Shawntay Marlo Johnson                            William C. Goldstein         Goldstein DeBiase Manzocco           Avenue West                           Windsor           ON      N9A 5P1      Canada
                                                                                                                    615 Griswold St Ste
Terry, Alicia L.                                  Mason, Lance W.              Lance W. Mason PC                    901                                   Detroit           MI      48226
The Detroit Medical Center, as agent for
Harper-Hutzel Hospital                            DMC Real Estate              4707 St. Antoine, 5th Floor          Suite C526                            Detroit           MI      48201
The Detroit Medical Center, as agent for
Harper-Hutzel Hospital                            VHS of Michigan MOB          Dept. 4691                                                                 Carol Stream      IL      60122-4691
                                                                                                                    Erman, Teicher,        400 Galleria
                                                  Detroit Police Officers                                           Zucker & Freedman,     Officentre,
The DPOA Bankruptcy Fund                          Association (DPOA)           Julie Beth Teicher                   P.C.                   Suite 444      Southfield        MI      48034
                                                  Gregory, Moore, Jeakle &                                          65 Cadillac Square,
The DPOA Bankruptcy Fund                          Brooks, P.C.                 James M. Moore                       #3727                                 Detroit           MI      48226-2843
                                                                               Trustee for The DPOA Bankruptcy      19785 West Twelve
The DPOA Bankruptcy Fund                          Homer W. McClarty, Esq.      Fund                                 Mile Road, #331                       Southfield        MI      48076
The Estate of Leon Murray, deceased, By
Ethel Murray, Personal Representative,            Reifman Law Firm, PLLC       3000 Town Center, Suite 2800                                               Southfield        MI      48075
The Lobb Law Firm, P.C.                                                        30555 Southfield Rd Ste 440                                                Southfield        MI      48076-7753
                                                                               25899 W. Twelve Mile Road, Suite
The Pain Center (Nancy McKenzie)                  Wigod & Falzon, P.C.         220                                                                        Southfield        MI      48034
The Realty Company                                Attn Accounts Payable        Nicholas J. Bachand, Esq         2411 Vinewood                             Detroit           MI      48216

The Rubinstein Law Firm                                                        30150 Telegraph Road, Suite 444                                            Bingham Farms     MI      48025
                                                                               25899 W. Twelve Mile Road, Suite
Theotrice Chambers                                Wigod & Falzon, P.C.         220                                                                        Southfield        MI      48034
                                                                                                                    3000 Town Center Ste
Theressa Walker                                   Steven W Reifman             Reifman Law Firm PLLC                2800                                  Southfield        MI      48075

Theriot, Jeffrey                                  Romano, Daniel G.            Romano Law PLLC                      23880 Woodward Ave                    Pleasant Ridge    MI      48069
Thomas E. Kuhn PC                                                              615 Griswold St. Ste. 1115                                                 Detroit           MI      48226



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                CreditorName                        CreditorNoticeName                      Address1                      Address2         Address3             City     State      Zip       Country
                                                                                                                    24901 Northwestern
Thomas, Laverne                                Nicholas Caponigro              Michael Morse                        Hwy., Suite 700                   Southfield         MI      48075
Thompson, Carolyn                              Lance W. Mason PC               400 Renaissance Center                                                 Detroit            MI      48243
                                                                                                                    615 Griswold St Ste
Thompson, Carolyn                              Mason, Lance W.                 Lance W. Mason PC                    901                               Detroit            MI      48226

Thompson, Jr., Raymond                         Romano, Daniel G.               Romano Law PLLC                      23880 Woodward Ave                Pleasant Ridge     MI      48069
                                                                                                                    17000 W 10 Mile Rd
Thompson, Keith                                Acker, Gerald H.                Goodman Acker PC                     Fl 2                              Southfield         MI      48075
Thompson, Keith                                                                Address on File
Thompson, Keith                                                                204 Ferry Ave                                                          Pontiac            MI      48341
Thompson, Raymond                                                              Address on File
Thor Brovold                                   The Reizen Law Group            333 West 7th Street, Suite 360                                         Royal Oak          MI      48067
                                                                                                                    20755 Greenfield Ste
Thurman, Eugene                                C/o Victor L. Bowman            Law Offices of Carl L Collins III    1100                              Southfield         MI      48075

Tiara Riggs                                    The Joseph Dedvukal Firm P.C.   1277 W. Square Lk Rd                                                   Bloomfield Hills   MI      48382
                                                                                                                    18831 W. 12 Mile
Timothy Johnson                                Thomas B. Calcatera             Bernstein & Bernstein                Road                              Lathrup Village    MI      48076

Timothy Perry                                  Applebaum & Stone PLC           26777 Central Park Blvd. Suite 300                                     Southfield         MI      48076
Timothy Perry                                                                  3000 Town Center, Ste 1800         Town Center Drive                   Southfield         MI      48075
                                                                                                                  911 N Lake Angelus
Todd, Jr., Ira Lee                             Stefani, Michael L.             Stefani & Stefani PC               Rd                                  Lake Angelus       MI      48326
Todd, Jr., Ira Lee                                                             9077 Chambord Drive                                                    Ypsilanti          MI      48197
Toi Patterson                                  The Reizen Law Group            333 West 7th Street, Suite 360                                         Royal Oak          MI      48067
Tony Hamana                                    LH Kutinsky                     201 W Thirteen MIle Rd                                                 Madison Heights    MI      48071

Tracey Riggs                                   The Joseph Dedvukaj Firm P.C.   1277 W. Square Lk Rd                                                   Bloomfield Hills   MI      48382
Transmedic, LLC                                Gary R. Blumberg, P.C.          30665 N.W. Hwy., Ste. 200                                              Farmington Hills   MI      48334
Transmedic, LLC                                Stefania Gismondi               Gary R. Blumberg P.C.                15011 Michigan Ave                Dearborn           MI      48126
Travis, Tyrone                                 Hughes, Paul M.                 65 Cadillac Sq Ste 2100                                                Detroit            MI      48226
Travis, Tyrone                                 Paul M Hughes                   220 Bagley Ste 740                                                     Detroit            MI      48226
Treandis Green                                 The Reizen Law Group            333 West 7th Street, Suite 360                                         Royal Oak          MI      48067

Tricia Stoops                                  Applebaum & Stone PLC           26777 Central Park Blvd. Suite 300                                     Southfield         MI      48076
                                                                                                                    3000 Town Center
Tricia Stoops                                  Steven J. Bell                  Applebaum & Stone, PLC               Suite 1800                        Southfield         MI      48075
Tri-County Medical Transport, et al (Arnold
Coleman) and additional plaintiffs             Varjabedian Attorneys, P.C.     29777 Telegraph Rd. Suite 2175                                         Southfield         MI      48034
Troy Williams                                  Andreopoulos and Hill, PLLC     28900 Woodward Ave                                                     Royal Oak          MI      48067
Tulik, Mark                                    Tim Sulolli                     17000 W. 10 Mile Road                2nd Floor                         Southfield         MI      48075
Tulik, Mark                                                                    32415 Alvin St                                                         Garden City        MI      48135-1211
Turner, Corey                                  Fredric M. Rosen                535 Griswold, Suite 2040                                               Detroit            MI      48226
                                                                                                                    24725 W 12 Mile Rd,
Turner, Omar                                   Jackson, Renette                AJ & Associates At Law PLLC          Suite 110                         Southfield         MI      48034


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               CreditorName                           CreditorNoticeName                  Address1                      Address2         Address3                 City   State      Zip       Country
                                                                                                                                       28400
Turner, Omar Jackson, Renette, AJ &                                                                               AJ & Associates At   Northwestern
Associates at Law                               Turner, Omar                   Jackson, Renette                   Law PLLC             Hwy Ste 110    Southfield         MI      48034-8322
Turner, Pamela                                  Pamela W. Turner               27135 Victoria Road                                                    Novi               MI      48374
Turner, Pamela                                                                 Address on File
Tyjwan Lyons                                    Mark E. Boegehold (P38699)     1000 Town Center, Suite 500                                            Southfield         MI      48075
Tyler, Alante Brandon                           Joel B. Sklar                  615 Griswold, Suite 1116                                               Detroit            MI      48226
Tyrone Henry                                    Paul M Hughes                  220 Bagley Ste 740                                                     Detroit            MI      48226
Tyrone Henry                                    Paul M. Hughes, Esq.           65 Cadillac Sq., Ste 2100                                              Detroit            MI      48226
Tyrus Cummings                                  Mark E. Boegehold (P38699)     1000 Town Center, Ste 500                                              Southfield         MI      48075
U.S. Equal Employment Opportunity
Commission                                      Colleen S. Davenport           20505 Ryan Road                                                        Detroit            MI      48234
U.S. Equal Employment Opportunity
Commission                                      Dale Price, Trial Attorney     477 Michigan Avenue, Room 865                                          Detorit            MI      48226
U.S. Equal Employment Opportunity
Commission                                      Jerry D. Patrick               14343 Vasser                                                           Detroit            MI      48235
U.S. Equal Employment Opportunity
Commission                                      Joseph Fletcher                42994 N. Ashbury Dr.                                                   Novi               MI      48234
U.S. Equal Employment Opportunity
Commission                                      Khadijah K. Ahmad              15861 Washburn                                                         Detroit            MI      48227
U.S. Equal Employment Opportunity
Commission                                      Kim Spicer                     29357 Sandalwood                                                       Roseville          MI      48066
U.S. Equal Employment Opportunity
Commission                                      Major L. Russell               15358 Rutherford                                                       Detroit            MI      48227
U.S. Equal Employment Opportunity
Commission                                      Shannon C. Dekun               9672 Meisner Street                                                    Casco              MI      48064
U.S. Equal Employment Opportunity
Commission                                      Sherell S. Stanley             P.O. Box 321032                                                        Detorit            MI      48232
U.S. Equal Employment Opportunity
Commission                                      Tammy Barnes                   20823 Busenbark Lane                                                   Brownstown         MI      48183
                                                                                                                  Office of Assisted
United States Department of Housing and                                       Assistant General Counsel for       Housing and          451 7th St.,
Urban Development                               Kathleen M. Bialas            Community Development               Community Dev        SW, Rm. 8152 Washington           DC      20410
                                                Kathleen M. Bialas, Assistant                                     Office of Assisted
United States Department of Housing and         General Counsel for Community                                     Housing and
Urban Development                               Development                   451 7th St., SW, Rm. 8152           Community Dev                       Washington         DC      20410
United States Department of Housing and                                       United State Department of Justice                       Ben Franklin
Urban Development                               Matthew J. Troy               Civil Division                     PO Box 875            Station        Washington         DC      20044-0875
                                                                                                                                       451 Seventh
United States Department of Housing and         US Dept of Housing and Urban                                      Acting General       St., Room
Urban Development                               Development                    Damon Y. Smith                     Counsel              10110          Washington         DC      20410
Universal Rehabilitation Services (Khadijah                                                                       31275 Northwestern
Shabazz)                                        c/o Laurie Goldstein, Esq.     Haas & Goldstein PC                Hwy. Ste 225                        Farmington Hills   MI      48334
Universal Rehabilitation Services (Kimi Berry                                                                     31275 Northwestern
& Channing Jones)                               c/o Laurie Goldstein, Esq.     Haas & Goldstein, PC               Hwy., Ste. 225                      Farmington Hills   MI      48334



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              CreditorName                          CreditorNoticeName                     Address1                      Address2          Address3              City    State      Zip       Country
Universal Rehabilitation Services (Raquel                                                                          31275 Northwestern
Finley)                                        c/o Laurie Goldstein, Esq.      Haas & Goldstein PC                 Hwy. Ste. 225                      Farmington Hills   MI      48334

University Neurosurgical Associates, P.C.,     Andrew J. Horne, Miller &
d/b/a Michigan Head & Spine Institute          Tischler, P.C.                  28470 W. 13 Mile Rd., Ste 300                                          Farmington Hills   MI      48334
                                                                                                                   451 Seventh St.,
US Dept of Housing and Urban Development Damon Y. Smith                        Acting General Counsel              Room 10110                         Washington         DC      20410
Valerie Ann Colbert-Osamuede                                                   24498 Martel Drive                                                     Farmington Hills   MI      48335
Vanessa Wallace                          The Reizen Law Group                  333 West 7th Street, Suite 360                                         Royal Oak          MI      48067
Varjabedian Attorneys, P.C.                                                    26211 Central Park Blvd Ste 500                                        Southfield         MI      48076-4161
                                                                                                                   25800 Northwestern
Vassar, Quinton                                Lantzy, Robert J.               Buckfire & Buckfire PC              Hwy Ste 890                        Southfield         MI      48075
Vaughn, Tamiko                                 Robert A. Canner, P.C.          24423 Southfield Rd., Ste. 200                                         Southfield         MI      48075
Vera Ann McCrary                               The Reizen Law Group            333 West 7th Street, Suite 360                                         Royal Oak          MI      48067
Vergiline Edwards                              Jeffrey S. Hayes                32100 Telegraph Rd, Ste 200                                            Bingham Farms      MI      48025
Veronica Davis, a Minor, by Her Father and
Next Friend Robert Davis                       Reifman Law Firm, PLLC          3000 Town Center, Suite 2800                                           Southfield         MI      48075
VHS of Michigan MOB                                                            Dept. 4691                                                             Carol Stream       IL      60122-4691
Village Center Assoc. Dvd. H.A.                Becker Law PLC                  Carl Becker, Esq.                   P.O. Box 536                       Oxford             MI      48371

Village Center Assoc. DVD. Housing Assoc       Becker Law PLC                  Carl Becker, Esq.                   P.O. Box 536                       Oxford             MI      48371

Village Center Assoc. DVD. Housing Assoc       Kurt Thornbladh P25858          Thornbladh Legal Group PLLC         7301 Schaefer                      Dearborn           MI      48126

Vincent Cannon via his attorneys, Gursten,
Koltonow, Gursten, Christensen & Raitt, P.C. David E. Christensen              30101 Northwestern Highway                                             Farmington Hills   MI      48334
Vincent Muse                                 Carl L Collins                    20755 Greenfield Rd, Suite 1100                                        Southfield         MI      48035
Virginia Smith                               c/o Goodman Acker, P.C.           17000 W. Ten Mile, 2nd Floor                                           Southfield         MI      48075

Vivian Mitchell                                The Joseph Dedvukaj Firm P.C.   1277 W. Square Lk Rd                                                   Bloomfield Hills   MI      48382
Wade Trim Associates Inc                       Attn Accounts Payable           500 Griswold St Ste 2500                                               Detroit            MI      48226
Wade Trim Associates Inc                       Attn Accounts Payable           400 Monroe St Ste 420                                                  Detroit            MI      48226
Wade Trim Associates Inc                                                       400 Monroe St Ste 310                                                  Detroit            MI      48226
                                                                               801 West Eleven Mile Road Suite
Waffaa Al-talagani                             Benavides Law                   130                                                                    Royal Oak          MI      48067
                                                                               The Marcel S. Benavides Law
Waffaa Al-talagani                             Benavides, Marcel S.            Office                              240 Daines St                      Birmingham         MI      48009
Walddvogel Law Firm PLLC                       James R. Waldvogel              PO Box 160                                                             Royal Oak          MI      48068-0160
Walker, Robin                                                                  30833 Northwestern Hwy              Suite 206                          Farmington Hills   MI      48334
Walter Swift, Neufeld Scheck & Brustin,
L.L.P., and Goodman & Hurwitz, P.C.            Neufeld Scheck & Brustin, LLP   99 Hudson Street, 8th Floor                                            New York           NY      10013
Walter Swift, Neufeld Scheck & Brustin,
L.L.P., and Goodman & Hurwitz, P.C.            William H. Goodman              Goodman & Hurwitz, P.C.             1394 E. Jefferson Ave              Detroit            MI      48207
Walton, Scoe                                   Derouin, Amy                    Christopher Trainor & Associates    9750 Highland Rd                   White Lake         MI      48386




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               CreditorName                         CreditorNoticeName                      Address1                      Address2         Address3             City     State      Zip       Country
Wanda Leverette, American Civil Liberties      (Cooperating Attorneys for the
Union Fund of Michigan, and Goodman &          American Civil Liberties Union                                       1394 E. Jefferson
Hurwitz, P.C.                                  Fund of Michigan)                Goodman & Hurwitz, P.C.             Avenue                            Detroit            MI      48207
Wanda Leverette, American Civil Liberties
Union Fund of Michigan, and Goodman &          American Civil Liberties Union
Hurwitz, P.C.                                  Fund of MI                       2966 Woodward Avenue                                                  Detroit            MI      48201
Warren Chiropractic & Rehab Clinic (Timothy                                                                         31275 Northwestern
Perry)                                         c o Justin Haas Esq              Haas & Goldstein PC                 Hwy Ste 225                       Farmington Hills   MI      48334
Warren Chiropractic & Rehab Clinic, PC                                                                              31275 Northwestern
(Gretchen Smith)                               c o Laurie Goldstein Esq         Haas & Goldstein PC                 Hwy Ste 225                       Farmington Hills   MI      48334
Warren T. Duncan                                                                21230 N. King Pl                                                      Ferndale           MI      48220
Watkins, Carolyn                                                                7715 Vaughan                                                          Detroit            MI      48228
                                                                                                                    30500 Van Dyke Ave
Wawa Petroleum, Inc.                           Harrington, John F.              Law Offices of John F. Harrington   Ste M200                          Warren             MI      48093
Wawa Petroleum, Inc.                           Joel B. Sklar                    615 Griswold, Suite 1116                                              Detroit            MI      48226
                                                                                                                    18831 W. 12 Mile
Wayne Sims                                     Thomas B. Calcatera              Bernstein & Bernstein               Road                              Lathrup Village    MI      48076

Weatherspoon, Donna                            Okoli, Stanley I                 Romano Law PLLC                   23880 Woodward Ave                  Pleasant Ridge     MI      48069
Weil,Gotshal & Manges LLP                      Alfredo R. Perez                 700 Louisiana Street, Suite 1600                                      Houston            TX      77002
                                                                                Law Offices of Ronald Steinberg & 30300 Northwestern
Weston, Cab C.                                 Steinberg, Ronald A.             Associates PLLC                   Hwy Ste 100                         Farmington Hills   MI      48334
                                                                                                                  30833 Northwestern
Wheeler Ethel                                  Fantich, Brian L.                Law Office of Kelman & Fantich    Hwy Ste 206                         Farmington Hills   MI      48334

White, Bernard                                 Romano, Daniel G.                Romano Law PLLC                     23880 Woodward Ave                Pleasant Ridge     MI      48069
Wilda Wallace                                  Eric H. Clark                    27455 Five Mile Rd.                                                   Livonia            MI      48154
William Anthony, Jr.                           Randall I. Stone                 25505 W. 12 Mile Rd., Ste 1000                                        Southfield         MI      48034
William Cook                                   Andreopoulos and Hill, PLLC      28900 Woodward Ave                                                    Royal Oak          MI      48067
Williams Acosta PLLC                           Attn Avery Williams Esq          2430 First National Bldg                                              Detroit            MI      48226-3535
Williams Acosta, PLLC                                                           535 Griswold, Suite 1000                                              Detroit            MI      48226
Williams, Angela                               Romano Law, PLLC                 23880 Woodward Ave                                                    Pleasant Ridge     MI      48069
Williams, Darryl D.                            Rosenberg, Richard E.            Richard E. Rosenberg PC             26393 Dequindre Rd                Madison Heights    MI      48071
                                                                                                                    65 Cadillac Sq Ste
Williams, Jarret A.                            Budaj, Steven T.                 Steven T. Budaj PC                  2915                              Detroit            MI      48226
                                                                                                                    International Center
Williams, Jarret A.                            Steven T. Budaj, P.C.            400 Monroe Street, Suite 490        Building                          Detroit            MI      48226
                                                                                                                    30833 Northwestern
Williams, La-sheryl,                           Bachteal, Robert                 Law Offices of Kelman & Fantich     Hwy Ste 206                       Farmington Hills   MI      48334
                                                                                                                    30833 Northwestern
Williams, La-sheryl,                           Fantich, Brian L.                Law Office of Kelman & Fantich      Hwy Ste 206                       Farmington Hills   MI      48334

Williams, La-sheryl,                                                            30903 Northwestern Hwy, Ste 270                                       Farmington Hills   MI      48334
                                               Christopher Trainor and Amy
Williams, Nikita                               DeRouin (P70514)                 9750 Highland Rd.                                                     White Lake         MI      48386



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               CreditorName                         CreditorNoticeName                      Address1                        Address2         Address3             City     State      Zip   Country
                                               Ernest J. Essad Jr and Mark R.   280 North Old Woodward Avenue,
Williams, Williams, Rattner & Plunkett, P.C.   James                            Suite 300                                                               Birmingham         MI      48009
Williamson Tracy (P.R. of Williamson,
Decarlos)                                                                       51 Grand Apt 1                                                          Mt Clemens         MI      48043
                                                                                                                      615 Griswold St Ste
Williamson, Decarlos                           Dorsey, Jay B                    J.B. Dorsey & Associates              410                               Detroit            MI      48226
                                                                                                                      146 Tennessee Ave
Williamson, Decarlos                           J.B. Dorsey & Associates         Jay B Dorsey                          NE                                Washington         DC      20002
Williamson, Tracy (p.r. Of Williamson,                                                                                615 Griswold St Ste
Decarlos)                                      Dorsey, Jay B                    J.B. Dorsey & Associates              410                               Detroit            MI      48226
Williamson, Tracy (p.r. Of Williamson,                                                                                146 Tennessee Ave
Decarlos)                                      J.B. Dorsey & Associates         Jay B Dorsey                          NE                                Washington         DC      20002
Williamson, Tracy (p.r. Of Williamson,         Williamson Tracy (P.R. of
Decarlos)                                      Williamson, Decarlos)            51 Grand Apt 1                                                          Mt Clemens         MI      48043
Willie Ramsey, Jr.                             Todd Russell Perkins, Esq        615 Griswold, Ste. 400                                                  Detroit            MI      48226
Willie Swain                                   The Reizen Law Group             333 West 7th Street, Suite 360                                          Royal Oak          MI      48067
                                                                                24901 Northwestern Hwy, Suite
Willie Whittis                                 Michael Morse                    700                                                                     Southfield         MI      48075
Wilmington Trust, National Association                                          1 Light St., 14th Floor                                                 Baltimore          MD      21202
Wilmington Trust, National Association, as
successor Contract Administrator               Attn Jay H Smith IV              25 South Charles Street, 11th Floor                                     Baltimore          MD      21201
Wilmington Trust, National Association, as                                                                            1177 Avenue of the
successor Contract Administrator               Drinker Biddle & Reath LLP       Attn Kristin K Going                  Americas, 41st Floor              New York           NY      10036
Wilmington Trust, National Association, as     Wilmington Trust, National
successor Contract Administrator               Association                      1 Light St., 14th Floor                                                 Baltimore          MD      21202

Wilmington Trust, National Association, as
successor Trustee for Detroit Retirement
Systems Funding Trust 2005 and Detroit Re      Attn Jay Smith IV                25 South Charles Street 11th Floor                                      Baltimore          MD      21201

Wilmington Trust, National Association, as
successor Trustee for Detroit Retirement                                                                              1177 Avenue of the
Systems Funding Trust 2005 and Detroit Re      Drinker Biddle & Reath LLP       Attn Kristin K Going                  Americas, 41st Floor              New York           NY      10036
                                                                                                                      29201 Telegraph Rd.,
Wojnarski, Joanne                                                               Mark K. Schawartz                     Suite 330                         Southfield         MI      48034

Word, Deja                                     Christopher Trainor & Associates 9750 Highland Rd.                                                       White Lake         MI      48386

Word, Dominique                                Christopher Trainor & Associates 9750 Highland Rd.                                                       White Lake         MI      48386
Workforce Development Agency State of
Michigan                                       Steven B. Flancher               Assistant Attorney General            525 W. Ottawa Street              Lansing            MI      48933
Wright & Filippis Inc                                                           2845 Crooks Road                                                        Rochester Hills    MI      48309
                                                                                                                      36700 Woodward Ave
Wright Way Professional Services               Muawad, Elias                    Law Office of Elias Muawad PC         Ste 209                           Bloomfield Hills   MI      48304

Wright, Joe Louis                              Okoli, Stanley I.                Romano Law PLLC                       23880 Woodward Ave                Pleasant Ridge     MI      48069


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WSP Michigan Inc.                                                           One Penn Plaza - 4th Floor                                    New York           NY    10119
Xerox Corporation                             Xerox Corp.                   1303 Ridgeview Drive - 450                                    Lewisville         TX    75057
Yolanda Bradley- Martin                       Andreopoulos and Hill, PLLC   28900 Woodward Ave                                            Royal Oak          MI    48067
Youkhana Kako                                 Robert S. Drazin              23855 Northwestern Hwy                                        Southfield         MI    48075
Yugustine Harris                                                            3259 Calvert Street                                           Detroit            MI    48206

Zenda Jarrett via her attorneys Gursten,
Koltonow, Gursten, Christensen & Raitt PC                                   30101 Northwestern Highway                                    Farmington Hills   MI    48334

Zenda Jarrett via her attorneys Gursten,
Koltonow, Gursten, Christensen & Raitt PC                                   5922 Berkshire                                                Detroit            MI    48224




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